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3/24/2016                                    Entity Information
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  NYS Depar tme nt of State

  Division of Cor por ati ons


  En tity Infor mati on

  The information contained in this database is current through March 23, 2016.

                                 Selected Entity Name: GEM COMPANY
                                     Selected Entity Status Information
                    Cur rent Entity Name : GEMESIS, INC.
                           DOS ID #:          4401481
                   Initial DOS Filing Date : MAY 10, 2013
                            County:           NEW YORK
                         Ju r isdiction:      DELAWARE
                          En tity Type:       FOREIGN BUSINESS CORPORATION
                    Cur rent Entity Statu s: ACTIVE
                                                       
                                    Selected Entity Address Information
        DOS Process (Address to which DOS will mail process if accepted on behalf of the entity)
        GEMESIS, INC.
        28 WEST 44TH STREET
        SUITE 1204
        NEW YORK, NEW YORK, 10036
                                             Registered Agent
        NONE
                                                       

                                   This office does not record information regarding
                                   the names and addresses of officers, shareholders
                                  or directors of nonprofessional corporations except
                                      the chief executive officer, if provided, which
                                    would be listed above. Professional corporations
                                     must include the name(s) and address(es) of the
                                    initial officers, directors, and shareholders in the
                                     initial certificate of incorporation, however this
                                   information is not recorded and only available by
                                                    viewing the certificate.

https://appext20.dos.ny.gov/corp_public/CORPSEARCH.ENTITY_INFORMATION?p_nameid=4407572&p_corpid=4401481&p_entity_name=%67%65%6D… 1/2
3/24/2016                                    Entity Information
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                                                     *Stock Infor mati on
                                                                                                                         103
                             # of Shar es           Type of Stock             $ Value per  Shar e
                                             No Information Available  

                        *Stock information is applicable to domestic business corporations.

                                                        Name  Histor y

                          Filing Date Name  Type         En tity Name
                         JUN 07, 2013 Actual     GEMESIS, INC.
                         MAY 10, 2013 Fictitious             GEMESIS DIAMOND COMPANY
                         MAY 10, 2013 Actual                 GEM COMPANY

    A Fictitious name must be used when the Actu al name of a foreign entity is unavailable for use in
   New York State. The entity must use the fictitious name when conducting its activities or business in
                                            New York State.

                NOTE: New York State does not issue organizational identification numbers. 
                                                          
                                         Search Results   New Search
                                                          
       Services/Programs   |   Privacy Policy   |   Accessibility Policy   |   Disclaimer   |   Return to DOS
                                           Homepage   |   Contact Us
                                                          




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3/11/2016                                    Entity Information
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  NYS Depar tme nt of State

  Division of Cor por ati ons


  En tity Infor mati on

  The information contained in this database is current through March 9, 2016.

                                   Selected Entity Name: GEMESIS, INC.
                                      Selected Entity Status Information
                     Cur r ent Entity Name : GEMESIS, INC.
                            DOS ID #:          4401481
                    Initial DOS Filing Date : MAY 10, 2013
                             County:           NEW YORK
                          Ju r isdiction:      DELAWARE
                           En tity Type:       FOREIGN BUSINESS CORPORATION
                     Cur r ent Entity Statu s: ACTIVE
                                                        
                                     Selected Entity Address Information
        DOS Pr ocess (Addr ess to which DOS will mail pr ocess if accepted on behalf of the entity)
        GEMESIS, INC.
        28 WEST 44TH STREET
        SUITE 1204
        NEW YORK, NEW YORK, 10036
                                              Register ed Agent
        NONE
                                                        

                                   This office does not record information regarding
                                   the names and addresses of officers, shareholders
                                  or directors of nonprofessional corporations except
                                      the chief executive officer, if provided, which
                                    would be listed above. Professional corporations
                                     must include the name(s) and address(es) of the
                                    initial officers, directors, and shareholders in the
                                     initial certificate of incorporation, however this
                                   information is not recorded and only available by
                                                    viewing the certificate.

https://appext20.dos.ny.gov/corp_public/CORPSEARCH.ENTITY_INFORMATION?p_nameid=4407287&p_corpid=4401481&p_entity_name=%67%65%6…   1/2
3/11/2016                                    Entity Information
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                                                     *Stock Infor mati on
                                                                                                                         105
                             # of Shar es           Typ e of Stock            $ Value per  Shar e
                                             No Information Available  

                        *Stock information is applicable to domestic business corporations.

                                                        Name  Histor y

                         Filing Date Name  Type         En tity Name
                        JUN 07, 2013 Actual     GEMESIS, INC.
                        MAY 10, 2013 Fictitious              GEMESIS DIAMOND COMPANY
                        MAY 10, 2013 Actual                  GEM COMPANY

    A Fictitious name must be used when the Actu al name of a foreign entity is unavailable for use in
   New York State. The entity must use the fictitious name when conducting its activities or business in
                                            New York State.

                NOTE: New York State does not issue organizational identification numbers. 
                                                          
                                         Search Results   New Search
                                                          
       Services/Programs   |   Privacy Policy   |   Accessibility Policy   |   Disclaimer   |   Return to DOS
                                           Homepage   |   Contact Us
                                                          




https://appext20.dos.ny.gov/corp_public/CORPSEARCH.ENTITY_INFORMATION?p_nameid=4407287&p_corpid=4401481&p_entity_name=%67%65%6…   2/2
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              Jason Chan / Melvin Pang / Nicholas Ong
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              nicholas.ong@amicalaw.com
              JC/MP/NIC/20120280
              TY/MKJN/VHWS/375178



2 March 2018

Drew & Napier LLC                                                      BY FAX & POST
10 Collyer Quay                                                        Fax No.: 6535 4906
#10-01 Ocean Financial Centre                                          No. of pages: 1
Singapore 049315

Attention: Mr Tony Yeo / Ms Meryl Koh / Mr Javier Yeo



Dear Sirs

HC/S 26/2016
SPECIFIC DISCOVERY

1. We refer to your letter dated 28 February 2018 (“Letter”) regarding the Plaintiff’s requests for specific
   discovery.

2. Kindly let us have the affidavit referred to at paragraphs 2-3 of your Letter (“Affidavit”) by 13 March
   2018. This is to enable our client sufficient time to review and to consider whether it should
   discontinue some of its requests in its summons for specific discovery.

3. Given the deadline of 28 March 2018 for parties to file their applications for further discovery, your
   client’s filing of the Affidavit in a timely manner is crucial to avoid expending unnecessary time and
   costs for both parties.

4. All of our client’s rights are hereby expressly reserved, including its rights to seek discovery of any
   category of documents should your client fail to provide the Affidavit by 13 March 2018 or if the
   contents of the Affidavit are unsatisfactory, as well as to claim all costs thrown away against your
   client.


Yours faithfully




cc: client
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            (65) 6303 6215 / 6303 6220 /6303 8398
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            nicholas.ong@amicalaw.com
            JC/MP/NIC/20120280
            TY/MKJN/JYO/375178



14 February 2018


Drew & Napier LLC                                                         BY FAX (6535 4906) & POST
10 Collyer Quay                                                           No. of page(s): 3
#10-01 Ocean Financial Centre                                             (including this page)
Singapore 049315

Attention: Mr Tony Yeo / Ms Meryl Koh / Mr Javier Yeo



Dear Sirs

HC/S 26 of 2016

1.     We refer to your letters dated 22 January 2018 (your “22 Jan Letter”) and 12 February 2018
       (your “12 Feb Letter”) and our letter dated 26 January 2018 (our “26 Jan Letter”).

       Affidavit

2.     At paragraph 3(a)-(b) of your 12 Feb Letter, it was stated that your client does not have
       documents under Categories 8(d)-(f), 11(b) and 11(d) in its possession, custody and/or power. In
       respect of these categories of documents, please let us know the following:-

       a.      whether your client is agreeable to affirming by way of an affidavit that it does not have
               these categories of documents in its possession, custody and/or power; and

       b.      whether your client is agreeable to including in its affidavit:

                   i. whether these categories of documents have, respectively and at any time, been in
                      its possession, custody or power; and

               ii. if not then in its possession, custody or power, when it parted with these categories
                   of documents and what has become of them, respectively.

3.     At paragraph 4 of your 12 Feb Letter, your client has also agreed to affirm by way of an affidavit
       that it does not have any document under Categories 7, 9, 10, 11(a),(c) and (e), 12, and 13 in its
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       possession custody and/or power, excluding documents that have already been disclosed in the
       parties' respective lists of documents and supplementary lists of documents. In respect of these
       categories of documents, please let us know the following:-

       a.      whether your client is agreeable to including in its affidavit:

                i. whether these categories of documents have, respectively and at any time, been in
                   its possession, custody or power; and

               ii. if not then in its possession, custody or power, when it parted with these categories
                   of documents and what has become of them, respectively.

       Extension of Time

4.     We refer to the Pre-Trial Conference (“PTC”) held on 27 December 2017 before Assistant
       Registrar Ms Cheng Pei Feng (“AR Cheng”), where she provided the following directions:

       a.      Parties to provide their preliminary responses (i.e. whether the other side is entitled to the
               documents or information requested for) by 22 January 2018;

       b.      Parties to provide substantive responses (if any) by 5 February 2018; and

       c.      Parties to file their respective summons (if necessary) by 19 February 2018.

5.     We reiterate the point made in our 26 Jan Letter that your client has chosen to disregard
       timelines set by AR Cheng on 27 December 2017, i.e. by failing to provide preliminary responses
       to numerous discovery requests by 22 January 2018. In fact, our client only managed to know
       your client’s preliminary responses to our client’s discovery requests as late as 12 February
       2018, 3 weeks after the 22 January 2018 timeline set by AR Cheng. Further, in your 12 Feb
       Letter, no reasonable explanation as to your client’s delay was offered in respect of your client’s
       failure to meet both of AR Cheng’s 22 January 2018 and 5 February 2018 timelines.


6.     The timelines provided by AR Cheng are premised on there being reasonable time of at least 2
       weeks for parties to consider, at each stage, the other party’s preliminary and substantive
       responses respectively so as to consider whether to file their respective summons, if necessary,
       by 19 February 2018.

7.     As a result of the delay occasioned by your client, our client will require more time to consider
       whether to file an application for specific discovery, particularly since its decision may depend on
       your client’s response(s) to its requests at paragraphs 2 and 3 above.

8.     Given the circumstances, please let us know if your client is agreeable to a mutual extension of
       the 19 February 2018 timeline for parties to file their respective summons by one week, i.e. to 26
       February 2018.
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9.      Pending your client’s response, our client reserves its right to file its application for specific
        discovery on 19 February 2018 and to seek costs from your client for any wasted work done in
        respect of categories of documents for which a response from your client is still forthcoming.

10.     All of our client’s rights are expressly reserved.



Yours faithfully




cc.    Client
     Case 1:18-mc-00418-PGG
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                                                                                                    Cenend Line
              DREW & NAPIER                                                                         T +65 6535 0733
                                                                                                        +65 9726 0573 (After Hours)
                                                                                                    F : +65 6535 4906

                                                                                                    Drew & Napier LI.0
                                                                                                    10 Collyer Quay

                                                              IPITTEED.                             ti'10.01 Ocean Financial Centre
                                                                                                    Singapore 049315

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     12 February 2018                                                                               We do not accept service
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     BY FAX (6303 6222) AND POST                                                                        tany.yeatadrewnapier.eorn
     No. of pages: 1                                                                                meryl.koh@drewnapier,com
                                                                                                    javier.ye.o@drewnapier, CO M

    AMICA LAW LLC                                                                                   true UrI
    30 Raffles Place #14-01                                                                         TYIMKJN/JYO/375178
    Chevron House
    Singapore 048622                                                                                SoulTM
                                                                                                    JC/MP/NIC/20120280


    Attn: Mr Jason Chan I Mr Melvin Pang / Mr Nicholas Ong


    Dear Sirs,

    HC/S 26/2016
    SPECIFIC DISCOVERY

    1          We refer to your letter to us dated 26 January 2018.

    2.       We do not wish to litigate by correspondence. For the record, our client denies and objects
    to your client's allegation at paragraph 2, It is clear from paragraphs 2(d) and 2(g) of our letter that
    our client agrees to disclose documents falling within the categories 8, 14, 11(b) and 11(d) only
    insofar as these are relevant and necessary.

    3.         In any event, we set out our client's response on the said categories below:-

    a.         With respect to categories 8 and 14 of your letter to us dated 18 December 2017, our client
               is agreeable to disclosing documents described at categories 8(a), 8(b), 8(c) and 14. With
               respect to the other sub-paragraphs in category 8, we are instructed that our client does not
               have these documents in its possession, custody and/or power.

    b.         With respect to categories 11(b) and 11(d), we are instructed that our client does not have
               these documents in its possession, custody and/or power.

   4.      With respect to your client's request at paragraph 4, our client agrees to file the affidavit at
   the appropriate time.

   5.         All of our client's rights are expressly reserved.

        ours faithfully,


        ew & Napier L

   Cc client



                       DREW & NAPIER LLC (UEN 200102809E)            it;   a law corporation with limited liability.
    This document is for the uddressce(s) only and may contain confidential information and/or may be subject to legal privilege.
                                 If you have received this in error, please contact us immediately.
  Case 1:18-mc-00418-PGG Document 5-11 Filed 09/07/18 Page 45 of 200
                                                                                                                127
                                                                                               Advocates & Solicitors
AM CA LAW Li_c                                                                   Patent, Trade Mark & Design Agents
                                                                              Notary Public & Commissioner for Oaths


vvvvw.amicalaw.corn                          Tel +65 6303 6210                                 30 Raffles Place
                                             Fax +65 6303 6222                          #14-01 Chevron House
                                                 +65 6536 9332                              Singapore 048622
Writer        Jason Chan / Melvin Pang / Nicholas Ong
Direct Dial   (65) 6303 6215 / 6303 6220 /6303 8398
Email         Jason.chan@amicalaw.corn / melvin.pang@amicalaw.com
              nicholas.ong@amicalaw.com
Our Ref       JC/MP/NIC/20120280
Your Ref      TY/MKJN/VHWS/375178


26 January 2018

Drew & Napier LLC                                                      BY FAX & POST
10 Collyer Quay                                                        Fax No.: 6535 4906
#10-01 Ocean Financial Centre                                          No. of pages: 2
Singapore 049315

Attention: Mr Tony Yeo / Ms Meryl Koh / Mr Javier Yeo



Dear Sirs

HC/S 26/2016
SPECIFIC DISCOVERY

1. We refer to our letter dated 18 December 2017 and your letter dated 22 January 2018 ("Letter").

2. Preliminarily, our client objects to your client's blatant disregard for timelines set down by the Court.
   At the PTC on 27 December 2017, the learned AR Cheng Pei Feng had set down a deadline of 22
   January 2018 for your client to provide us with its preliminary responses. This gave your client more
   than sufficient time to consider the various specific discovery requests. Our client was therefore taken
   by surprise when on 22 January 2018, we received your Letter stating that you are still "taking
   instructions" in relation to numerous discovery requests. Indeed, no advance warning or request for
   an extension of time was received by us.

3. Be that as it may, we refer specifically to paragraph 2(d) and (g) of your Letter. Please let us have
   your client's final response on whether it agrees to provide the documents under Categories 8, 14,
   and 11(b) and (d). Insofar as such documents contain confidential information, our client is willing to
   execute an appropriate confidentiality undertaking.

4. We refer specifically to paragraphs 2(c) and (e)-(i) or your Letter. Please let us know whether your
   client is agreeable to affirming by way of an affidavit that it does not have any document under
   Categories 7, 9, 10, 11(a),(c) and (e), 12, and 13 in its possession, custody and/or power, excluding
   documents that have already been disclosed in the parties' respective lists of documents and
   supplementary lists of documents.

5. Please let us have your client's response to paragraphs 3-4 above by 5 February 2018.




                                                          Amica Law LLC is incorporated with limited liability.
                                                                          Company Registration No: 2006-01697-N
 Case 1:18-mc-00418-PGG Document 5-11 Filed 09/07/18 Page 46 of 200
                                                                      128
      :A LA1Vu.c                                                      2



6. All of our client's rights are hereby expressly reserved.



Yours faithfully




(ir
cc client
    Case 1:18-mc-00418-PGG Document 5-11 Filed 09/07/18 Page 47 of 200
                                                                                                       129


              Jason Chan / Melvin Pang / Nicholas Ong
              (65) 6303 6215 / 6303 6220 /6303 8398
              Jason.chan@amicalaw.com / melvin.pang@amicalaw.com /
              nicholas.ong@amicalaw.com
              JC/MP/NIC/20120280
              TY/MKJN/VHWS/375178


6 February 2018

Drew & Napier LLC                                                     BY FAX & POST
10 Collyer Quay                                                       Fax No.: 6535 4906
#10-01 Ocean Financial Centre                                         No. of pages: 1
Singapore 049315

Attention: Mr Tony Yeo / Ms Meryl Koh / Mr Javier Yeo

Dear Sirs

HC/S 26/2016
SPECIFIC DISCOVERY AND INTERROGATORIES

1. We refer to our letters dated 22 January 2018 and 26 January 2018, and your letter dated 22 January
   2018.

2. Our letter dated 22 January 2018 is our preliminary response to the Defendant’s request for
   documents. We have yet to hear from you regarding our proposal at paragraph 18 of our letter,
   despite more than two weeks having elapsed.

3. Our letter dated 26 January 2018 relates to the Plaintiff’s request for documents. We have yet to hear
   from you regarding our proposals at paragraphs 3-4 of our letter, despite requesting the same by 5
   February 2018.

4. Your letter dated 22 January 2018 is your client’s preliminary response to the interrogatories filed by
   the Plaintiff on 18 December 2017. In said letter, your client agreed to answer interrogatories 1(a),
   6(a), 11(a) and 17(a). However, your client has yet to file its answers, despite the deadline of 5
   February 2018 set by AR Cheng Pei Feng having passed.

5. Please let us have your responses/answers as specified in paragraphs 2-4 above as soon as
   possible, and in any event, no later than 4pm on 9 February 2018.

6. All of our client’s rights are hereby expressly reserved.

Yours faithfully




cc client
     Case 1:18-mc-00418-PGG Document 5-11 Filed 09/07/18 Page 48 of 200
                                                                                                                                     130
22-01-18;21:41        ;Drew & Napier                                                                ;65330994                        # 1/




     Dr, DREW & NAPIER                                                                          General Line
                                                                                                T +65 6535 0733
                                                                                                T : +65 9726 0573 (After Hours)
                                                                                                F +65 6535 4906

                                                                                                Drew & Napier LLC
                                                                                                1.0 Collyer Quay
                                                                                                #1.0.01 Ocean Financial Centre
                                                                                                Singapore 049315

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     22 January 2018                                                                            We du not accept service
                                                                                                of court documents byfax

                                                                                                T : + 65 6531 2512 / 2736 / 2508
     BY FAX (6303 6222) AND POST                                                                Et tony.yeoffklrewnapier.com
     No. of pages: 2                                                                            meryl,koh@drewnapier.com
                                                                                                javier.yecadrewnapier.com

     AM ICA LAW LLC                                                                             thir Itc.1
     30 Raffles Place #14-01                                                                    TY/MKIN/P10/375178
     Chevron House
     Singapore 048622                                                                            \ian Ruf
                                                                                                JC/MP/NIC/20120280


     Attn: Mr Jason Chan / Mr Melvin Pang ! Mr Nicholas Ong


     Dear Sirs,

     HC/S 26/2016
     SPECIFIC DISCOVERY

     1.     We refer to your letter dated 18 December 2017 with your client's request for specific
     discovery of various categories of documents as well as discovery of documents based on keyword
     searches via electronic discovery ("18 December Letter"), and the directions given by the Learned
     Assistant Registrar Ms Cheng Pei Feng ("AR Cheng") at the Pre-Trial Conference heard on 27
     December 2017 ("PTC").

    2.       Further to AR Cheng's directions at the PTC, we set out our client's preliminary response to
    your client's requests;»

     a.       With respect to categories 1, 2, 3, and 4 of Annex A of your 18 December Letter, the
              categories of documents are too broad and are irrelevant.

    b.        With respect to categories 5 and 6 of Annex A of your 18 December Letter, the categories of
              documents are too broad, would include irrelevant matters and are oppressive.

    c.        With respect to category 7 of Annex A of your 18 December Letter, our client does not have
              any document in its possession, custody and/or power that falls within the description in
              category 7.

    d.        We are still taking our client's instructions on your client's requests at categories 8 and 14 of
              Annex A of your 18 December Letter but to the extent that any documents in these
              categories are relevant and necessary (which is not admitted), our client is agreeable to
              disclose.

    e.        With respect to category 9 of Annex A of your 18 December Letter, we are instructed that our
              client does not have any document in its possession, custody and/or power that falls within
              the description in category 9.




                        DREW kl4; NAPIER LLC (UEN 200102509E) is a law corporation with limited liability.
     This document is for the addressee(s) only and may contain confidential information and/or may be subject to legal privilege.
                                   If you have received this in error. please contact us immediately.
    Case 1:18-mc-00418-PGG Document 5-11 Filed 09/07/18 Page 49 of 200
22-01-18;21:41          ;Drew & Napier                                                ;65330994
                                                                                                                   131
                                                                                                                   # 2/



          DREW & NAPIER                                                                         22 January 2018
                                                                                                         Page 2



     f.         With respect to category 10 of Annex A of your 18 December Letter, we are instructed as
                follows:-

                   i.       Our client does not have any document described in subparagraphs (a), (b) and
                            "marketing materials provided by the Defendant to third parties" as referred to in
                            subparagraph (c) in its possession, custody and/or power.
                  ii.       With respect to the "sales invoices, quotation" referred to in subparagraph (c), our
                            client does not have any further documents in its possession, custody and/or
                            power save for the documents already disclosed to and/or by your client.
                            With respect to subparagraphs (d) and (e), these are irrelevant and in any event,
                            our client does not have any document in its possession, custody and/or power
                            that falls within the description in the aforementioned categories.

     g.      With respect to category 11 of Annex A of your 18 December Letter, we are instructed that
             our client does not have any document in its possession, custody and/or power that falls
             within the description in subparagraphs (a), (c) and (e). We are still taking our client's
             instructions on your client's request at subparagraphs (b) and (d) but to the extent that any
             documents in these categories are relevant and necessary (which is not admitted), our client
             is agreeable to disclose, but only on the condition that your client executes the relevant
             confidentiality undertakings prior to such disclosure, Our client further reserves its right to
             redact irrelevant information from any document that falls within subparagraphs (b) and (d) (if
             any).

     h.      With respect to category 12 of Annex A of your 18 December Letter, this category of
             documents is extremely broad and is a request for documents that are irrelevant. In any
             event, we have been instructed that our client does not have any document in its
             possession, custody and/or power that fails within the description in category 12.

             With respect to category 13 of Annex A of your 18 December Letter, we are instructed that
             our client does not have any document in its possession, custody and/or power that falls
             within the description in category 12.

    3,       With respect to your client's request for electronic discovery, our client objects to your
    client's request in its entirety. It is clear that the keyword searches proposed by your client at
    paragraph 4(b) of Annex B of your 18 December Letter completely overlaps with the documents your
    client had requested for at Annex A. Further, our client does not see how electronic discovery in the
    present proceedings, especially given your client's proposed keyword searches, is useful and/or
    necessary given the high costs involved. Accordingly, it is a waste of time and costs for both parties
    to conduct electronic discovery, again especially in light of the more specific requests set out at
    Annex A of your 18 December Letter.

    4.      All of our client's rights are expressly reserved.

    Yours faithfully,




    Drew & Napier LLC

    Cc client
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                                                                                                               132
                                                                                               Advocates & Solicitors

A M CA LAW ac                                                                    Patent, Trade Mark & Design Agents
                                                                              Notary Public & Commissioner for Oaths



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Our Ref       JC/MP/NIC/20120280
Your Ref      TY/MKJN/JY0/375178


18 December 2017



Drew & Napier LLC                                                             BY FAX & POST
10 Collyer Quay                                                               Fax No.: 6535 4906
#10-01 Ocean Financial Centre                                                 No. of pages: 12
Singapore 049315

Attention: Mr Tony Yeo / Ms Meryl Koh / Mr Javier Yeo



Dear Sirs

HC/S 26 of 2016
REQUEST FOR SPECIFIC DISCOVERY AND ELECTRONIC DISCOVERY

1. We refer to our client's Statement of Claim (Amendment No.1), Reply and Defence to Counterclaim
   (Amendment No.3). We also refer to your client's List of Documents dated 7 October 2016 ("DLOD")
   and Supplementary List of Documents dated 16 December 2016 ("DSLOD").

2. Our client has pleaded that your client has infringed the '872 Patent and the '508 Patent. In relation to
   the '872 Patent, infringement of both its process claims as well as its product claims (as evidenced by
   Samples 1-4) are pleaded. However, we note that in your client's DLOD and DSLOD, your client has
   not exhibited any documents that would be relevant to the Plaintiff's case on infringement.

3. Accordingly, please file a supplementary list of documents and provide us with copies of all
   documents in your client's possession, custody or control that relate to the specific documents and/or
   categories of documents listed in the enclosed Annex A. Please make it clear in the supplementary
   list of documents which category each enumerated document belongs to.

4. Please let us have the said documents within 14 days hereof, failing which our client will take up the
   necessary application to Court against your client.

5. Additionally, our client takes the view that some of your client's discovery obligations might be more
   suited to electronic discovery (i.e. keyword searches). In the spirit of collaboration, we have drafted
   an Electronic Discovery Protocol which is enclosed in Annex B. Please let us know whether your
   client is agreeable to the same, including any comments thereto, by within 14 days hereof.




                                                          Arnica Law LLC is incorporated with limited liability.
                                                                             Company Registration No: 2006-01697-N
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AM TA LAW La:                                                         2



6. All of our client's rights are expressly reserved.




Yours faithfully


            tom




cc client
enc.
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                   Annex A
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Categories of documents

1. All R&D reports, material characterization reports and quality control documents which relate to the
    measurement of birefringence for single crystal CVD diamond material in any form, including as-
    grown, gemstone and diamond plate, wherein:

        a. the measured material has dimensions of at least 1.3 mm x 1.3 mm x 0.5 mm;

        b. the measured material was made, at least in part, by the Defendant in Singapore in the
           period of 2012 to date; and

        c. the measured material has an optical birefringence such that the modulus of the sine of the
           phase shift, 'sin SI, for at least 98% of the analysed area of the sample remains in the first
           order (6 does not exceed Tr/2) and the Isin St does not exceed 0.9.

2. All R&D reports, material characterization reports and quality control documents which relate to the
    measurement of birefringence for single crystal CVD diamond material in any form, including as-
    grown, gemstone and diamond plate, wherein:

        a. the measured material has dimensions of at least 1.3 mm x 1.3 mm x 0.5 mm;

        b. the measured material was made, at least in part, by the Defendant in Singapore in the
           period of 2012 to date; and

        c. the measured material has an optical birefringence such that, for 100% of the area analysed,
           the sample remains in the first order (S does not exceed TT/2) and the maximum value of
           An[average], the average value of the difference between the refractive index for light polarised
           parallel to the slow and fast axes averaged over the sample thickness, does not exceed 1.5 x
           10'.

3. All documents relating to the measurement of optical absorption for the single crystal CVD diamond
    material identified in Categories 1 or 2 above wherein:

        a. the measured material has dimensions of at least 1.3 mm x 1.3 mm x 0.5 mm;

        b. the measured material was made, at least in part, by the Defendant in Singapore in the
           period of 2012 to date; and

        c. the measurement was made at a wavelength of 1.06 pm;

        d. the measured material has an optical absorption coefficient of less than 0.09 cm".

4. All documents relating to the measurement of nitrogen concentration in single substitutional form for
    the single crystal CVD diamond material identified in Categories 1 or 2 above wherein:

       a. the measured material has dimensions of at least 1.3 mm x 1.3 mm x 0.5 mm;

        b. the measured material was made, at least in part, by the Defendant in Singapore in the
           period of 2012 to date; and

       c. the measured material contains more than 3 x 1015 atoms/cm3 N but less than 5 x 1017
          atoms/cm3 N in single substitutional form as measured by EPR.
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5. Documents in the period 2012 to date relating to the Defendant's method(s) of heat treating single
    crystal CVD diamond material in any form, including as-grown, gemstone and diamond plate, at or
    above 1200°C, limited to:

        a. process specification documents,

        b. material characterization analyses,

        c. diamond grading reports/certificates, and

        d. product specification documents.

6. Documents relating to the research, development, conceptualisation and/or design of the method(s)
    disclosed pursuant to Category 5, limited to:

        a. laboratory notebooks,

        b. project proposals,

        c. project reports,

        d. product development reviews,

        e. correspondence (e.g. emails) between management and researchers and correspondence
           between researchers, and

        f.   process revision documents.

7. Documents relating to the single crystal CVD diamond material in any form, including as-grown,
    gemstone and diamond plate, made by the Defendant in the period 16 October 2010 to 16 April 2012
    and supplied by the Defendant directly or indirectly to Gemesis Diamond Company, Inc. in the period
    16 October 2010 to 16 April 2012, and from which it may have been possible to make a gemstone
    having a weight of 0.40 ct, F colour and a VS2 clarity grade, limited to:

       a. sales invoices,

       b. purchase orders,

       c. quotations,

       d. marketing materials,

       e. product specifications,

       f.    material characterization analyses, and

       g. diamond grading reports/certificates.

8. Documents relating to the optical grade single crystal CVD diamond plates which are the subject of
    Ila quote no. 1314-121, limited to:

       a. sales invoices,
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        b. purchase orders,

        c. quotations,

        d. marketing materials,

        e. product specifications, and

        f.   material characterization analyses.

9. Documents relating to the single crystal CVD diamond material in any form, including as-grown,
    gemstone and diamond plate, made by the Defendant in the period 27 April 2014 to 27 October 2015
    and supplied by the Defendant directly or indirectly to Pure Grown Diamonds, Inc. in the period 27
    April 2014 to 27 October 2015, and from which it may have been possible to make a gemstone
    having a weight of 0.38 ct, K colour and a VS1 clarity grade, limited to:

        a. sales invoices,

        b. purchase orders,

        c. quotations,

        d. marketing materials,

        e. product specifications,

        f.   material characterization analyses, and

        g. diamond grading reports/certificates.

10. All documents relating to the making, disposal or offer to dispose of, importing, use and/or keeping
    whether for disposal or otherwise by the Defendant in Singapore of the diamond material having
    product code no. 2PCVD505005N and which was sold pursuant to Ile invoice no. Ila/INV/1516-0241,
    limited to:

       a. product specification documents;

       b. material characterization analyses,

       c. sales invoices, quotations and marketing materials provided by the Defendant to third
          parties,

       d. importation documentation, and

       e. inventory lists.

11. Documents in the period 2012 to date relating to the Defendant's method(s) of manufacturing the
    diamond material having product code no. 2PCVD505005N and which was sold pursuant to Ila
    invoice no. lla/INV/1516-0241, including but not limited to:

       a. process specification documents,

       b. CVD synthesis run sheets,
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        c. quality control records,

        d. documents specifying surface preparation of substrates pre-synthesis, and any subsequent
           charaterisation (by selection or otherwise), and

        e. documents specifying the level of nitrogen in the synthesis atmosphere and the method by
           which this is controlled.

12. Documents relating to the research, development, conceptualisation and/or design of the method(s)
    disclosed pursuant to Category 11 above, limited to:

        a. laboratory notebooks,

        b. project proposals,

        c. project reports,

        d. product development reviews,

        e. correspondence (e.g. emails) between management and researchers and correspondence
           between researchers, and

        f.   process revision documents.

13. All official documents relating to the incorporation of "Ila Holdings Group" and/or "Ila Holdings Group
    Limited" as issued by the relevant regulatory authority, including but not limited to certificates of
    incorporation.

Specific documents

14. Ila Quote No. 1314-121

Note:

   •    "supplied directly", as used in requests 7 and 9, means the provision of goods (whether for
        consideration or otherwise) to a third party wherein ownership of said goods pass from the
        supplier to the third party without any other party acquiring ownership of said goods in between,
        regardless of whether the condition/characteristics of said goods changed from the time it left the
        supplier's possession power and/or custody by, for example, cutting, polishing annealing, doping,
        irradiation or otherwise.

   •    "supplied... indirectly", as used in requests 7 and 9, means the provision of goods (whether for
        consideration or otherwise) to a third party wherein ownership of said goods pass to one or more
        entities before being acquired by said third party, regardless of whether the supplier intended
        said third party to acquire ownership of said goods and regardless of whether the
        condition/characteristics of said goods changed from the time it left the supplier's possession
        power and/or custody by, for example, cutting, polishing annealing, doping, irradiation or
        otherwise.
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                   Annex B
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                           ELECTRONIC DISCOVERY PROTOCOL



1. Service Provider

   The parties agree that Litigation Edge Pte Ltd ("Service Provider") will be appointed to execute the
   searches referred to in paragraph 4 using the search engine and parameters specified in paragraph 2
   below. Parties will bear Service Provider's costs equally.

2. Search Engine

   The parties agree that Nuix ("Software") is to be used to conduct the aforementioned keyword
   searches. The preparation of the Software prior to conducting the searches (e.g. updating the search
   index or causing a fresh search index to be made) and any other search parameters not specified
   and agreed to herein are subject to further agreement between the parties, pending discussions
   between the parties and the Service Provider.

3. Scope of electronic discovery

       a. Discovery of the following class or classes of electronically stored documents shall be given
          ("Repositories"):

                i. All email servers, cloud servers and network drives currently in the Defendant's
                    custody, power, control and/or possession.

       b. The Defendant shall take reasonable steps to decrypt encrypted files or encrypted storage
          locations, media or devices in order to identify discoverable electronically stored documents.
          This may include taking reasonable steps to obtain the decryption code and/or using
          reasonable technical means to perform decryption of the encrypted files or encrypted storage
          locations, media or devices.

       c. For the avoidance of doubt, electronically stored documents residing in folders or directories
          in storage locations, media or devices, including folders or directories where temporarily
          deleted files are located (for example the Recycle Bin folder or Trash folder) are within the
          scope of discovery. Electronically stored documents that are (i) not reasonably accessible,
          for example deleted files or file fragments containing information which are recoverable
          through the use of computer forensic tools or techniques during a forensic inspection of the
          unallocated file space or file slack, (ii) files and folders which are not known to the party
          giving discovery to be hidden in the file system, and (iii) documents archived using backup
          software and stored off-line on backup tapes or other storage media are not within the scope
           of discovery.

4. Process for electronic discovery

       a. The Defendant shall transfer all electronically stored documents in the Repositories to
          Service Provider for indexing by the Software.

       b. Reasonable search. The search terms or phrases specified in the second column will be
          used by Service Provider in the conduct of a reasonable search of the Repositories for
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       relevant electronically stored documents. The reasonable search will be limited by the scope
       described in the third column.

        Search No.                 Search Terms                              Scope

              1        "LG*10061905"                          Documents that were created in the
                                                              period 16 April 2010 and 16 April
                                                              2013

             2         "I NV*REF*01*JAN*12*31"                Documents that were created in the
                                                              period 16 March 2012 and 16
                                                              March 2013


             3        "100005382"                             Documents that were created in the
                                                              period 16 March 2012 and 16
                                                              March 2013


             4        "2*PCVD*303004N"                        Documents that were created in the
                                                              period 12 May 2013 and 12 May
                                                              2015

             5        "3086"                                  Documents that were created in the
                                                              period 12 April 2014 and 12 April
                                                              2015

             6        "13*2051"                               Documents that were created in the
                                                              period 24 January 2014 and 24
                                                              January 2015


             7        "1314*121"                              Documents that were created in the
                                                              24 February 2013 and 24 February
                                                              2015


             8        "LG*10226420"                           Documents that were created in the
                                                              period 27 October 2014 to 27
                                                              October 2016


             9        "1510*00178"                            Documents that were created in the
                                                              period 27 September 2015 to 27
                                                              September 2016



      Under the Search Terms column in the above table, '*' means a single wildcard character.
      For example, LG*10061905 will match with inter alia LG10061905, LG 10061905, LG-
      10061905, and LG/10061905 etc.
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       c. Data sampling. The Plaintiff shall review the search results within seven (7) days of being
          provided with the same; and within a further seven (7) days, parties shall meet to discuss
          whether the keywords and/or the Repositories need to be revised. Data sampling in
          accordance with the terms of this sub-paragraph shall be performed no more than twice.

       d. After the final revisions of the keywords and/or the Repositories (if any), the Defendant will
          disclose the documents disclosed by the final search in a supplementary list of documents in
          accordance with paragraph 5.

5. Format of list

   The supplementary list of documents shall categorise and list electronically stored documents
   separately from documents in printed or other form. The list of documents enumerating electronically
   stored documents shall include the following columns: [contents of table for illustration]

     Date           Description                        File name & location        File          Search
     Created                                                                       format        No.

     12 October     Distribution agreement with        //Contract                  Microsoft     5
     2013           Microwave Enterprises Inc.         Documents/Contract_ M       Word
                                                       E.doc                       2007



   An index of documents enumerated in the list of documents shall be provided in an electronic
   spreadsheet in the Excel Workbook (.xlsx) file format.

6. Review for privileged material

   The Defendant's obligation to conduct a reasonable search is fulfilled upon the Defendant carrying
   out the search to the extent agreed in this protocol; the Defendant shall not be required to review the
   search results for relevance.

   Nothing in this protocol shall prevent the Defendant from reviewing the documents in any list
   provided hereunder for the purpose of claiming privilege. If the Defendant claims privilege over any
   document or record, it shall list the electronic documents or class of electronic documents over which
   privilege is claimed in the list of documents.

7. Inspection and copies

       a. Arrangements for inspection. The place for inspection of discoverable electronic
          documents should be stated separately if it is different from the place for inspection of other
          discoverable documents. If the Plaintiff intends to inspect through or with the assistance of its
          appointed computer expert, such computer expert shall provide an undertaking of
          confidentiality to the party giving inspection before he commences his inspection.

       b. Supply of copies. During inspection, copies shall not be taken. If copies are required, a
          request should be made. Electronic copies of discoverable documents will be supplied in
          their native format in a searchable form and in read-only optical discs upon request.
          Electronic copies of discoverable documents where privilege is claimed only with respect to
          their internally stored metadata information will be supplied in the Tagged Image File Format
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           (or TIFF) with privileged metadata information removed. For each of the read-only optical
           discs supplied, a further list stating the storage format version of the optical disc and
           enumerating the list of electronic documents stored therein shall be provided.

8. Inadvertent disclosure of privileged documents

   Notwithstanding compliance with the procedures in this plan, nothing in this plan is intended to be or
   shall be taken to amount to a waiver of privilege.

9. Discovery and production only if necessary

   For the avoidance of doubt, nothing in this plan shall compel any party to give discovery of any
   document or produce any document for inspection which is not otherwise discoverable under Order
   24, Rules 7 or 13 of the Rules of Court (Cap 322, R5).
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                                                                                               General Line
            DREW & NAPIER                                                                      T : +65 6535 0733
                                                                                               T : +65 9726 0573 (After Hours)
                                                                                               r : +65 6535 4906
                                                                                               Drew & Napier 1,,LC
                                                                                               10 Collyor Quay
                                                                                               #10-01 Ocean Financial Centre
                                                                                               Singapore 049315

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    14 February 2018                                                                           We do not accept service
                                                                                               of court documents toyfme

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    BY FAX (6303 6222) AND POST                                                                E: tony.yeo*drewnapier.com
    No. of pages: 2                                                                            meryl.koh@drewnapier.com
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    Chevron House
    Singapore 048622                                                                           1 out EirI
                                                                                               JC/MP/NIC/20 I 20280


    Attn: Mr Jason Chan / Mr Melvin Pang / Mr Nicholas Ong


    Dear Sirs,

    HC/S 26/2016
    SPECIFIC DISCOVERY

    1.       We refer to your letter to us dated 22 January 2018. In this letter, we will adopt the
    definitions and abbreviations used in our letter to you dated 22 December 2017.

    2.       First, we note that you had erroneously referred to "paragraphs 5(a) — 5(o)" of our letter to
    you dated 22 December 2017. We will assume that you were referring to paragraphs 3(a) to 3(o)
    instead,

     3.       With respect to paragraphs 3(a) and 3(b) of your letter, our client denies that the original
    request is "overly broad and would include numerous documents with very little probative value",
    First, it was your client's position in HC/SUM 2935/2017 ("SUM 2935") when our client had requested
    for particulars relating to chain of custody of the Trap-Purchased Diamonds that these relate to
    "matters of evidence" and the information that our client was seeking was "more appropriate to ..,
    discovery' (emphasis added) (see paragraphs 45 to 57 of the Plaintiff's Written Submissions for
    SUM 2935 dated 1 August 2017). As you know, our client has put in issue the provenance of the
    Trap-Purchased Diamonds. Accordingly, the evidence relating to chain of custody of these Trap-
    Purchased Diamonds is clearly relevant and necessary to the proceedings. This is further
    compounded by the fact that, as admitted by your client in the 9th affidavit of Susan Jane Fletcher
    Watts dated 30 June 2017 filed in these proceedings, "diamond products do not typically bear any
    indications of origin on the diamond material itself jand] [t]he absence of such indicators makes it
    particularly challenging to identify these goods and ensure their integrity" (emphasis added),
    In the premises, every handling, transfer of possession and/or custody of the Trap-Purchased
    Diamonds is relevant and material to the Issue of provenance, and our client is unable to agree
    to your client's limitation at your paragraphs 3(a) and 3(b). In any event, it is also unclear what your
    client means by "material transfer" since, in our client's view, every transfer is a material transfer, For
    completeness, we note that your client has not denied that it has documents described in paragraph
    3(a) of our letter to you dated 22 December 2017 in its possession, custody and/or power.




                       DREW & NAPIER LLC (UEN 200102509E) is a law corporation with limited liability.
    This document is for the addressee(s) only and may contain confidential information and/or may be subject to legal privilege,
                                  If you have received this in error, please contact us immediately.
14-02-18;14:08      ;Drew & Napier                                                ;65330994                    # 2/
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     4,       With respect to paragraph 5 of your letter, it is clear from the ordinary meaning of the words
     "standard" and "benchmark' what our client was referring to. Nevertheless, by way of example, the
     following are the non.exhaustive references in your client's Technical Notes which your client had
     relied on as "standards" and/or "benchmarks" for the purposes of your client's experiments:-

     a.       In the Technical Note SIN 136 at page 9, your client had referred to a "Gemesis CVD
              synthetic diamond (NL486-02)".

     b,       In the Technical Note S/N 145 at page 3, your client had referred to De Beers' research
              where it was stated that "in the course of such research carried out at De Beers
              Technologies we have captured images of CVD synthetic diamond samples of various kinds
              In their as-grown form and after heat treatments at different temperatures" and had relied on
              such research in the said Technical Note.

     c.       In the Technical Note S/N 145 at page 5, your client had further referred to a study of "ten
              CVD synthetic diamond plates (NL625-1 to -10)".

     The above should be sufficient to clarify what our client means by "standard" and "benchmark".

     5,       With respect to paragraphs 4, 6, 8, 9, 11, 12, 13, and 14, for the avoidance of doubt, our
     client denies the allegations that the documents requested for are irrelevant, In any event, we note
     that your client has not stated that it does not have such documents in its possession, custody and/or
     power.

     6.        With respect to paragraph 15, insofar as these "further relevant documents" are within your
     client's possession, custody and/or power now, your client should disclose them now.

    7.        With respect to paragraphs 16 and 17, our client does not agree to your client's request to
    hold back on the provision of documents until the determination of the relevant specific discovery
    hearing (including appeals). Your client should not be starting to source for these documents only
    "after a relevant order has been issued", especially when our client's request was sent to you on 22
    December 2017 and AR Cheng had given directions for the filing of the discovery application on 27
    December 2017 at the PTC, and your client did not raise any issues then.

    8.      In the premises, please let us have all relevant documents that your client has agreed to
    disclose in your letter to us dated 22 January 2018. Our client is agreeable to disclose the
    documents that our client has agreed to disclose to your client in our letter to you dated 12 February
    2018, and will do so by Monday, 19 February 2018, Please also let us have your client's instructions
    on its position with respect to the disclosure of documents pursuant to our requests at paragraphs
    3(a) and 3(c) of our letter to you dated 22 December 2017 in light of our paragraphs 3 and 4 above.

    9.     Please let us have your response and/or the requested documents by Monday, 19
    February 2018,

    10.      In the meantime, we propose for timeline for parties to file the necessary specific discovery
    application to be addressed at the next Pre-Trial Conference, presently fixed for 21 February 2018.

    11.       All of our client's rights are expressly reserved.


     Yours faithfully,



              (Z74VL-
    Drew & Napier LLC

    Cc client
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                     THE GEMESIS COMPANY (S) PTE. LTD.
                           AND ITS SUBSIDIARIES
                      Company Registration No. 200516961K
                          (Incorporated in Singapore)


                    REPORTS AND FINANCIAL STATEMENTS
                     FOR THE YEAR ENDED 31 MARCH 2012
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                           THE GEMESIS COMPANY (S) PTE. LTD.
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                         REPORTS AND FINANCIAL STATEMENTS
                                   31 MARCH 2012




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                                THE GEMESIS COMPANY (S) PTE. LTD.
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                                 Company Registration No. 200516961K
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                                          DIRECTORS' REPORT



 The directors present their report to the members together with the audited consolidated financial
 statements of The Gemesis Company (S) Pte. Ltd. (the "Company") and its subsidiaries (collectively,
 the "Group") for the financial year ended 31 March 2012, and the balance sheet of the Company as at
 31 March 2012.


 Directors

 The directors of the Company in office at the date of this report are as follows:

Vishal Jatin Mehta
Sonia Jatin Mehta
Tan Teck Nguan Michael
Girija Prasad Pande                              (appointed on 1 April 2012)


Arrangements to enable directors to acquire shares and debentures

Neither at the end of nor at any time during the financial year was the Company a party to any
arrangement whose object was to enable the directors of the Company to acquire benefits by means
of the acquisition of shares in, or debentures of, the Company or any other body corporate.


Directors' interests in shares and debentures

The interest of the directors who held office at the end of the financial year in the shares and
debentures of the Company and related corporation were as follows:

                                         Holdings registered in              Holdings in which a director
                                       name of director or nominee          is deemed to have an interest

                                           At              At                    At               At
                                       31.03.2012      01.04.2011            31.03.2012       01.04.2011
                                        (No. of Ordinary shares)               (No. of Ordinary shares)
Holding Company
JRD International Ltd

Sonia Jatin Mehta

Immediate Holding Company
The Gemesis Company (S) Pte.
  Ltd.

Sonia Jatin Mehta                       1,000,000        1,000,000          40,081,508       2,500,001




                                                    1
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                              THE GEMESIS COMPANY (S) PTE. LTD.
                                    AND ITS SUBSIDIARIES
                               Company Registration No. 200516961K
                                   (Incorporated in Singapore)


                                        DIRECTORS' REPORT



 Directors' contractual benefits

 Since the end of the previous financial year, no director has received or become entitled to receive a
 benefit by reason of a contract made by the Company or a related corporation with the director or with
 a firm of which he is a member or with a company in which he has a substantial financial interest,
 except as disclosed in the accompanying financial statements and in this report.


 Share options

 (a) Options to take up unissued shares

     During the financial year, no option to take up unissued shares of the Company or its
     subsidiaries was granted.

 (b) Unissued shares under option and options exercised

     During the financial year, there were no shares of the Company or its subsidiaries issued by
     virtue of the exercise of an option to take up unissued shares.

     At the end of the financial year, there were no unissued shares under option.


 Independent auditor

The independent auditor, AT ADLER, Public Accountants and Certified Public Accountants, has
expressed its willingness to accept re-appointment.




On behalf of the Board of Directors




Vishal atin Mehta                                             Tan T ck Nguan Michael
Director                                                      Director


Dated: 3 September 2012




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                                THE GEMESIS COMPANY (S) PTE. LTD.
                                      AND ITS SUBSIDIARIES
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                                       STATEMENT BY DIRECTORS



 In the opinion of the directors,

 (a)     the financial statements of the Company and the consolidated financial statements of the
         Group are drawn up so as to give a true and fair view of the state of affairs of the Company
         and of the Group as at 31 March 2012 and of the results of the business, changes in equity
         and cash flows of the Group for the financial year then ended on that date in accordance with
         the provision of the Singapore Companies Act, Chapter 50 and Singapore Financial Reporting
         Standards; and

 (b)     at the date of this statement, there are reasonable grounds to believe that the Company will
         be able to pay its debts as and when they fall due.




 On behalf of the Board of Directors




 Vishal Jatin Mehta                                           Tan Fck Nguan Michael
 Director                                                     Director


Dated:    3 September 2012




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      INDEPENDENT AUDITOR'S REPORT TO THE MEMBERS OF
      THE GEMESIS COMPANY (S) PTE. LTD.
      for the financial year ended 31 March 2012
                                                                                                                                   LH
      Company Registration No. 200516961K
      (Incorporated in Singapore)



      Report on the Financial Statements

      We have audited the accompanying financial statements of The Gemesis Company (S) Pte. Ltd. (the
      "Company") and its subsidiaries (collectively, the "Group"), which comprise the balance sheets of the
      Company and of the Group as at 31 March 2012, and the consolidated statement of comprehensive
      income, consolidated statement of changes in equity and the consolidated statement of cash flow of
      the Group for the financial year then ended, and a summary of significant accounting policies and
      other explanatory notes. The financial statements for the financial year ended 31 March 2011 were
      audited by another firm of independent auditors, whose report dated 10 August 2011 expressed a
      qualified opinion.


      Management's Responsibility for the Financial Statements

      Management is responsible for the preparation of financial statements that give a true and fair view in
      accordance with the provisions of the Singapore Companies Act, Chapter 50 (the "Act") and
      Singapore Financial Reporting Standards, and for devising and maintaining a system of internal
      accounting controls sufficient to provide a reasonable assurance that assets are safeguarded against
      loss from unauthorised use or disposition; and transactions are properly authorised and that they are
      recorded as necessary to permit the preparation of true and fair profit and loss accounts and balance
      sheets and to maintain accountability of assets.


      Auditor's Responsibility

      Our responsibility is to express an opinion on these financial statements based on our audit. We
      conducted our audit in accordance with Singapore Standards on Auditing. Those Standards require
      that we comply with ethical requirements and plan and perform the audit to obtain reasonable
      assurance about whether the financial statements are free from material misstatement.

     An audit involves performing procedures to obtain audit evidence about the amounts and disclosures
     in the financial statements. The procedures selected depend on the auditors judgement, including the
     assessment of the risks of material misstatement of the financial statements, whether due to fraud or
     error. In making those risk assessments, the auditor considers internal control relevant to the entity's
     preparation of the financial statements that give a true and fair view in order to design audit
     procedures that are appropriate in the circumstances, but not for the purpose of expressing an
     opinion on the effectiveness of the entity's internal control. An audit also includes evaluating the
     appropriateness of accounting policies used and the reasonableness of accounting estimates made
     by management, as well as evaluating the overall presentation of the financial statements.

     We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis
     for our audit opinion.




                                                                       4

AT ADLER 1146 Robinson Road, #09-01, Singapore 068909 I tel.+ 65.64386867 I fax. *65.64384806 I email. admin@atadler.com I web.www.atadler.com
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INDEPENDENT AUDITOR'S REPORT TO THE MEMBERS OF
THE GEMESIS COMPANY (S) PTE. LTD.
for the financial year ended 31 March 2012
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Company Registration No. 200516961K
(Incorporated in Singapore)



Opinion

In our opinion, the consolidated financial statements of the Group and the balance sheet of the
Company, are properly drawn up in accordance with the provisions of the Act and Singapore
Financial Reporting Standards so as to give a true and fair view of the state of affairs of the Group
and of the Company as at 31 March 2012, and the results, changes in equity and cash flows of the
Group for the financial year ended on that date.


Report on Other Legal and Regulatory Requirements

In our opinion, the accounting and other records required by the Act to be kept by the Company and
by the subsidiary incorporated in Singapore of which we are the auditors have been properly kept in
accordance with the provisions of the Act.




   N-T
AT ADLER
Public Accountants and Certified Public Accountants

Singapore, 3 September 2012




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                                THE GEMESIS COMPANY (S) PTE. LTD.
                                      AND ITS SUBSIDIARIES
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                                     (Incorporated in Singapore)


                                             BALANCE SHEET
                                            as at 31 March 2012



                                                   The Group                         The Company
                                            2012               2011               2012         2011
                               Note         USD                USD                USD          USD

ASSETS
Non-current assets
Plant and equipment              4       18,614,188 /        6,627,032         18,741,363          6,627,032
Construction and projects
  work-in-progress               5       14,608,374 /        2,551,787         14,608,374          2,551,787
Intangible assets                6           94,565 /           72,717             81,560             59,712
Investment in subsidiaries       7                                                    201                  1
                                         33,317,127          9,251,536         33,431,498          9,238,532

Current assets
Inventories                      8        9,044,417 /        1,633,202          3,100,927          1,431,771
Trade and other
  receivables                    9       20,896,747 /       16,293,869         23,201,725         16,279,127
Cash and bank balances                    4,077,244 /           26,810          3,629,473             19,504
                                         34,018,408         17,953,881         29,932,125         17,730,402

TOTAL ASSETS                             67,335,535         27,205,417         63,363,623         26,968,934

EQUITY AND
  LIABILITIES
Equity attributable to
  equity holders of the
  Company
Share capital                   10      54,767,830 /        17,186,323         54,767,830         17,186,323
Accumulated losses                      (4,172,271)         (6,049,235)        (4,300,961)        (6,036,944)
Total equity                            50,595,559          11,137,088         50,466,869         11,149,379

Non-current liabilities
Finance lease obligations       11          244,136/           253,528            244,136            253,528
                                            244,136            253,528            244,136            253,528

Current liabilities
Trade and other payables        12      16,415,352 /        7,745,830         12,585,130           7,497,056
Finance lease obligations       11          67,488 /           62,305             67,488              62,305
Bank loan                       13                          8,006,666                  -           8,006,666
Income tax liabilities                      13,000 /                -                  -                   -
                                        16,495,840         15,814,801         12,652,618          15,566,027

Total liabilities                       16,739,976         16,068,329         12,896,754          15,819,555

TOTAL EQUITY AND
 LIABILITIES                            67,335,535         27,205,417         63,363,623          26,968,934




 The annexed notes form an integral part of and should be read in conjunction with these financial statements.

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                                THE GEMESIS COMPANY (S) PTE. LTD.
                                      AND ITS SUBSIDIARIES
                                 Company Registration No. 200516961K
                                     (Incorporated in Singapore)


                             STATEMENT OF COMPREHENSIVE INCOME
                               for the financial year ended 31 March 2012



                                                                                         The Group
                                                                                  2012               2011
                                                                     Note         USD                USD

Continuing operations

Revenue                                                                14     20,860,110 /       10,582,260
Cost of sales                                                                (16,528,314)        (7,695,471)
                                                                               4,331,796 /        2,886,789

Other income                                                           15           7,598 7            2,687
Jobs credit scheme                                                                                     3,654
                                                                               4,339,394           2,893,130

Administrative expenses                                                       (1,704,960)           (863,380)
Distribution and selling expenses                                               (336,774) /         (134,687)
Financial expenses                                                    16        (219,454) /         (387,333)
Other expenses                                                                  (188,242) /          (46,199)

Profit before income tax                                              17       1,889,964 7         1,461,531

Income tax expense                                                    18          (13,000) /

Total profit after income tax                                                  1,876,964 /         1,461,531

Other comprehensive income

Total comprehensive income                                                     1,876,964 /         1,461,531




 The annexed notes form an integral part of and should be read in conjunction with these financial statements.

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                                THE GEMESIS COMPANY (S) PTE. LTD.
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                                 STATEMENT OF CHANGES IN EQUITY
                                for the financial year ended 31 March 2012



                                                                Share         Accumulated          Total
                                                                capital          losses            equity
                                                                 USD              USD               USD

2012
Beginning of financial year                                  17,186,323        (6,049,235)      11,137,088

Issuance of share capital (Note 10)                          37,581,507                         37,581,507

Total comprehensive income for the year                                         1,876,964         1,876,964

End of financial year                                        54,767,830         4,172,271)      50,595,559

2011
Beginning of financial year                                   1,590,128        (7,510,766)       (5,920,638)

Issuance of share capital (Note 10)                          15,596,195                         15,596,195

Total comprehensive income for the year                                         1,461,531         1,461,531

End of financial year                                        17,186,323        (6,049,235)11,137 088




 The annexed notes form an integral part of and should be read in conjunction with these financial statements.

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                                THE GEMESIS COMPANY (S) PTE. LTD.
                                      AND ITS SUBSIDIARIES
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                                     (Incorporated in Singapore)


                                      STATEMENT OF CASH FLOW
                                for the financial year ended 31 March 2012



                                                                                        The Group
                                                                                 2012               2011
                                                                                 USD                USD

Cash flows from operating activities
Profit before income tax                                                       1,889,964 /        1,461,531
Adjustments for:
- Depreciation of plant and equipment                                          1,857,607          1,401,613
- Gain on disposal of plant and equipment                                                           (14,636)
- Amortisation of intangible assets                                                3,148 /            3,148
- Interest expenses                                                              205,152 /          385,083
Operating cash flow before working capital changes                             3,955,871          3,236,739

Changes in working capital:
- Inventories                                                                 (7,411,215) <      (1,633,202)
- Trade and other receivables                                                 (4,063,755) /      (6,305,340)
- Trade and other payables                                                     8,213,731 /        1,920,712
Cash generated from/(used in) operations                                         694,632         (2,781,091)
Income tax paid
Net cash flows generated from/(used in) operating activities                     694,632 /       (2,781,091)

Cash flows from investing activities
Acquisition of plant and equipment                                           (12,044,579) /        (803,753)
Payment of construction and project work-in-progress                         (13,799,361)/       (2,551,787)
Acquisition of intangible assets                                                 (24,996) /         (62,860)
Sales proceeds from disposal of motor vehicles                                                       57,288
Net cash flows used in investing activities                                  (25,868,936)        (3,361,112)

Cash flows from financing activities
Amount due to holding company                                                 41,164,308 /        7,510,657
Amount due to subsidiary company                                                                     17,797
Amount due to related parties                                                 (3,666,133) /       3,070,288
Interest paid                                                                   (205,152) /        (371,649)
Repayment of bank loan                                                        (8,006,666) /      (4,003,333)
Repayment of finance lease obligations                                           (61,619) /         (63,696)
Net cash flows generated from financing activities                            29,224,738          6,160,064

Net increase in cash and bank balances                                         4,050,434             17,861
Cash and bank balances at beginning of financial year                             26,810              8,949
Cash and bank balances at end of financial year                                4,077,244             26,810




 The annexed notes form an integral part of and should be read in conjunction with these financial statements.

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                             THE GEMESIS COMPANY (S) PTE. LTD.
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                           NOTES TO THE FINANCIAL STATEMENTS
                            for the financial year ended 31 March 2012



These notes form an integral part of and should be read in conjunction with the accompanying
financial statements.


1.     General information

      The Gemesis Company (S) Pte. Ltd. (the "Company") is incorporated and domiciled in
      Singapore. The address of its registered office and principal place of business is at 1 Raffles
      Place #18-01 OUB Centre, Singapore 048616 and 2 Woodlands Sector 1 #03-14 Woodlands
      Spectrum, Singapore 738068 respectively.

      The principal activities of the Company are growing of diamonds. The principal activities of its
      subsidiaries are set up in Note 7 to the financial statements. There have been no significant
      changes in such activities during the financial year.

      The consolidated financial statements relate to the Company and its subsidiaries.

      The Company is a subsidiary of JRD International Limited, a company incorporated in the
      Bahamas Island, which is also its ultimate holding company.


2.    Significant accounting policies

2.1   Basis of preparation

      The consolidated financial statements of the Company and the Group have been prepared in
      accordance with Singapore Financial Reporting Standards ("FRS"). The consolidated
      financial statements have been prepared under the historical cost convention, except as
      otherwise disclosed in the accounting policies stated below.

      The preparation of financial statements in conformity with FRS requires management to make
      judgements, estimates and assumptions that affect the application of accounting policies and
      the reported amounts of assets, liabilities, income and expenses. Actual results may differ
      from these estimates. The areas involving a higher degree of judgement or complexity, or
      areas where assumptions and estimates are significant to the financial statements, are
      disclosed in Note 3.

2.2   Adoption of new and revised standards

      On 1 April 2011, the Company and the Group has adopted all the new or revised FRS and
      Interpretations to FRS ("INT FRS") that are relevant to its operations and mandatory for
      application from that date. Changes to the Company's and the Group's accounting policies
      have been made as required, in accordance with the relevant transitional provisions in the
      respective FRS and INT FRS.

      The adoption of these new or amended FRS and INT FRS did not result in substantial
      changes to the Company's accounting policies and had no material effect on the amounts
      reported for the current year or prior financial period.



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                          NOTES TO THE FINANCIAL STATEMENTS
                           for the financial year ended 31 March 2012



2.    Significant accounting policies (cont'd)

2.3   Group accounting

      (a)    Basis of consolidation

             Subsidiaries are entities (including special purpose entities) over which the Group has
             power to govern the financial and operating policies so as to obtain benefits from its
             activities, generally accompanied by a shareholding giving rise to a majority of the
             voting rights. The existence and effect of potential voting rights that are currently
             exercisable or convertible are considered when assessing whether the Group controls
             another entity. Subsidiaries are consolidated from the date on which control is
             transferred to the Group. They are deconsolidated from the date on which control
             ceases. In preparing the consolidated financial statements, transactions, balances
             and unrealised gains on transactions between group entities are eliminated.
             Unrealised losses are also eliminated but are considered an impairment indicator of
             the assets transferred. Accounting policies of subsidiaries have been changed where
             necessary to ensure consistency with the policies adopted by the Group.

      (b)    Acquisition of businesses

             The acquisition method of accounting is used to account for business combinations by
             the Group.

             The consideration transferred for the acquisition of a subsidiary comprises the fair
             value of the assets transferred, the liabilities incurred and the equity interests issued
             by the Group. The consideration transferred also includes the fair value of any
             contingent consideration arrangement and the fair value of any pre-existing equity
             interest in the subsidiary.

             Acquisition-related costs are expenses as incurred.

             Identifiable assets acquired and liabilities and contingent liabilities assumed in a
             business combination are, with limited exceptions, measured initially at their fair
             values at the acquisition date.

             The excess of the consideration transferred, the amount of any non-controlling interest
             in the acquire and acquisition-date fair value of any previous equity interest in the
             acquiree over the fair value of the net identifiable assets acquired is recorded as
             goodwill.

2.4   Currency translation

      (a)   Functional and presentation currency

            Items included in the financial statements of the Company and the Group are
            measured using the currency of the primary economic environment in which the
            Company and the Group operates ("functional currency"). The financial statements
            are presented in United States Dollar, which is the functional currency of the Company
            and the Group.

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                            THE GEMESIS COMPANY (S) PTE. LTD.
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                          NOTES TO THE FINANCIAL STATEMENTS
                           for the financial year ended 31 March 2012



2.    Significant accounting policies (cont'd)

2.4   Currency translation (cont'd)

      (b)     Transactions and balances

              Transactions in a currency other than the functional currency ("foreign currency") are
              translated into the functional currency using the exchange rates at the dates of the
              transaction. Currency translation differences resulting from the settlement of such
              transactions and from the translation of monetary assets and liabilities denominated in
              foreign currencies at the closing rates at the balance sheet date are recognised in the
              profit or loss.

              Non-monetary items measured at fair value in a foreign currency are translated using
              the exchange rates at the date when the fair value was determined.

2.5   Revenue recognition

      Revenue is recognised to the extent that it is probable that the economic benefits will flow to
      the Group and the revenue can be reliably measured.

      Revenue from sales of goods is recognised when the significant risks and rewards of
      ownership have been transferred to the buyer, recovery of the consideration is probable, the
      associated costs and possible return of goods can be estimated reliably, there is no
      continuing management involvement with the goods, and the amount of revenue can be
      measured reliably.

2.6   Intangible assets

      Intangible assets acquired separately are measured initially at cost. The cost of intangible
      assets acquired in a business combination is their fair value as at the date of acquisition.
      Subsequent to the initial acquisition, intangible assets are measured at cost less any
      accumulated amortisation and accumulated impairment losses.

      Intangible assets with finite useful lives are amortised over the estimated useful lives and
      assessed for impairment whenever there is an indication that the intangible asset may be
      impaired. The amortisation period and the amortisation method are reviewed at least at the
      end of each reporting period.

      Intangible assets with indefinite useful lives or not yet available for use are tested for
      impairment annually or more frequently if the events and circumstances indicate that the
      carrying value may be impaired either individually or at the cash-generating unit level. Such
      intangible assets are not amortised. The useful life of an intangible asset with an indefinite
      useful life is reviewed annually to determine whether the useful life assessment continues to
      be supportable.




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                                NOTES TO THE FINANCIAL STATEMENTS
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2.    Significant accounting policies (cont'd)

2.7   Inventories

      Inventories are valued at lower of cost and net realisable value. Cost is being determined on
      the first-in first-out basis and includes all costs in bringing the inventories to their present
      location and condition. In the case of manufactured inventories and work-in-progress, cost
      includes an appropriate share of production overheads based on normal operating capacity.
      Net realisable value is the price at which the inventories can be realised in the normal course
      of business after allowing for the cost of realisation. Provision is made, where necessary, for
      all obsolete and slow moving items.

2.8   Plant and equipment

      Plant and equipment are stated at cost less accumulated depreciation and accumulated
      impairment loss. The cost of plant and equipment includes expenditure that is directly
      attributable to the acquisition of the items. Dismantlement, removal or restoration costs are
      included as part of the cost of plant and equipment if the obligation for dismantlement,
      removal or restoration is incurred as a consequence of acquiring or using the items.

      Depreciation is calculated on the straight-line method to allocate the depreciable amount over
      their estimated useful lives as follows:-

                                                         Years
      Computers                                              3
      Electrical installation                               10
      Furniture & fittings                                   3
      Motor vehicle                                          6
      Office equipment                                       3
      Plant and machinery                                3 —10
      Renovation                                         3 —10
      Control system                                         3

      The residual values and useful lives of plant and equipment are reviewed and adjusted as
      appropriate at the end of each reporting period. On disposal of an item of plant and
      equipment, the difference between the net disposal proceeds and its carrying amount is taken
      to the statement of comprehensive income. Fully depreciated items are retained in the
      financial statements until they are no longer in use and no further charge for the depreciation
      is made in respect of these items.




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2.     Significant accounting policies (cont'd)

2.9    Related party

       A related party is an entity or person that directly or indirectly through one or more
       intermediaries controls, is controlled by, or is under common or joint control with, the entity in
       governing the financial and operating policies, or that has an interest in the entity that gives it
       significant influence over the entity in financial and operating decisions, it also includes
       members of the key management personnel or close members of family of any individual
       referred to herein and others who have the ability to control, jointly control or significantly
       influence by or for which significant voting power in such entity resides with, directly or
       indirectly, any such individual. This includes parents, subsidiaries, fellow subsidiaries,
       associates, joint ventures and post-employment benefit plans, if any.

2.10 Construction and projects work-in-progress

       Construction and projects work-in-progress are related to factory building and plant and
       equipment to be constructed or developed for the Company and the Group and are stated at
       cost.

2.11   Impairment of non-financial assets

       The Company and the Group assesses at each reporting date whether there is an indication
       that an asset may be impaired. If any such indication exists, or when annual impairment
       assessment for an asset is required, the Company and the Group makes an estimate of the
       asset's recoverable amount.

       An asset's recoverable amount is the higher of an asset's or cash-generating unit's fair value
       less costs to sell and its value in use and is determined for an individual asset, unless the
       asset does not generate cash inflows that are largely independent of those from other assets
       or group of assets. Where the carrying amount of an asset or cash-generating unit exceeds
       its recoverable amount, the asset is considered impaired and is written down to its
       recoverable amount. In assessing value in use, the estimated future cash flows expected to
       be generated by the asset are discounted to their present value using a pre-tax discount rate
       that reflects current market assessments of the time value of money and the risks specific to
       the asset.

       Impairment losses are recognised in the profit or loss, except for assets that are previously
       revalued where the revaluation was taken to other comprehensive income. In this case the
       impairment is also recognised in other comprehensive income up to the amount of any
       previous revaluation.




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2.     Significant accounting policies (cont'd)

2.11   Impairment of non-financial assets (cont'd)

       For assets excluding goodwill, an assessment is made at each reporting date as to whether
       there is any indication that previously recognised impairment losses may no longer exist or
       may have decreased. If such indication exists, the Company and the Group estimates the
       asset's or cash-generating unit's recoverable amount. A previously recognised impairment
       loss is reversed only if there has been a change in the estimates used to determine the
       asset's recoverable amount since the last impairment loss was recognised. If that is the case,
       the carrying amount of the asset is increased to its recoverable amount. That increase cannot
       exceed the carrying amount that would have been determined, net of depreciation, had no
       impairment loss be recognised previously. Such reversal is recognised in the profit or loss
       unless the asset is measured at revalued amount, in which case the reversal is treated as a
       revaluation increase.

2.12 Financial instruments

       (a)    Non-derivative financial assets

              The Company the Group initially recognises loans and receivables and deposits on
              the date that they are originated. All other financial assets (including assets
              designated at fair value through profit or loss) are recognised initially on the trade date
              at which the Company and the Group becomes a party to the contractual provisions of
              the instrument.

              The Company and the Group derecognises a financial asset when the contractual
              rights to the cash flows from the asset expire, or it transfers the rights to receive the
              contractual cash flows on the financial asset in a transaction in which substantially all
              the risks and rewards of ownership of the financial asset are transferred. Any interest
              in transferred financial assets that is created or retained by the Company and the
              Group is recognised as a separate asset or liability.

              Financial assets and liabilities are offset and the net amount presented in the balance
              sheet when, and only when, the Company and the Group has a legal right to offset the
              amounts and intends either to settle on a net basis or to realise the asset and settle
              the liability simultaneously.

              The Company and the Group classifies its non-derivative financial assets into the
              following category: loan and receivables.




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2.    Significant accounting policies (cont'd)

2.12 Financial instruments (cont'd)

      (a)    Non-derivative financial assets (cont'd)

             Loans and receivables
             Loans and receivables are financial assets with fixed or determinable payments that
             are not quoted in an active market. Such assets are recognised initially at fair value
             plus any directly attributable transaction costs. Subsequent to initial recognition, loans
             and receivables are measured at amortised costs using the effective interest method,
             less any impairment losses.

             Loans and receivables comprise cash and bank balances, and trade and other
             receivables.

      (b)    Non-derivative financial liabilities

             The Company and the Group initially recognises debt securities issued and
             subordinated liabilities on the date that they are originated. All other financial liabilities
             (including liabilities designated at fair value through profit or loss) are recognised
             initially on the trade date, which is the date that the Company and the Group becomes
             a party to the contractual provisions of the instrument.

             The Company and the Group derecognises a financial liability when its contractual
             obligations are discharged, cancelled or expired.

             Financial assets and liabilities are offset and the net amount presented in the balance
             sheet when, and only when the Company and the Group has a legal right to offset the
             amounts and intends either to settle on a net basis or to realise the asset and settle
             the liability simultaneously.

             Non-derivative financial liabilities are recognised initially at fair value plus any directly
             attributable transaction costs. Subsequent to initial recognition, these financial
             liabilities are measured at amortised cost using the effective interest method.

             The Company and the Group has the following non-derivative financial liabilities: trade
             and other payables.

      (c)   Share capital

            Ordinary shares
            Ordinary shares are classified as equity. Incremental costs directly attributable to the
            issue of ordinary shares are recognised as a deduction from equity, net of any tax
            effects.




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2.     Significant accounting policies (cont'd)

2.13 Impairment of non-derivative financial assets

       A financial asset not carried at fair value through profit or loss is assessed at each reporting
       date to determine whether there is objective evidence that it is impaired. A financial asset is
       impaired if objective evidence indicates that a loss event has occurred after the initial
       recognition of the asset, and that the loss event has a negative effect on the estimated future
       cash flows of that asset that can be estimated reliably.

       Objective evidence that financial assets (including equity securities) are impaired can include
       default or delinquency by a debtor, restructuring of an amount due to the Company and the
       Group on terms that the Company and the Group would not consider otherwise, indications
       that a debtor or issuer will enter bankruptcy, adverse changes in the payment status of
       borrowers or issuers in the Company and the Group, economic conditions that correlate with
       defaults or the disappearance of an active market for a security. In addition, for an investment
       in an equity security, a significant or prolonged decline in its fair value below its cost is
       objective evidence of impairment.

       Loans and receivables
       The Company and the Group considers evidence of impairment for loans and receivables at
       both a specific asset and collective level. All individually significant loans and receivables are
       assessed for specific impairment. All individually significant loans and receivables found not
       to be specifically impaired are then collectively assessed for any impairment that has been
       incurred but not yet identified. Loans and receivables that are not individually significant are
       collectively assessed for impairment by grouping together loans and receivables with similar
       risk characteristics.

       In assessing collective impairment, the Company and the Group uses historical trends of the
       probability of default, timing of recoveries and the amount of loss incurred, adjusted for
       management's judgement as to whether current economic and credit conditions are such that
       the actual losses are likely to be greater or less than suggested by historical trends.

       An impairment loss in respect of a financial asset measured at amortised cost is calculated as
       the difference between its carrying amount and the present value of the estimated future cash
       flows, discounted at the asset's original effective interest rate. Losses are recognised in profit
       or loss and reflected in an allowance account against loans and receivables. Interest on the
       impaired asset continues to be recognised. When a subsequent event (e.g. repayment by a
       debtor) causes the amount of impairment loss to decrease, the decrease in impairment loss is
       reversed through profit or loss.

2.14 Fair value estimation of financial assets and liabilities

       The fair values of current financial assets and liabilities carried at amortised cost approximate
       their carrying amounts.




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2.    Significant accounting policies (cont'd)

2.15 Operating leases (when the Company and the Group is the lessee)

      Leases where a significant portion of the risks and rewards of ownership are retained by the
      lessor are classified as operating leases. Payments made under operating leases are taken
      to the statement of comprehensive income on a straight-line basis over the period of the
      lease.

      When an operating lease is terminated before the lease period has expired, any payment
      required to be made to the lessor by way of penalty is recognised as an expense in the period
      in which termination takes place.

2.16 Employee compensation

      The Company's and the Group's contributions are recognised as employee compensation
      expense when they are due, unless they can be capitalised as an asset.

      Defined contribution plans

      Defined contribution plans are post-employment benefit plans under which the Company and
      the Group pays fixed contributions into separate entities such as the Central Provident Fund
      on a mandatory, contractual or voluntary basis. The Company and the Group has no further
      payment obligations once the contributions have been paid. The Company's and the Group's
      contributions are recognised as employee compensation expense when they are due.

2.17 Income taxes

      Income tax expense comprises current and deferred tax. Current tax and deferred tax is
      recognised in profit or loss except to the extent that it relates to a business combination, or
      items recognised directly in equity or in other comprehensive income.

      Current tax is the expected tax payable or receivable on the taxable income or loss for the
      years, using tax rates enacted or substantively enacted at the reporting date, and any
      adjustment to tax payable in respect of previous years.

      Deferred tax is recognised in respect of temporary differences between the carrying amounts
      of assets and liabilities for financial reporting purposes and the amounts used for taxation
      purposes. Deferred tax is not recognised for:
      • temporary differences on the initial recognition of assets or liabilities in a transaction that
          is not a business combination and that affects neither accounting nor taxable profit or
          loss;
      • temporary differences related to investments in subsidiaries and jointly controlled entities
          to the extent that it is probable that they will not reverse in the foreseeable future; and
      • taxable temporary differences arising on the initial recognition of goodwill.




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2.    Significant accounting policies (cont'd)

2.17 Income taxes (cont'd)

      Deferred tax is measured at the tax rates that are expected to be applied to temporary
      differences when they reverse, based on the laws that have been enacted or substantively
      enacted by the reporting date.

      Deferred tax assets and liabilities are offset if there is a legally enforceable right to offset
      current tax liabilities and assets, and they relate to income taxes levied by the same tax
      authority on the same taxable entity, or on different tax entities, but they intend to settle
      current tax liabilities and assets on a net basis or their tax assets and liabilities will be realised
      simultaneously.

      A deferred tax asset is recognised for unused tax losses, tax credits and deductible temporary
      differences, to the extent that it is probable that future taxable profits will be available against
      which they can be utilised. Deferred tax assets are reviewed at each reporting date and are
      reduced to the extent that it is no longer probable that the related tax benefit will be realised.

2.18 Investment in subsidiaries

      A subsidiary is an entity over which the Group has the power to govern the financial and
      operating policies so as to obtain benefits from its activities. The Group generally has such
      power when it directly or indirectly holds more than 50% of the issued share capital, or
      controls more than half of the voting power, or controls the composition of the board of
      directors.

      Investment in subsidiary are stated at cost less any impairment loss in the Company's
      balance sheet. On disposal of a subsidiary, the difference between net disposal proceeds
      and the carrying amount of the investment is taken to the statement of comprehensive
      income.


3.    Critical accounting estimates, assumptions and judgements

      Estimates, assumptions and judgements are continually evaluated and are based on historical
      experience and other factors, including expectations of future events that are believed to be
      reasonable under the circumstances.

      The Company and the Group makes estimates and assumptions concerning the future. The
      resulting accounting estimates will, by definition, seldom equal the related actual results. The
      estimates and assumptions that have a significant risk of causing a material adjustment to the
      carrying amounts of assets and liabilities within the next financial year are discussed below: -




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3.   Critical accounting estimates, assumptions and judgements (cont'd)

     (a)    Useful lives of plant and equipment

           The cost of plant and equipment is depreciated on a straight-line basis over the plant
           and equipment's estimated economic useful lives. Management estimates the useful
           lives of these property, plant and equipment to be within 3 to 10 years. These are
           common life expectancies applied in the industry. Changes in the expected level of
           usage and technological developments could impact the economic useful lives and
           the residual values of these assets, therefore, future depreciation charges could be
           revised. The carrying amount of the Company's and the Group's plant and equipment
           at the end of the reporting period is disclosed in Note 4 to the financial statements.

     (b)   Impairment of loans and receivables

           The Company and the Group assess at the end of each reporting period whether
           there is any objective evidence that a financial asset is impaired. To determine
           whether there is objective evidence of impairment, the Company and the Group
           considers factors such as the probability of insolvency or significant financial
           difficulties of the receivable and default or significant delay in payments.

           Where there is objective evidence of impairment, the amount and timing of future cash
           flows are estimated based on historical loss experience for assets with similar credit
           risk characteristics. Based on the directors assessments, no impairment is required.
           The carrying amounts of the Company's and the Group's loans and receivables at the
           end of the reporting period are disclosed in Note 9 to the financial statements.

     (c)   Allowance for obsolete inventories

           A review is made periodically on inventory for excess inventory, obsolescence and
           declines in net realisable value below cost and record an allowance against the
           inventory balance for any such declines. These reviews require management to
           estimate future demand for the products. Possible changes in these estimates could
           result in revisions to the valuation of inventory. The carrying amount of the Group's
           inventories were disclosed in Note 8 to the financial statements.




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4.   Plant and equipment

                                              Electrical Furniture &            Motor       Office     Plant &                    Control
                                   Computers installation  fittings            vehicles   equipment   Machinery    Renovation     system        Total
                                     USD        USD          USD                 USD         USD        USD           USD          USD          USD
     GROUP
     2012
     Cost
     Beginning of financial year      50,644       168,428       25,983         439,076      61,015   14,824,910    1,227,189      125,756   16,923,001
     Additions                        73,026        37,311       46,016          59,819      95,960   11,198,286      254,892      336,679   12,101,989
     Transfer from/(to)
       construction and project
       work-in-progress                    -     1,593,284            -               -     (30,921)   180,411                           -    1,742,774
     End of financial year           123,670     1,799,023       71,999         498,895     126,054 26,203,607      1,482,081      462,435   30,767,764

     Accumulated depreciation
     Beginning of financial year      41,902         3,816       22,661         121,536      15,823    9,003,261    1,073,714       13,256   10,295,969
     Depreciation charged             13,956        55,595        8,598          78,946      22,527    1,530,259       73,542       74,184    1,857,607
     End of financial year            55,858        59,411       31,259         200,482      38,350   10,533,520    1,147,256       87,440   12,153,576

     Net book value
     End of financial year            67,812     1,739,612       40,740         298,413      87,704   15,670,087      334,825      374,995   18,614,188

     The carrying amount of motor vehicles acquired under finance lease obligations for the Group and Company were USD298,413 and USD298,413 (2011:
     USD192,510 and USD192,510) respectively.

     During the financial year, the Group and the Company acquired plant and equipment costing USD12,101,989 and USD12,229,164 (2011: USD989,874
     and USD989,874) of which USD57,410 and USD57,410 (2011: USD240,566 and USD240,566) was acquired by finance lease obligations. Cash
     payments of USD12,044,579 and USD12,171,754 (2011: USD749,308 and USD989,874) were made to purchase these plant and equipment.

     As at 31 March 2011, plant and equipment with net book value of USD1,876,822 (2011: USD2,339,498) were pledged to secure bank loan granted to the
     Company (Note 13).

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4.   Plant and equipment (cont'd)

                                               Electrical Furniture &       Motor        Office      Plant &                  Control
                                    Computers installation  fittings       vehicles    equipment    Machinery    Renovation   system       Total
                                      USD        USD          USD            USD          USD         USD           USD        USD         USD
     GROUP
     2011
     Cost
     Beginning of financial year       40,334       4,867       23,145      267,971         9,664   14,432,982    1,223,625          -   16,002,588
     Additions                         10,310     163,561        2,838      240,566        51,351      391,928        3,564    125,756      989,874
     Disposal                               -           -                   (69,461)                         -                              (69,461)
     End of financial year             50,644     168,428       25,983      439,076        61,015   14,824,910    1,227,189    125,756   16,923,001

     Accumulated depreciation
     Beginning of financial year       40,334       1,982       21,318       75,461         8,310    7,743,405    1,030,355          -    8,921,165
     Depreciation charged               1,568       1,834        1,343       72,884         7,513    1,259,856       43,359     13,256    1,401,613
     Disposals                              -           -            -      (26,809)                                                        (26,809)
     End of financial year             41,902       3,816       22,661      121,536        15,823    9,003,261    1,073,714     13,256   10,295,969

     Net book value
     End of financial year              8,742     164,612        3,322      317,540        45,192    5,821,649     153,475     112,500    6,627,032




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4.   Plant and equipment (cont'd)

                                               Electrical Furniture &          Motor       Office     Plant &                  Control
                                    Computers installation  fittings          vehicles   equipment   Machinery    Renovation   system       Total
                                      USD        USD          USD               USD         USD        USD           USD        USD         USD
     COMPANY
     2012
     Cost
     Beginning of financial year       50,644     168,428       25,983         439,076      61,015   14,824,910    1,227,189    125,756   16,923,001
     Additions                         73,026      37,311       46,016          59,819      95,960   11,325,461      254,892    336,679   12,229,164
     Transfer from/(to)
       construction and project
       work-in-progress                     -   1,593,284                                  (30,921)   180,411                         -    1,742,774
     End of financial year            123,670   1,799,023       71,999         498,895     126,054 26,330,782      1,482,081    462,435   30,894,939

     Accumulated depreciation
     Beginning of financial year       41,902       3,816       22,661         121,536      15,823    9,003,261    1,073,714     13,256   10,295,969
     Depreciation charged              13,956      55,595        8,598          78,946      22,527    1,530,259       73,542     74,184    1,857,607
     End of financial year             55,858      59,411       31,259         200,482      38,350   10,533,520    1,147,256     87,440   12,153,576

     Net book value
     End of financial year             67,812   1,739,612       40,740         298,413      87,704   15,797,262      334,825    374,995   18,741,363




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4.   Plant and equipment (cont'd)

                                               Electrical Furniture &       Motor        Office      Plant &                  Control
                                    Computers installation  fittings       vehicles    equipment    Machinery    Renovation   system       Total
                                      USD        USD          USD            USD          USD         USD           USD        USD         USD
     COMPANY
     2011
     Cost
     Beginning of financial year       40,334       4,867       23,145      267,971         9,664   14,432,982    1,223,625          -   16,002,588
     Additions                         10,310     163,561        2,838      240,566        51,351      391,928        3,564    125,756      989,874
     Disposal                                                        -      (69,461)                                                 -      (69,461)
     End of financial year             50,644     168,428       25,983      439,076        61,015   14,824,910    1,227,189    125,756   16,923,001

     Accumulated depreciation
     Beginning of financial year       40,334       1,982       21,318       75,461         8,310    7,743,405    1,030,355          -    8,921,165
     Depreciation charged               1,568       1,834        1,343       72,884         7,513    1,259,856       43,359     13,256    1,401,613
     Disposals                                          -                   (26,809)                                      -          -      (26,809)
     End of financial year             41,902       3,816       22,661      121,536        15,823    9,003,261    1,073,714     13,256   10,295,969

     Net book value
     End of financial year              8,742     164,612        3,322      317,540        45,192    5,821,649     153,475     112,500    6,627,032




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5.   Construction and projects work-in-progress

                                             Electrical
                                Building    installation    Software       Machinery       Total
                                 USD           USD            USD            USD           USD
     Group and
       Company
     2012
     Cost
     Beginning of
       financial year       2,410,634                         94,300          46,853     2,551,787
     Additions             10,854,763        2,018,249       838,683          87,666    13,799,361
     Transfer to plant and
       equipment                            (1,608,255)                     (134,519)   (1,742,774)
     End of financial year 13,265,397          409,994       932,983               -    14,608,374

     2011
     Beginning of
      financial year
     Additions                 2,410,634                      94,300          46,853     2,551,787
     End of financial
      year                     2,410,634                      94,300          46,853     2,551,787

     Construction and projects work-in-progress are related to factory building and plant and
     equipment to be constructed or developed for the Company and the Group and are stated at
     costs.


6.   Intangible assets
                                                   Goodwill on
                                                  consolidation        Patent              Total
                                                      USD               USD                USD

     Group
     2012
     Cost
     Beginning of financial year                         13,005            62,860          75,865
     Additions                                                             24,996          24,996
     End of financial year                               13,005            87,856         100,861

     Accumulated amortisation
     Beginning of financial year                                            3,148            3,148
     Amortisation charged                                                   3,148            3,148
     End of financial year                                                  6,296            6,296

     Net book value
     End of financial year                               13,005            81,560           94,565




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6.   Intangible assets (cont'd)

                                                      Goodwill on
                                                     consolidation     Patent         Total
                                                         USD            USD           USD

     Group
     2011
     Cost
     Beginning of financial year
     Additions                                           13,005            62,860       75,865
     End of financial year                               13,005            62,860       75,865

     Accumulated amortisation
     Beginning of financial year
     Amortisation charged                                                   3,148        3,148
     End of financial year                                                  3,148        3,148

     Net book value
     End of financial year                               13,005            59,712      72,717

     Goodwill on consolidation arose from the acquisition of the subsidiary, Helios International
     Pte. Ltd.

                                                   Goodwill on
                                                  consolidation        Patent         Total
                                                      USD               USD           USD

     Company
     2012
     Cost
     Beginning of financial year                                           62,860      62,860
     Additions                                                             24,996      24,996
     End of financial year                                                 87,856      87,856

     Accumulated amortisation
     Beginning of financial year                                            3,148        3,148
     Amortisation charged                                                   3,148        3,148
     End of financial year                                                  6,296        6,296

     Net book value
     End of financial year                                                 81,560      81,560




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6.   Intangible assets (cont'd)

                                                         Goodwill on
                                                        consolidation           Patent           Total
                                                            USD                  USD             USD

     Company
     2011
     Cost
     Beginning of financial year
     Additions                                                                   62,860           62,860
     End of financial year                                                       62,860           62,860

     Accumulated amortisation
     Beginning of financial year
     Amortisation charged                                                         3,148            3,148
     End of financial year                                                        3,148            3,148

     Net book value
     End of financial year                                                       59,712           59,712


7.   Investment in subsidiaries

                                                                                2012             2011
                                                                                USD              USD

     The Company
     Unquoted equity shares, at cost                                                201                  1

                                                                Country of
                                                            incorporation and      Percentage of effective
      Name of Company            Principal activities       place of business     equity held by the Group
                                                                                      2012         2011


     Helios International Pte Business of assembly,                Singapore             100       100
      Ltd                      construction and sale of
                               chemical vapour
                               deposition machine

     Nozomi Technology         Stock management              United States of            100
      Inc*                                                       America

      Not required to be audited in the country of incorporation




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8.   Inventories

                                               Group                           Company
                                     2012                2011           2012             2011
                                     USD                 USD            USD              USD

     Raw materials                   177,217                            177,217
     Components and parts          2,141,934             201,431                             -
     Work-in-progress              2,401,290           1,235,854    2,401,290        1,235,854
     Finished goods                4,323,976             195,917      522,420          195,917
                                   9,044 417           1,633,202    3,100,927        1,431,771


9.   Trade and other receivables

                                               Group                           Company
                                     2012                2011           2012             2011
                                     USD                 USD            USD              USD

     Trade receivable
     - Non-related parties         1,252,809            194,345     1,252,809          194,345
     - Related parties            13,115,711         15,641,046    12,735,765       15,641,046
                                  14,368,520         15,835,391    13,988,574       15,835,391

     Other receivables                 7,273             15,722           7,273           1,941
     Amounts due from
       subsidiaries (non-trade)                                     3,698,485
     Amounts due from
      related parties (non-
      trade)                         539,123                          539,123                -
     Prepayment                       70,380             50,087        69,478           49,126
     Deposits                      5,187,790            392,669     4,523,854          392,669
     GST receivables                 723,661                          374,938                -
                                  20,896,747         16,293,869    23,201,725       16,279,127

     Amounts due from related parties and subsidiaries are unsecure, non-interest bearing and
     repayable on demand.

     As at 31 March 2011, trade receivables of the Company are pledged to a bank as securities
     for bank loan granted to the Company (Note 13).

     Subsequent to the financial year end, the Company entered into agreement between its
     holding company and a related party so as to offset the balances outstanding as at June 2012
     amounted to USD11,264,187 (Note 12).




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10.   Share capital

                                                                          Group and Company
                                                                       Number of
                                                                        ordinary
                                                                         shares       Amount
                                                                                       USD
      2012
      Beginning of financial year                                        3,500,001       17,186,323
      Issuance of shares                                                37,581,507       37,581,507
      End of financial year                                             41,081,508       54,767,830

      2011
      Beginning of financial year                                        2,500,000        1,590,128
      Issuance of shares                                                 1,000,001       15,596,195
      End of financial year                                              3,500,001       17,186,323

      All issued ordinary shares are fully paid. There is no par value for these ordinary shares.

      The holders of ordinary shares are entitled to receive dividends as and when declared by the
      Company. All ordinary shares carry one vote per share without restrictions.

      During the financial year, the Company issued 37,581,507 ordinary shares for a total
      consideration of USD37,581,507 by way of utilisation of credit balance due to holding
      company.


11.   Finance lease obligations

                                                                       Present value of minimum
                                         Minimum payments                      payments
                                        2012         2011                2012            2011
                                        USD          USD                 USD             USD

      Group and Company
      Finance lease payments
        payable
      Within one year                    79,607          62,122              67,488         62,305
      Within two to five years          220,388         298,840             197,682        253,528
      After five years                   48,449                              46,454
                                        348,444         360,962             311,624        315,833
      Interest allocated to
        future periods                  (36,820)        (45,129)
                                        311,624         315,833             311,624        315,833

      The average effective interest rate is 4.77% (2011: 4.31%) per annum. The terms of the
      finance lease obligations do not contain any restrictions on the Company's activities
      concerning dividend payments, obtaining additional borrowings or further leasing.



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12.   Trade and other payable

                                                Group                          Company
                                      2012                2011          2012             2011
                                      USD                 USD           USD              USD

      Trade payables
      - Non-related parties         6,069,435            363,284     4,389,376           153,984
      - Related parties               260,772                          251,631                 -
                                    6,330,207            363,284     4,641,007           153,984

      Other payables                3,806,889           1,795,681    3,806,665        1,795,681
      Amounts due to a
       director (non-trade)           22,514                            22,514
      Amounts due to related
       parties (non-trade)          1,965,669           5,092,679                     5,060,968
      Amounts due to holding
       company (non-trade)         4,004,187              421,386    4,004,187          421,386
      Accruals                       285,886               72,800      110,757           65,037
                                  16,415,352            7,745,830   12,585,130        7,497,056

      Amounts due from related parties, holding company and a director are unsecure, non-interest
      bearing and repayable on demand.

      Subsequent to the financial year end, the Company entered into agreement between its
      holding company and a related party so as to offset the balances outstanding as at June 2012
      amounted to USD11,264,187 (Note 9).


13.   Bank loan

      The bank loan is secured by Company's plant and equipment and trade receivables of the
      Company. The loan bears interest of 3.35% (2011: 3.25%) per annum. The bank loan had
      been fully repaid as at year end.


14.   Revenue

      This represents invoiced value of sales and services rendered during the financial year, less
      discounts, returns and Goods and Services Tax.




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15.   Other income

                                                                                   Group
                                                                          2012               2011
                                                                          USD                USD

      Exchange gain                                                         3,610
      Other income                                                          3,988              2,687
                                                                            7.598              2,687


16.   Financial expenses

                                                                                   Group
                                                                          2012               2011
                                                                          USD                USD

      Bank charges                                                        14,302              1,975
      Interest on bank overdrafts                                             54                177
      Interest on finance lease obligations                               14,064             13,434
      Interest on late payments                                              913                229
      Interest on bank loan                                              190,121            371,518
                                                                         219,454            387,333


17.   Profit before income tax

      The following items have been included in arriving at profit before income tax:-

                                                                                  Group
                                                                          2012              2011
                                                                          USD               USD

      Depreciation of plant and equipment                              1,857,607           1,401,613
      Amortisation of intangible assets                                    3,148               3,148
      Directors' remuneration and fees                                   127,826              89,098
      Inventories recognised as cost in cost of sales                  8,152,978           3,207,000
      (Gain)/loss on foreign exchange                                     (3,610)             57,667
      Rental of premises and equipment                                   661,494             263,599
      Staff cost
      - salaries, bonuses and benefits                                 2,101,364           1,064,987
      - Central Provident Fund                                           208,088              87,252




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18.   Income tax expense

                                                                                   Group
                                                                         2012               2011
                                                                         USD                USD

      Tax expense attributable to profit is made up of:-
      Current tax
      Current year                                                        13,000

      The tax expense on the results for the financial year differs from the amount of income tax
      determined by applying the Singapore Standard rate of income tax to profit before income tax
      due to the following factors:-

                                                                                  Group
                                                                         2012               2011
                                                                         USD                USD

      Profit before income tax                                         1,889,964           1,461,531

      Tax at statutory tax rate of 17%                                   321,294            248,460
      Income not subject to tax                                          (46,400)              (930)
      Tax exemption                                                      (12,892)                 -
      Expenses that are not deductible                                    57,719              6,651
      Deferred tax asset not previously recognised                      (307,506)          (253,864)
      Others                                                                 785               (317)
                                                                          13,000

      The Company was granted a 15-year Pioneer Incentive — Manufacturing with effect from 1
      April 2012 subject to the Company meeting certain terms and conditions set out in the letter of
      offer dated 4 April 2012.


19.   Significant related party transactions

      In addition to the information disclosed elsewhere in the financial statements, the following
      significant transactions took place between the Company, the holding company and related
      parties at terms agreed between the parties:

                                               Group                            Company
                                      2012                 2011          2012               2011
                                      USD                  USD           USD                USD

      Revenue
      - Sale of goods to related
        parties                    3,439,789         10,582,260       3,439,789        10,582,260




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19.   Related party transactions (cont'd)

                                                Group                           Company
                                       2012              2011            2012             2011
                                       USD               USD             USD              USD

      Expenses paid/payable
        to subsidiary company
      - Purchase of plant and
        equipment                                                    9,923,618

      Expenses paid/payable
        to related parties
      - Purchase of goods             965,106         15,336,721         965,106      4,638,770
      - Management fee                583,947                            583,947

      Expenses paid/payable
        to a company in which
        a director is an officer
      - Professional fee              131,732           176,304          121,156          120,109

      Related parties comprise companies which are controlled or significantly influenced by the
      Company's directors and their close family members.

      There were also advances to and from related parties and payments on behalf for and by
      related parties. Outstanding balances as at 31 March 2012 are set out in Notes 9 and 12 to
      the financial statements.


20.   Operating lease commitment

      The future aggregate minimum lease payments under non-cancellable operating leases (with
      lease term of more than 1 year) contracted for by the company for factory and land at the end
      of the reporting period but not recognised as liabilities, are as follows:-

                                                                         Group and Company
                                                                         2012         2011
                                                                         USD          USD

      Not later than 1 year                                            716,315            257,547
      Later than 1 year but not later than 5 years                   1,030,206            149,173
      Later than 5 years                                             3,932,117




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21.   New or revised accounting standards and interpretations

      Certain new standards, amendments and interpretations to existing standards have been
      published and are mandatory for the Company's accounting periods beginning after 1 April
      2011 or later periods and which the Company has not early adopted. The Company has
      assessed that these standards, amendments and interpretations are not relevant to the
      Company and the Group.


22.   Financial risk management

      The Company's and the Group's overall risk management strategy seeks to minimise adverse
      effects from the unpredictability of financial markets on the Company's and the Group's
      financial performance.

      The Board is responsible for setting the objectives and underlying principles of financial risk
      management for the Company and the Group.

      The Board reviews and agrees the risk management policies and systems regularly to reflect
      changes in market conditions, the Company's and the Group's financial position and the
      nature of its activities. The significant financial risks to which the Company and the Group is
      exposed are set out below:-

      Credit risk

      Credit risk refers to the risk that a counter party will default on its contractual obligations
      resulting in financial loss to the Company and the Group. The major classes of financial
      assets of the Company and the Group are bank deposits and trade and other receivables.

      (a)     Financial assets that are neither past due nor impaired

              Bank deposits that are neither past due nor impaired are mainly deposits with banks
              with high credit-ratings assigned by international credit-rating agencies.

      (b)     Financial assets that are past due and/or impaired

              There is no other class of financial assets that is past due and/or impaired except for
              trade receivables.

              At the end of the reporting period, age analysis of trade receivables past due but not
              impaired and the concentration of credit risk of trade receivables are as follows:-




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22.   Financial risk management (cont'd)

      Credit risk (cont'd)

      (b)     Financial assets that are past due and/or impaired (cont'd)

                                                 Grou •                            Company
                                       2012                 2011            2012             2011
                                       USD                  USD             USD              USD

              Past due < 3
               months                  651,460            2,974,816         651,460      2,974,816
              Past due 3 to 6
               months                2,391,977            2,200,953    2,391,977         2,200,953
              Past due over 6
               months                9,723,321          8,536,166      9,723,321         8,536,166
                                    12,766,758         13,711,935     12,766,758        13,711,935

              Top 1 customer        12,654,108         15,641,046     12,654,108         9,836,702
              Top 2 — 3
                customers            1,172,973                         1,172,973
                                    13,827,081         15,641,046     13,827,081         9,836,702

      Capital risk

      The Company's and the Group's objectives when managing capital are to safeguard to the
      Company's and the Group's ability to continue as a going concern and to maintain an optimal
      capital structure so as to maximise shareholder value. In order to maintain or achieve an
      optimal capital structure, the Company and the Group may adjust the amount of dividend
      payment, return capital to shareholders, issue new shares, buy back issued shares, obtain
      new borrowings or sell assets to reduce borrowings.

      The gearing ratio is calculated as net debt divided by total capital. Net debt is calculated as
      borrowings plus trade and other payables less cash and bank balances. Total capital is
      calculated as equity plus net debt.

                                              Group                                Company
                                       2012                2011             2012             2011
                                       USD                 USD              USD              USD

      Net debt
      Borrowings                      311,624             8,322,499      311,624         8,322,499
      Trade and other payables     16,415,352             7,745,830   12,585,130         7,497,056
      Less: Cash and bank
        balances                   (4,077,244)            (26,810)    (3,629,473)          (19,504)
                                   12,649,732          16,041,519      9,267,281        15,800,051




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22.   Financial risk management (cont'd)

      Capital risk (cont'd)

                                                  Group                              Company
                                        2012               2011               2012             2011
                                        USD                USD                USD              USD

      Total equity
      Share capital                  54,767,830         17,186,323        54,767,830      17,186,323
      Reserves                       (4,172,271)        (6,049,235)       (4,300,961)     (6,036,944)
                                     50,595,559         11,137,088        50,466,869      11,149,379

      Total capital                  63,245,291         27,178,607        59,734,150      26,949,430

      Gearing ratio                        20%                59%               16%               59%

      The Company and the Group is not subject to external capital and gearing requirements for
      the financial years ended 31 March 2012 and 2011.

      Liquidity risk

      Liquidity risk is the risk that the Company and the Group will encounter difficulty in meeting
      financial obligations due to shortage of funds. The Company's and the Group's exposure to
      liquidity risk arises primarily from mismatches of the maturities of financial assets and
      liabilities. The Company and the Group monitors its liquidity risk and maintains a level of cash
      and bank balances deemed adequate by management to finance the Company's and the
      Group's operations and to mitigate the effects of fluctuations in cash flows.

      The following are the contractual maturities of financial liabilities, including estimated interest
      payments and excluding the impact of netting agreements.

                                                             Group
                                   Carrying    Contractual One year or One to five          Over five
                                   amount      cash flows     less       years               years
                                    USD           USD         USD        USD                  USD
      2012
      Non-derivative
       financial liabilities
      Finance lease
        obligations                  311,624       348,444           79,607     220,388        48,449
      Trade and other
        payables                 16,415,532    16,415,532     16,415,532
                                 16,727,156    16,763,976     16,495,139        220,388        48,449




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22.   Financial risk management (cont'd)

      Liquidity risk (cont'd)

                                                          Group
                                   Carrying Contractual One year or One to five Over five
                                   amount cash flows       less       years       years
                                    USD        USD         USD        USD         USD
      2011
      Non-derivative
        financial liabilities
      Finance lease
        obligations                  315,833      360,962       62,122    298,840
      Trade and other
        payables                   7,745,830 7,745,830 7,745,830
      Bank loan                    8,006,666  8,196,787  8,196,787
                                  16,068,329 16,303,579 16,004,739 298,840


                                                         Company
                                   Carrying Contractual One year or One to five Over five
                                   amount cash flows       less       years       years
                                    USD        USD         USD        USD         USD
      2012
      Non-derivative
        financial liabilities
      Finance lease
        obligations                  311,624     348,444        79,607    220,388   48,449
      Trade and other
        payables                  12,585,130   12,585,130   12,585,130
                                  12,896,754   12,933,574   12,664,737    220,388   48,449

      2011
      Non-derivative
        financial liabilities
      Finance lease
        obligations                  315,833     360,962       62,122     298,840
      Trade and other
        payables                   7,497,056    7,497,056    7,497,056
      Bank loan                    8,006,666    8,196,787    8,196,787
                                  15,819,555   16,054,805   15,755,965    298,840




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                              THE GEMESIS COMPANY (S) PTE. LTD.
                                    AND ITS SUBSIDIARIES
                               Company Registration No. 200516961K
                                   (Incorporated in Singapore)


                            NOTES TO THE FINANCIAL STATEMENTS
                             for the financial year ended 31 March 2012



22.   Financial risk management (cont'd)

      Foreign currency risk

      The Company and the Group are exposed to foreign currency risk on sales and purchases
      that are denominated in a currency other than its functional currency. The currencies giving
      rise to this risk are primarily Singapore dollar.

      The Company and the Group do not have a hedging policy on its foreign currency exposure.

      The Company's and the Group's exposure to foreign currency are as follows:

                                                                          2012           2011
                                                                          USD            USD

      Group
      Trade and other receivables                                     5,889,154          603,913
      Cash and cash equivalents                                         597,642           21,376
      Finance lease obligations                                        (311,624)        (315,833)
      Trade and other payables                                       (5,510,144)      (2,211,213)
                                                                        665,028       (1,901,757)

      Company
      Trade and other receivables                                    4,936,343           589,171
      Cash and cash equivalents                                        427,105            15,106
      Finance lease obligations                                       (311,624)         (315,833)
      Trade and other payables                                      (4,238,224)       (1,994,150)
                                                                       813,600        (1,705,706)

      Sensitivity analysis for foreign currency risk

      A 10% strengthening of US dollar against the following currencies at the reporting date would
      increase/ (decrease) equity and profit or loss by the amounts shown below. This analysis
      assumes that all other variables, in particular interest rates, remain constant.

                                                                                       Profit or
                                                                      Equity             loss
                                                                       USD               USD

      Group
      2012
      SGD                                                                 55,197          55,197

      2011
      SGD                                                              (157,846)        (157,846)




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                            NOTES TO THE FINANCIAL STATEMENTS
                             for the financial year ended 31 March 2012



22.   Financial risk management (cont'd)

      Sensitivity analysis for foreign currency risk (cont'd)

                                                                                         Profit or
                                                                         Equity            loss
                                                                          USD              USD

      Company
      2012
      SGD                                                                  67,529            67,529

      2011
      SGD                                                                 (141,574)        (141,574

      A 10% weakening of US dollar against the above currencies would have had the equal but
      opposite effect on the above currencies to the amounts shown above, on the basis that all
      other variables remain constant.


23.   Capital commitment

      As at the end of the year, commitments for capital expenditure not provided for in the financial
      statement are as follows:

                                                                          2012             2011
                                                                          USD              USD

      Expenditure approved and contracted for in respect of
       construction works and other projects                           3,266,598        15,563,288

      Expenditure approved in respect of construction works and
       other projects                                                  9,176,025




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                             THE GEMESIS COMPANY (S) PTE. LTD.
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                           NOTES TO THE FINANCIAL STATEMENTS
                            for the financial year ended 31 March 2012



24.   Comparative figures

      Construction and work-in-progress relating to the building and construction of the Company's
      factory has been reclassified from current assets to non-current assets so as to more
      appropriately reflect the nature of this class of asset.

      The effect of the reclassification in the consolidated financial statements for the financial year
      2011 are as follows:-

                                                                          Group           Company
                                                                           USD              USD

      2011
      Balance Sheet
      Non-current assets
      Construction and projects work-in-progress increase by            2,551,787          2,551,787

      Current assets
      Construction and projects work-in-progress decrease by            (2,551,787)       (2,551,787)


25.   Authorisation of financial statements

      These financial statements were authorised for issue in accordance with a resolution of the
      Board of Directors of The Gemesis Company (S) Pte. Ltd. on 3 September 2012.




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             (FORMERLY KNOWN AS THE GEMESIS COMPANY (S) PTE. LTD.)
                             AND ITS SUBSIDIARIES
                        Company Registration No. 200516961K
                            (Incorporated in Singapore)


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                                  AND ITS SUBSIDIARIES
                            Company Registration No. 200516961K
                                 (Incorporated in Singapore)


                                         DIRECTORS' REPORT



 The directors present their report to the members together with the audited consolidated financial
 statements of IIA Technologies Pte. Ltd. (formerly known as The Gemesis Company (S) Pte. Ltd.)
 (the "Company") and its subsidiaries (collectively, the "Group") for the financial year ended 31 March
 2013, and the balance sheet of the Company as at 31 March 2013.


 Directors

 The directors of the Company in office at the date of this report are as follows:

 Vishal Jatin Mehta
 Sonia Jatin Mehta
 Tan Teck Nguan Michael
 Girija Prasad Pande                             (appointed on 1 April 2012)
 Misra Devi Shenker                              (appointed on 31 January 2013)
 Mehta Suraj Jatin                               (appointed on 31 January 2013)


 Arrangements to enable directors to acquire shares and debentures

 Neither at the end of nor at any time during the financial year was the Company a party to any
 arrangement whose object was to enable the directors of the Company to acquire benefits by means
 of the acquisition of shares in, or debentures of, the Company or any other body corporate.


 Directors' interests in shares and debentures

 The interest of the directors who held office at the end of the financial year in the shares and
 debentures of the Company and related corporation were as follows:

                                            Holdings registered in           Holdings in which a director
                                          name of director or nominee       is deemed to have an interest

                                              At              At                 At              At
                                          31.03.2013      01.04.2012         31.03.2013      01.04.2012
                                           (No. of Ordinary shares)           (No. of Ordinary shares)
 Holding Company
 JRD International Ltd

 Sonia Jatin Mehta                                               5,000

 Company
 IIA Technologies Pte. Ltd.

 Sonia Jatin Mehta                         1,000,000        1,000,000       57,081,508      40,081,508




                                                     1
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                              IIA TECHNOLOGIES PTE. LTD.
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                                  AND ITS SUBSIDIARIES
                            Company Registration No. 200516961K
                                 (Incorporated in Singapore)


                                       DIRECTORS' REPORT



 Directors' contractual benefits

 Since the end of the previous financial year, no director has received or become entitled to receive a
 benefit by reason of a contract made by the Company or a related corporation with the director or with
 a firm of which he is a member or with a company in which he has a substantial financial interest,
 except as disclosed in the accompanying financial statements and in this report.


 Share options

 (a) Options to take up unissued shares

      During the financial year, no option to take up unissued shares of the Company or its
      subsidiaries was granted.

 (b) Unissued shares under option and options exercised

      During the financial year, there were no shares of the Company or its subsidiaries issued by
      virtue of the exercise of an option to take up unissued shares.

      At the end of the financial year, there were no unissued shares under option.


 Independent auditor

 The independent auditor, AT ADLER, Public Accountants and Chartered Accountants, has expressed
 willingness to accept re-appointment.



 On behalf of the Board of Directors




                 -




 Vishat •tin Mehta                                             Tan Te' k Nguan Michael
 Director                                                      Direc


 Dated: 31 July 2013




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                 (FORMERLY KNOWN AS THE GEMESIS COMPANY (S) PTE. LTD.)
                                  AND ITS SUBSIDIARIES
                            Company Registration No. 200516961K
                                 (Incorporated in Singapore)


                                       STATEMENT BY DIRECTORS



 In the opinion of the directors,

 (a)     the financial statements of the Company and the consolidated financial statements of the
         Group are drawn up so as to give a true and fair view of the state of affairs of the Company
         and of the Group as at 31 March 2013 and of the results of the business, changes in equity
         and cash flows of the Group for the financial year then ended on that date in accordance with
         the provision of the Singapore Companies Act, Chapter 50 and Singapore Financial Reporting
         Standards; and

 (b)     at the date of this statement, there are reasonable grounds to believe that the Company will
         be able to pay its debts as and when they fall due.




 On behalf of the Board of Directors




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                                                                         ‘11111Mitare...-_.
 Vishal J4t n Mehta                                           Tan Tec      guan Mt tiael
 Director/                                                    Director


 Dated: 31 July 2013




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   INDEPENDENT AUDITOR'S REPORT TO THE MEMBERS OF
   IIA TECHNOLOGIES PTE. LTD.
   (FORMERLY KNOWN AS THE GEMESIS COMPANY (S) PTE. LTD.)
                                                                                                            ATADLEH  Chartered Accountants


   for the financial year ended 31 March 2013
   Company Registration No. 200516961K
   (Incorporated in Singapore)



   Report on the Financial Statements

   We have audited the accompanying financial statements of IIA Technologies Pte. Ltd. (formerly
   known as The Gemesis Company (S) Pte. Ltd.) (the "Company") and its subsidiaries (collectively, the
   'Group"), which comprise the balance sheets of the Company and of the Group as at 31 March 2013,
   and the consolidated statement of comprehensive income, consolidated statement of changes in
   equity and the consolidated statement of cash flow of the Group for the financial year then ended, and
   a summary of significant accounting policies and other explanatory notes.


   Management's Responsibility for the Financial Statements

   Management is responsible for the preparation of financial statements that give a true and fair view in
   accordance with the provisions of the Singapore Companies Act, Chapter 50 (the "Act") and
   Singapore Financial Reporting Standards, and for devising and maintaining a system of internal
   accounting controls sufficient to provide a reasonable assurance that assets are safeguarded against
   loss from unauthorised use or disposition; and transactions are properly authorised and that they are
   recorded as necessary to permit the preparation of true and fair profit and loss accounts and balance
   sheets and to maintain accountability of assets.


   Auditor's Responsibility

   Our responsibility is to express an opinion on these financial statements based on our audit. We
   conducted our audit in accordance with Singapore Standards on Auditing. Those Standards require
   that we comply with ethical requirements and plan and perform the audit to obtain reasonable
   assurance about whether the financial statements are free from material misstatement.

   An audit involves performing procedures to obtain audit evidence about the amounts and disclosures
   in the financial statements. The procedures selected depend on the auditor's judgement, including the
   assessment of the risks of material misstatement of the financial statements, whether due to fraud or
   error. In making those risk assessments, the auditor considers internal control relevant to the entity's
   preparation of the financial statements that give a true and fair view in order to design audit
   procedures that are appropriate in the circumstances, but not for the purpose of expressing an
   opinion on the effectiveness of the entity's internal control. An audit also includes evaluating the
   appropriateness of accounting policies used and the reasonableness of accounting estimates made
   by management, as well as evaluating the overall presentation of the financial statements.

    We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis
    for our audit opinion.




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AT ADLER 1146 Robinson Road, #09-01, Singapore 068909 I tel. '65.6438 6867 I fax. '65.6438 4806 I email. admin@atadler.com I web.www.atadler.com
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   INDEPENDENT AUDITOR'S REPORT TO THE MEMBERS OF
   IIA TECHNOLOGIES PTE. LTD.
   (FORMERLY KNOWN AS THE GEMESIS COMPANY (5) PTE. LTD.)
                                                                                                            ATADLEI-iCharterad Accountants


   for the financial year ended 31 March 2013
   Company Registration No. 200516961K
   (Incorporated in Singapore)



   Opinion

   In our opinion, the consolidated financial statements of the Group and the balance sheet of the
   Company, are properly drawn up in accordance with the provisions of the Act and Singapore
   Financial Reporting Standards so as to give a true and fair view of the state of affairs of the Group
   and of the Company as at 31 March 2013, and the results, changes in equity and cash flows of the
   Group for the financial year ended on that date.


   Report on Other Legal and Regulatory Requirements

   In our opinion, the accounting and other records required by the Act to be kept by the Company and
   by the subsidiary incorporated in Singapore of which we are the auditors have been properly kept in
   accordance with the provisions of the Act.




        Prr
   AT ADLER
   Public Accountants and Chartered Accountants

   Singapore, 31 July 2013




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AT ADLER k 146 Robinson Road, #09-01, Singapore 068909 I tel..65.6438 6867 I fax. +65.6438 4806 I email. admia@atadler.com I web.www.atadler.com
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                     (FORMERLY KNOWN AS THE GEMESIS COMPANY (S) PTE. LTD.)
                                      AND ITS SUBSIDIARIES
                                Company Registration No. 200516961K
                                     (Incorporated in Singapore)


                                              BALANCE SHEET
                                             as at 31 March 2013



                                                    The Group                          The Company
                                             2013               2012               2013          2012
                                Note         USD                USD                USD           USD

 ASSETS
 Non-current assets
 Property,ptant and
   equipment                      4       64,711,704         18,614,188          65,060,740         18,741,363
 Construction and projects
   work-in-progress               5         1,438,128        14,608,374           1,438,128         14,608,374
 Intangible assets                6           142,560            94,565             129,555             81,560
 Investment in subsidiaries       7                                   -              50,201                201
                                          66,292,392         33,317,127          66,678,624         33,431,498

 Current assets
 Inventories                      8         8,169,395          9,044,417          4,817,686          3,100,927
 Trade and other
   receivables                    9       27,723,165          20,896,747         31,393,272         23,201,725
 Cash and bank balances                    1,321,490           4,077,244            952,445          3,629,473
                                          37,214,050          34,018,408         37,163,403         29,932,125

 TOTAL ASSETS                            103,506,442          67,335,535       103,842,027          63,363,623

 EQUITY AND
  LIABILITIES
 Equity attributable to
   equity holders of the
  Company
 Share capital                    10       71,767,830         54,767,830         71,767,830          54,767,830
 Accumulated losses                        (2,609,121)        (4,172,271)        (1,264,386)         (4,300,961)
 Total equity                              69,158,709         50,595,559         70,503,444          50,466,869

 Non-current liabilities
 Finance lease obligations        11        7,675,914            244,136          7,675,914             244,136
 Bank loan                        12        6,093,132                  -          6,093,132                   -
                                           13,769,046            244,136         13,769,046             244,136

 Current liabilities
 Trade and other payables         13       19,577,228         16,415,352         18,607,938          12,585,130
 Finance lease obligations        11          603,794             67,488            603,794              67,488
 Bank loan                        12          357,805                  -            357,805                   -
 Income tax liabilities                        39,860             13,000                                      -
                                           20,578,687         16,495,840         19,569,537          12,652,618

 Total liabilities                         34,347,733         16,739,976         33,338,583          12,896,754

 TOTAL EQUITY AND
  LIABILITIES                            103,506,442          67,335,535        103,842,027          63,363,623


   The annexed notes form an integral part of and should be read in conjunction with these financial statements.

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                 (FORMERLY KNOWN AS THE GEMESIS COMPANY (S) PTE. LTD.)
                                 AND ITS SUBSIDIARIES
                            Company Registration No. 200516961K
                                (Incorporated in Singapore)


                              STATEMENT OF COMPREHENSIVE INCOME
                                for the financial year ended 31 March 2013



                                                                                          The Group
                                                                                   2013               2012
                                                                      Note         USD                USD

 Continuing operations

 Revenue                                                               14       42,223,496         20,860,110
 Cost of sales                                                                 (36,727,927)       (16,528,314)
                                                                                 5,495,569          4,331,796

 Other income                                                           15          81,797               7,598
                                                                                 5,577,366           4,339,394

 Administrative expenses                                                         (2,620,300)        (1,704,960)
 Distribution and selling expenses                                                 (458,080)          (336,774)
 Financial expenses                                                     16         (304,370)          (219,454)
 Other expenses                                                                    (604,606)          (188,242)

 Profit before income tax                                               17       1,590,010           1,889,964

 Income tax expense                                                     18          (26,860)           (13,000)

 Total profit after income tax                                                    1,563,150          1,876,964

 Other comprehensive income

 Total comprehensive income                                                       1,563,150          1,876,964




   The annexed notes form an integral part of and should be read in conjunction with these financial statements.

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                      (FORMERLY KNOWN AS THE GEMESIS COMPANY (S) PTE. LTD.)
                                       AND ITS SUBSIDIARIES
                                 Company Registration No. 200516961K
                                      (Incorporated in Singapore)


                                      STATEMENT OF CHANGES IN EQUITY
                                     for the financial year ended 31 March 2013



                                                                     Share          Accumulated          Total
                                                                     capital           losses            equity
                                                                      USD               USD               USD

      2013
      Beginning of financial year                                   54,767,830        (4,172,271)       50,595,559

      Issuance of share capital (Note 10)                           17,000,000                          17,000,000

      Total comprehensive income for the year                                   -      1,563,150         1,563,150

      End of financial year                                         71,767,830         (2,609,121)      69,158,709


      2012
      Beginning of financial year                                   17,186,323         (6,049,235)      11,137,088

      Issuance of share capital (Note 10)                           37,581,507                    -     37,581,507

      Total comprehensive income for the year                                           1,876,964        1,876,964

      End of financial year                                         54,767,830         (4,172,271)      50,595,559




        The annexed notes form an integral part of and should be read in conjunction with these financial statements.

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                                   IIA TECHNOLOGIES PTE. LTD.
                      (FORMERLY KNOWN AS THE GEMESIS COMPANY (S) PTE. LTD.)
                                       AND ITS SUBSIDIARIES
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                                           STATEMENT OF CASH FLOW
                                     for the financial year ended 31 March 2013



                                                                                             The Group
                                                                                      2013               2012
                                                                                      USD                USD

      Cash flows from operating activities
      Profit before income tax                                                       1,590,010          1,889,964
      Adjustments for:
      - Depreciation of property, plant and equipment                               6,186,007           1,857,607
      - Amortisation of intangible assets                                               3,148               3,148
      - Inventories written down to net realisable value                            2,659,016
      - Interest expenses                                                             267,482             205,152
      - Interest income                                                                   (75)
      Operating cash flow before working capital changes                           10,705,588           3,955,871

      Changes in working capital:
      - Inventories                                                                 (1,783,994)        (7,411,215)
      - Trade and other receivables                                                 (6,793,870)        (4,063,755)
      - Trade and other payables                                                     1,917,651          8,213,731
      Cash generated from operations                                                 4,045,375            694,632
      Income tax paid
      Net cash flows generated from operating activities                             4,045,375            694,632

      Cash flows from investing activities
      Acquisition of property, plant and equipment                                  (9,654,731)       (12,044,579)
      Payment of construction and project work-in-progress                         (17,462,101)       (13,799,361)
      Acquisition of intangible assets                                                 (51,143)           (24,996)
      Interest received                                                                     75
      Net cash flows used in investing activities                                  (27,167,900)       (25,868,936)

      Cash flows from financing activities
      Amount due to holding company                                                 18,065,204         41,164,308
      Amount due from directors                                                        (55,062)
      Amount due to/(from) related parties                                             201,535         (3,666,133)
      Interest paid                                                                   (267,482)          (205,152)
      Proceeds from/(repayment of) bank loans                                        6,450,937         (8,006,666)
      Repayment of finance lease obligations                                        (4,028,361)           (61,619)
      Net cash flows generated from financing activities                            20,366,771         29,224,738

      Net (decrease)/increase in cash and bank balances                             (2,755,754)         4,050,434
      Cash and bank balances at beginning of financial year                          4,077,244             26,810
      Cash and bank balances at end of financial year                                1,321,490          4,077,244




       The annexed notes form an integral part of and should be read in conjunction with these financial statements.

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                (FORMERLY KNOWN AS THE GEMESIS COMPANY (S) PTE. LTD.)
                                 AND ITS SUBSIDIARIES
                           Company Registration No. 200516961K
                                (Incorporated in Singapore)


                            NOTES TO THE FINANCIAL STATEMENTS
                             for the financial year ended 31 March 2013



 These notes form an integral part of and should be read in conjunction with the accompanying
 financial statements.


 1.     General information

       IIA Technologies Pte. Ltd. (the "Company") is incorporated and domiciled in Singapore. The
       address of its registered office and principal place of business is at 65 Chulia Street #38-02/3
       OCBC Centre, Singapore 049513 and 2 Woodlands Sector 1 #03-14 Woodlands Spectrum,
       Singapore 738068 respectively.

        The principal activities of the Company are growing of diamonds. The principal activities of its
        subsidiaries are set up in Note 7 to the financial statements. There have been no significant
        changes in such activities during the financial year.

       On 14 November 2012, the Company changed its name from The Gemesis Company (S) Pte.
       Ltd. to 11A Technologies Pte. Ltd.

        The Company is a subsidiary of JRD International Limited, a company incorporated in the
        Bahamas Island, which is also its ultimate holding company.

        The consolidated financial statements relate to the Company and its subsidiaries.


 2.     Significant accounting policies

 2.1    Basis of preparation

        The consolidated financial statements of the Company and the Group have been prepared in
        accordance with Singapore Financial Reporting Standards ("FRS"). The consolidated
        financial statements have been prepared under the historical cost convention, except as
        otherwise disclosed in the accounting policies stated below.

        The preparation of financial statements in conformity with FRS requires management to make
        judgements, estimates and assumptions that affect the application of accounting policies and
        the reported amounts of assets, liabilities, income and expenses. Actual results may differ
        from these estimates. The areas involving a higher degree of judgement or complexity, or
        areas where assumptions and estimates are significant to the financial statements, are
        disclosed in Note 3.

 2.2    Adoption of new and revised standards

        In the current financial year, the Company has adopted all the new or revised FRS and
        Interpretations to FRS ("INT FRS") that are relevant to its operations and effective for annual
        periods beginning on 1 April 2012. Changes to the Company's accounting policies have been
        made as required, in accordance with the relevant transitional provisions in the respective
        FRS and INT FRS.



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                           IIA TECHNOLOGIES PTE. LTD.
              (FORMERLY KNOWN AS THE GEMESIS COMPANY (S) PTE. LTD.)
                               AND ITS SUBSIDIARIES
                         Company Registration No. 200516961K
                              (Incorporated in Singapore)


                          NOTES TO THE FINANCIAL STATEMENTS
                           for the financial year ended 31 March 2013



 2.    Significant accounting policies (cont'd)

 2.2   Adoption of new and revised standards (cont'd)

       The adoption of these new or amended FRS and INT FRS did not result in substantial
       changes to the Company's accounting policies and had no material effect on the amounts
       reported for the current or prior financial years.

 2.3   Group accounting

       (a)    Basis of consolidation

              Subsidiaries are entities (including special purpose entities) over which the Group has
              power to govern the financial and operating policies so as to obtain benefits from its
              activities, generally accompanied by a shareholding giving rise to a majority of the
              voting rights. The existence and effect of potential voting rights that are currently
              exercisable or convertible are considered when assessing whether the Group controls
              another entity. Subsidiaries are consolidated from the date on which control is
              transferred to the Group. They are deconsolidated from the date on which control
              ceases. In preparing the consolidated financial statements, transactions, balances
              and unrealised gains on transactions between group entities are eliminated.
              Unrealised losses are also eliminated but are considered an impairment indicator of
              the assets transferred. Accounting policies of subsidiaries have been changed where
              necessary to ensure consistency with the policies adopted by the Group.

       (b)    Acquisition of businesses

              The acquisition method of accounting is used to account for business combinations by
              the Group.

              The consideration transferred for the acquisition of a subsidiary comprises the fair
              value of the assets transferred, the liabilities incurred and the equity interests issued
              by the Group. The consideration transferred also includes the fair value of any
              contingent consideration arrangement and the fair value of any pre-existing equity
              interest in the subsidiary.

              Acquisition-related costs are expenses as incurred.

              Identifiable assets acquired and liabilities and contingent liabilities assumed in a
              business combination are, with limited exceptions, measured initially at their fair
              values at the acquisition date.

              The excess of the consideration transferred, the amount of any non-controlling interest
              in the acquire and acquisition-date fair value of any previous equity interest in the
              acquiree over the fair value of the net- identifiable assets acquired is recorded as
              goodwill.




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 2.    Significant accounting policies (cont'd)

 2.4   Currency translation

       (a)    Functional and presentation currency

              Items included in the financial statements of the Company and the Group are
              measured using the currency of the primary economic environment in which the
              Company and the Group operates ("functional currency"). The financial statements
              are presented in United States Dollar, which is the functional currency of the Company
              and the Group.

       (b)    Transactions and balances

              Transactions in a currency other than the functional currency ("foreign currency") are
              translated into the functional currency using the exchange rates at the dates of the
              transaction. Currency translation differences resulting from the settlement of such
              transactions and from the translation of monetary assets and liabilities denominated in
              foreign currencies at the closing rates at the balance sheet date are recognised in the
              profit or loss.

              Non-monetary items measured at fair value in a foreign currency are translated using
              the exchange rates at the date when the fair value was determined.

 2.5   Revenue recognition

       Revenue is recognised to the extent that it is probable that the economic benefits will flow to
       the Group and the revenue can be reliably measured.

       Revenue from sales of goods is recognised when the significant risks and rewards of
       ownership have been transferred to the buyer, recovery of the consideration is probable, the
       associated costs and possible return of goods can be estimated reliably, there is no
       continuing management involvement with the goods, and the amount of revenue can be
       measured reliably.

 2.6   Intangible assets

       Intangible assets acquired separately are measured initially at cost. The cost of intangible
       assets acquired in a business combination is their fair value as at the date of acquisition.
       Subsequent to the initial acquisition, intangible assets are measured at cost less any
       accumulated amortisation and accumulated impairment losses.

       Intangible assets with finite useful lives are amortised over the estimated useful lives and
       assessed for impairment whenever there is an indication that the intangible asset may be
       impaired. The amortisation period and the amortisation method are reviewed at least at the
       end of each reporting period.




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 2.    Significant accounting policies (cont'd)

 2.6   Intangible assets (cont'd)

       Intangible assets with indefinite useful lives or not yet available for use are tested for
       impairment annually or more frequently if the events and circumstances indicate that the
       carrying value may be impaired either individually or at the cash-generating unit level. Such
       intangible assets are not amortised. The useful life of an intangible asset with an indefinite
       useful life is reviewed annually to determine whether the useful life assessment continues to
       be supportable.

 2.7   Inventories

       Inventories are valued at lower of cost and net realisable value. Cost is being determined on
       the first-in first-out basis and includes all costs in bringing the inventories to their present
       location and condition. In the case of manufactured inventories and work-in-progress, cost
       includes an appropriate share of production overheads based on normal operating capacity.
       Net realisable value is the price at which the inventories can be realised in the normal course
       of business after allowing for the cost of realisation. Provision is made, where necessary, for
       all obsolete and slow moving items.

 2.8   Property, plant and equipment

       Property, plant and equipment are stated at cost less accumulated depreciation and
       accumulated impairment loss. The cost of property, plant and equipment includes
       expenditure that is directly attributable to the acquisition of the items. Dismantlement,
       removal or restoration costs are included as part of the cost of property, plant and equipment
       if the obligation for dismantlement, removal or restoration is incurred as a consequence of
       acquiring or using the items.

       Depreciation is calculated on the straight-line method to allocate the depreciable amount over
       their estimated useful lives as follows:-

                                                        Years
       Leasehold building                                  30
       Computers & office equipment                      3—5
       Furniture & fittings                                 3
       Motor vehicle                                        6
       Plant and machinery                              3 —10
       Renovation                                       3 —10




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 2.    Significant accounting policies (cont'd)

 2.8   Property, plant and equipment (cont'd)

       The residual values and useful lives of property, plant and equipment are reviewed and
       adjusted as appropriate at the end of each reporting period. On disposal of an item of
       property, plant and equipment, the difference between the net disposal proceeds and its
       carrying amount is taken to the statement of comprehensive income. Fully depreciated items
       are retained in the financial statements until they are no longer in use and no further charge
       for the depreciation is made in respect of these items.

 2.9   Construction and projects work-in-progress

       Construction and projects work-in-progress relates to the construction of the factory building
       and plant and equipment for the Company and the Group and are stated at cost.

 2.10 Related party

       A related party is an entity or person that directly or indirectly through one or more
       intermediaries controls, is controlled by, or is under common or joint control with, the entity in
       governing the financial and operating policies, or that has an interest in the entity that gives it
       significant influence over the entity in financial and operating decisions, it also includes
       members of the key management personnel or close members of family of any individual
       referred to herein and others who have the ability to control, jointly control or significantly
       influence by or for which significant voting power in such entity resides with, directly or
       indirectly, any such individual. This includes parents, subsidiaries, fellow subsidiaries,
       associates, joint ventures and post-employment benefit plans, if any.

 2.11 Impairment of non-financial assets

       The Company and the Group assesses at each reporting date whether there is an indication
       that an asset may be impaired. If any such indication exists, or when annual impairment
       assessment for an asset is required, the Company and the Group makes an estimate of the
       asset's recoverable amount.

       An asset's recoverable amount is the higher of an asset's or cash-generating unit's fair value
       less costs to sell and its value in use and is determined for an individual asset, unless the
       asset does not generate cash inflows that are largely independent of those from other assets
       or group of assets. Where the carrying amount of an asset or cash-generating unit exceeds
       its recoverable amount, the asset is considered impaired and is written down to its
       recoverable amount. In assessing value in use, the estimated future cash flows expected to
       be generated by the asset are discounted to their present value using a pre-tax discount rate
       that reflects current market assessments of the time value of money and the risks specific to
       the asset.




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 2.     Significant accounting policies (cont'd)

 2.11   Impairment of non-financial assets (cont'd)

        Impairment losses are recognised in the profit or loss, except for assets that are previously
        revalued where the revaluation was taken to other comprehensive income. In this case the
        impairment is also recognised in other comprehensive income up to the amount of any
        previous revaluation.

        For assets excluding goodwill, an assessment is made at each reporting date as to whether
        there is any indication that previously recognised impairment losses may no longer exist or
        may have decreased. If such indication exists, the Company and the Group estimates the
        asset's or cash-generating unit's recoverable amount. A previously recognised impairment
        loss is reversed only if there has been a change in the estimates used to determine the
        asset's recoverable amount since the last impairment loss was recognised. If that is the case,
        the carrying amount of the asset is increased to its recoverable amount. That increase cannot
        exceed the carrying amount that would have been determined, net of depreciation, had no
        impairment loss be recognised previously. Such reversal is recognised in the profit or loss
        unless the asset is measured at revalued amount, in which case the reversal is treated as a
        revaluation increase.

 2.12 Financial instruments

        (a)    Non-derivative financial assets

               The Company and the Group initially recognises loans and receivables and deposits
               on the date that they are originated. All other financial assets (including assets
               designated at fair value through profit or foss) are recognised initially on the trade date
               at which the Company and the Group becomes a party to the contractual provisions of
               the instrument.

               The Company and the Group derecognises a financial asset when the contractual
               rights to the cash flows from the asset expire, or it transfers the rights to receive the
               contractual cash flows on the financial asset in a transaction in which substantially all
               the risks and rewards of ownership of the financial asset are transferred. Any interest
               in transferred financial assets that is created or retained by the Company and the
               Group is recognised as a separate asset or liability.

                Financial assets and liabilities are offset and the net amount presented in the balance
                sheet when, and only when, the Company and the Group has a legal right to offset the
                amounts and intends either to settle on a net basis or to realise the asset and settle
                the liability simultaneously.

               The Company and the Group classifies its non-derivative financial assets into the
               following category: loan and receivables.




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 2.     Significant accounting policies (cont'd)

 2.12   Financial instruments (cont'd)

        (a)    Non-derivative financial assets (cont'd)

               Loans and receivables
               Loans and receivables are financial assets with fixed or determinable payments that
               are not quoted in an active market. Such assets are recognised initially at fair value
               plus any directly attributable transaction costs, Subsequent to initial recognition, loans
               and receivables are measured at amortised costs using the effective interest method,
               less any impairment losses.

               Loans and receivables comprise cash and bank balances, and trade and other
               receivables.

        (b)    Non-derivative financial liabilities

               The Company and the Group initially recognises debt securities issued and
               subordinated liabilities on the date that they are originated. All other financial liabilities
               (including liabilities designated at fair value through profit or loss) are recognised
               initially on the trade date, which is the date that the Company and the Group becomes
               a party to the contractual provisions of the instrument.

               The Company and the Group derecognises a financial liability when its contractual
               obligations are discharged, cancelled or expired.

               Financial assets and liabilities are offset and the net amount presented in the balance
               sheet when, and only when the Company and the Group has a legal right to offset the
               amounts and intends either to settle on a net basis or to realise the asset and settle
               the liability simultaneously.

               Non-derivative financial liabilities are recognised initially at fair value plus any directly
               attributable transaction costs. Subsequent to initial recognition, these financial
               liabilities are measured at amortised cost using the effective interest method.

               The Company and the Group has the following non-derivative financial liabilities: trade
               and other payables.

        (c)    Share capital

               Ordinary shares
               Ordinary shares are classified as equity. Incremental costs directly attributable to the
               issue of ordinary shares are recognised as a deduction from equity, net of any tax
               effects.




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 2.     Significant accounting policies (cont'd)

 2.13 Impairment of non-derivative financial assets

        A financial asset not carried at fair value through profit or loss is assessed at each reporting
        date to determine whether there is objective evidence that it is impaired. A financial asset is
        impaired if objective evidence indicates that a loss event has occurred after the initial
        recognition of the asset, and that the loss event has a negative effect on the estimated future
        cash flows of that asset that can be estimated reliably.

        Objective evidence that financial assets (including equity securities) are impaired can include
        default or delinquency by a debtor, restructuring of an amount due to the Company and the
        Group on terms that the Company and the Group would not consider otherwise, indications
        that a debtor or issuer will enter bankruptcy, adverse changes in the payment status of
        borrowers or issuers in the Company and the Group, economic conditions that correlate with
        defaults or the disappearance of an active market for a security. In addition, for an investment
        in an equity security, a significant or prolonged decline in its fair value below its cost is
        objective evidence of impairment.

        Loans and receivables
        The Company and the Group considers evidence of impairment for loans and receivables at
        both a specific asset and collective level. All individually significant loans and receivables are
        assessed for specific impairment. All individually significant loans and receivables found not
        to be specifically impaired are then collectively assessed for any impairment that has been
        incurred but not yet identified. Loans and receivables that are not individually significant are
        collectively assessed for impairment by grouping together loans and receivables with similar
        risk characteristics.

        In assessing collective impairment, the Company and the Group uses historical trends of the
        probability of default, timing of recoveries and the amount of loss incurred, adjusted for
        management's judgement as to whether current economic and credit conditions are such that
        the actual losses are likely to be greater or less than suggested by historical trends.

        An impairment loss in respect of a financial asset measured at amortised cost is calculated as
        the difference between its carrying amount and the present value of the estimated future cash
        flows, discounted at the asset's original effective interest rate. Losses are recognised in profit
        or loss and reflected in an allowance account against loans and receivables. Interest on the
        impaired asset continues to be recognised. When a subsequent event (e.g. repayment by a
        debtor) causes the amount of impairment loss to decrease, the decrease in impairment loss is
        reversed through profit or loss.

 2.14 Fair value estimation of financial assets and liabilities

        The fair values of current financial assets and liabilities carried at amortised cost approximate
        their carrying amounts.




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 2.   Significant accounting policies (cont'd)

 2.15 Leases

      When the Company and the Group is the lessee:

      The Company and the Group leases certain property, plant and equipment under finance
      leases from third parties.

      Finance leases

      Leases where the Company and the Group assumes substantially all risks and rewards
      incidental to ownership of the leased assets are classified as finance leases.

      The leased assets and the corresponding lease liabilities (net of finance charges) under
      finance leases are recognised on the balance sheet as property, plant and equipment and
      borrowings respectively, at the inception of the leases based on the lower of the fair values of
      the leased assets and the present values of the minimum lease payments.

      Each lease payment is apportioned between the finance expense and the reduction of the
      outstanding lease liability. The finance expense is recognised in the profit or loss on a basis
      that reflects a constant periodic rate of interest on the finance lease liability.

      Operating leases

      Leases where a significant portion of the risks and rewards of ownership are retained by the
      lessor are classified as operating leases. Payments made under operating leases are taken
      to the statement of comprehensive income on a straight-line basis over the period of the
      lease.

      When an operating lease is terminated before the lease period has expired, any payment
      required to be made to the lessor by way of penalty is recognised as an expense in the period
      in which termination takes place.

 2.16 Employee compensation

      The Company's and the Group's contributions are recognised as employee compensation
      expense when they are due, unless they can be capitalised as an asset.

      Defined contribution plans

      Defined contribution plans are post-employment benefit plans under which the Company and
      the Group pays fixed contributions into separate entities such as the Central Provident Fund
      on a mandatory, contractual or voluntary basis. The Company and the Group has no further
      payment obligations once the contributions have been paid. The Company's and the Group's
      contributions are recognised as employee compensation expense when they are due.




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 2.    Significant accounting policies (cont'd)

 2.17 Income taxes

       Income tax expense comprises current and deferred tax. Current tax and deferred tax is
       recognised in profit or loss except to the extent that it relates to a business combination, or
       items recognised directly in equity or in other comprehensive income.

       Current tax is the expected tax payable or receivable on the taxable income or loss for the
       years, using tax rates enacted or substantively enacted at the reporting date, and any
       adjustment to tax payable in respect of previous years.

       Deferred tax is recognised in respect of temporary differences between the carrying amounts
       of assets and liabilities for financial reporting purposes and the amounts used for taxation
       purposes. Deferred tax is not recognised for:
       • temporary differences on the initial recognition of assets or liabilities in a transaction that
           is not a business combination and that affects neither accounting nor taxable profit or
           loss;
       • temporary differences related to investments in subsidiaries and jointly controlled entities
           to the extent that it is probable that they will not reverse in the foreseeable future; and
       • taxable temporary differences arising on the initial recognition of goodwill.

       Deferred tax is measured at the tax rates that are expected to be applied to temporary
       differences when they reverse, based on the laws that have been enacted or substantively
       enacted by the reporting date.

       Deferred tax assets and liabilities are offset if there is a legally enforceable right to offset
       current tax liabilities and assets, and they relate to income taxes levied by the same tax
       authority on the same taxable entity, or on different tax entities, but they intend to settle
       current tax liabilities and assets on a net basis or their tax assets and liabilities will be realised
       simultaneously.

       A deferred tax asset is recognised for unused tax losses, tax credits and deductible temporary
       differences, to the extent that it is probable that future taxable profits will be available against
       which they can be utilised. Deferred tax assets are reviewed at each reporting date and are
       reduced to the extent that it is no longer probable that the related tax benefit will be realised.

 2.18 Investment in subsidiaries

       A subsidiary is an entity over which the Group has the power to govern the financial and
       operating policies so as to obtain benefits from its activities. The Group generally has such
       power when it directly or indirectly holds more than 50% of the issued share capital, or
       controls more than half of the voting power, or controls the composition of the board of
       directors.

       Investment in subsidiary are stated at cost less any impairment loss in the Company's
       balance sheet. On disposal of a subsidiary, the difference between net disposal proceeds
       and the carrying amount of the investment is taken to the statement of comprehensive
       income.

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 2.    Significant accounting policies (cont'd)

 2.19 Borrowing costs

       Borrowing costs are recognised in the profit or loss using the effective interest method except
       for those costs that are directly attributable to borrowings acquired specifically for the
       acquisition, construction or production of an asset which necessarily takes a substantial
       period of time to be prepared for its intended use or sale of property, plant and equipment.


 3.    Critical accounting estimates, assumptions and judgements

       Estimates, assumptions and judgements are continually evaluated and are based on historical
       experience and other factors, including expectations of future events that are believed to be
       reasonable under the circumstances.

       The Company and the Group makes estimates and assumptions concerning the future. The
       resulting accounting estimates will, by definition, seldom equal the related actual results. The
       estimates and assumptions that have a significant risk of causing a material adjustment to the
       carrying amounts of assets and liabilities within the next financial year are discussed below: -

       (a)     Useful lives of property, plant and equipment

               The cost of property, plant and equipment is depreciated on a straight-line basis over
               the property, plant and equipment's estimated economic useful lives. Management
               estimates the useful lives of these property, plant and equipment to be within 3 to 30
               years. These are common life expectancies applied in the industry. Changes in the
               expected level of usage and technological developments could impact the economic
               useful lives and the residual values of these assets, therefore, future depreciation
               charges could be revised. The carrying amount of the Company's and the Group's
               property, plant and equipment at the end of the reporting period is disclosed in Note 4
               to the financial statements.

       (b)     Depreciation of plant and equipment

               Property, plant and equipment are depreciated on a straight-line basis over their
               estimated useful lives. The Company and the Group assesses annually the useful life
               of the property, plant and equipment and if the expectation differs from the original
               estimate, such difference will impact the depreciation in the year in which such
               estimate has been changed. The carrying amount of the Company's and the Group's
               property, plant and equipment at the end of the reporting period is disclosed in Note 4
               to the financial statements.




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 3.   Critical accounting estimates, assumptions and judgements (cont'd)

      (c)    Impairment of plant and equipment

            The Company assesses annually whether property, plant and equipment has any
            indication of impairment in accordance with the accounting policy. The recoverable
            amounts of property, plant and equipment have been determined based on the higher
            of the fair value less cost to sell and value-in-use which requires the use of judgement
            and estimates. The carrying amount of the Company's and the Group's property,
            plant and equipment at the end of the reporting period is disclosed in Note 4 to the
            financial statements.

      (d)    Impairment of loans and receivables

             The Company and the Group assess at the end of each reporting period whether
             there is any objective evidence that a financial asset is impaired. To determine
             whether there is objective evidence of impairment, the Company and the Group
             considers factors such as the probability of insolvency or significant financial
             difficulties of the receivable and default or significant delay in payments.

             Where there is objective evidence of impairment, the amount and timing of future cash
             flows are estimated based on historical loss experience for assets with similar credit
             risk characteristics. Based on the directors assessments, no impairment is required.
             The carrying amounts of the Company's and the Group's loans and receivables at the
             end of the reporting period are disclosed in Note 9 to the financial statements.

      (0)    Allowance for obsolete inventories

             A review is made periodically on inventory for excess inventory, obsolescence and
             declines in net realisable value below cost and record an allowance against the
             inventory balance for any such declines. These reviews require management to
             estimate future demand for the products. Possible changes in these estimates could
             result in revisions to the valuation of inventory. The carrying amount of the Group's
             inventories were disclosed in Note 8 to the financial statements.

      (f)    Tax incentive scheme

             The Company was granted the Pioneer Incentive - Manufacturing for an initial period
             of 15 years by EDB Singapore commencing 1 April 2012 which subject to meeting
             certain terms and conditions as stipulated in the letter of award. As at 31 March 2013,
             based on the directors' judgement, these conditions are likely to be met.




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4.   Property, plant and equipment

                                                                  Computers &
                                                    Leasehold        office   Furniture &           Motor      Plant &
                                                     building      equipment    fittings           vehicles   machinery     Renovation      Total
                                                      USD            USD          USD                USD        USD            USD          USD
     GROUP
     2013
     Cost
     Beginning of financial year                                     249,724        71,999          498,895   26,666,042     3,281,104   30,767,764
     Additions                                                       342,588        77,541          143,120   18,490,827     2,597,100   21,651,176
     Transfer from construction and project work-in-
       progress                                      14,029,280      970,008                                           -    15,633,059   30,632,347
     Disposal                                                 -            -             -                -      (27,585)            -      (27,585)
     End of financial year                           14,029,280    1,562,320       149,540          642,015   45,129,284    21,511,263   83,023,702

     Accumulated depreciation
     Beginning of financial year                                      94,208        31,259          200,482   10,620,960     1,206,667   12,153,576
     Depreciation charged                             165,050        280,685        33,197           84,106    3,561,971     2,060,998    6,186,007
     Disposal                                               -              -             -                -      (27,585)            -      (27,585)
     End of financial year                            165,050        374,893        64,456          284,588   14,155,346     3,267,665   18,311,998

     Net book value
     End of financial year                         13,864,230      1,187,427        85,084          357,427   30,973,938    18,243,598   64,711,704




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4.   Property, plant and equipment (cont'd)

     The carrying amount of property, plant and equipment acquired under finance lease obligations for the Company and the Group were USD11,564,178
     and USD11,564,178 (2012: USD298,413 and USD298,413) respectively.

     During the financial year, the Company and the Group acquired property, plant and equipment costing USD21,858,802 and USD21,651,176 (2012:
     USD12,229,164 and USD12,101,989) of which USD11,996,445 and USD11,996,445 (2012: USD57,410 and USD57,410) was acquired by finance lease
     obligations. Cash payments of USD9,862,357 and USD9,654,731 (2012: USD12,171,754 and USD12,044,579) were made to purchase these property,
     plant and equipment .

     As at 31 March 2013, leasehold building with net book value of USD13,864,230 (2012: USD1,876,822) were pledged to secure bank loan granted to the
     Company and the Group (Note 12).

     The estimated fair values of the leasehold building are approximately S$26,000,000 (equivalent to USD20,906,600) based on independent valuation
     dated 6 June 2012.

     Changes in estimates

     During the financial year, the Company and the Group reviewed the useful lives of its property, plant and equipment which resulted in changes in the
     expected usage of certain items of property, plant and equipment. The expected useful lives of these assets was assessed to be shorter and as a result,
     the changes expected on depreciation expenses, recognised in profit and loss account, in current and future years are as follows:

                                                           2013         2014         2015         2016         2017         Total
                                                           USD          USD          USD          USD          USD          USD

     Increase/(decrease) in depreciation expense         1,102,171     270,237      (336,732)    (188,533)    (148,264)     698,879




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4.   Property, plant and equipment (cont'd)

                                                            Computers &
                                                               office       Furniture &       Motor       Plant &
                                                             equipment        fittings       vehicles   machinery    Renovation      Total
                                                                USD             USD            USD        USD           USD          USD
     GROUP
     2012
     Cost
     Beginning of financial year                               111,659           25,983      439,076    14,950,666   1,395,617    16,923,001
     Additions                                                 168,986           46,016       59,819    11,534,965     292,203    12,101,989
     Transfer from/(to) construction and project work-in-
       progress                                                (30,921)               -            -       180,411   1,593,284     1,742,774
     End of financial year                                     249,724           71,999      498,895    26,666,042   3,281,104    30,767,764

     Accumulated depreciation
     Beginning of financial year                                57,725           22,661      121,536     9,016,517   1,077,530    10,295,969
     Depreciation charged                                       36,483            8,598       78,946     1,604,443     129,137     1,857,607
     End of financial year                                      94,208           31,259      200,482    10,620,960   1,206,667    12,153,576

     Net book value
     End of financial year                                     155,516           40,740      298,413    16,045,082   2,074,437    18,614,188




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4.   Property, plant and equipment (cont'd)

                                                                        Computers &
                                                           Leasehold       office   Furniture &         Motor      Plant &
                                                            building     equipment    fittings         vehicles   machinery     Renovation     Total
                                                             USD            USD         USD              USD        USD            USD         USD
     COMPANY
     2013
     Cost
     Beginning of financial year                                           249,724        71,999        498,895   26,793,217     3,281,104   30,894,939
     Additions                                                      -      335,819        69,347        141,545   18,983,337     2,328,754   21,858,802
     Transfer from/(to) construction and project work-
       in-progress                                        14,029,280       970,008                            -            -    15,633,059   30,632,347
     Disposal                                                      -             -             -              -      (36,968)                   (36,968)
     End of financial year                                14,029,280     1,555,551       141,346        640,440   45,739,586    21,242,917   83,349,120

     Accumulated depreciation
     Beginning of financial year                                            94,208        31,259        200,482   10,620,960     1,206,667   12,153,576
     Depreciation charged                                    165,050       280,685        31,745         84,106    3,578,326     2,023,728    6,163,640
     Disposal                                                                    -                            -      (28,836)                   (28,836)
     End of financial year                                   165,050       374,893        63,004        284,588   14,170,450     3,230,395   18,288,380

     Net book value
     End of financial year                                13,864,230      1,180,658       78,342        355,852   31,569,136    18,012,522   65,060,740




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4.   Property, plant and equipment (cont'd)

                                                                     Computers &
                                                                        office   Furniture &          Motor      Plant &
                                                                      equipment    fittings          vehicles   machinery    Renovation     Total
                                                                         USD         USD               USD        USD           USD         USD
     COMPANY
     2012
     Cost
     Beginning of financial year                                         111,659        25,983        439,076   14,950,666    1,395,617   16,923,001
     Additions                                                           168,986        46,016         59,819   11,662,140      292,203   12,229,164
     Transfer from/(to) construction and project work-in-progress        (30,921)                                  180,411    1,593,284    1,742,774
     End of financial year                                               249,724        71,999        498,895   26,793,217    3,281,104   30,894,939

     Accumulated depreciation
     Beginning of financial year                                          57,725        22,661        121,536    9,016,517    1,077,530   10,295,969
     Depreciation charged                                                 36,483         8,598         78,946    1,604,443      129,137    1,857,607
     End of financial year                                                94,208        31,259        200,482   10,620,960    1,206,667   12,153,576

     Net book value
     End of financial year                                               155,516        40,740        298,413   16,172,257    2,074,437   18,741,363




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5.   Construction and projects work-in-progress

                                                                                 Electrical
                                                                Building        installation   Software      Machinery      Renovation         Total
                                                                 USD               USD           USD           USD             USD             USD

     Group and Company
     2013
     Cost
     Beginning of financial year                               13,265,397          409,994       932,983                              -     14,608,374
     Additions                                                    763,883          196,745     1,475,153               -     15,026,320     17,462,101
     Transfer to property, plant and equipment                (14,029,280)        (606,739)     (970,008)              -    (15,026,320)   (30,632,347)
     End of financial year                                                                     1,438,128                              -      1,438,128

     2012
     Cost
     Beginning of financial year                                2,410,634                -        94,300         46,853                -     2,551,787
     Additions                                                 10,854,763        2,018,249       838,683         87,666                -    13,799,361
     Transfer to property, plant and equipment                                  (1,608,255)            -       (134,519)               -    (1,742,774)
     End of financial year                                     13,265,397          409,994       932,983                                    14,608,374

     Construction and projects work-in-progress are related to property, plant and equipment to be constructed or developed for the Company and the Group
     and are stated at cost. Transfers are made to property, plant and equipment upon completion.




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 6.   Intangible assets

                                                 Goodwill on
                                                consolidation           Patent         Total
                                                    USD                  USD           USD

      Group
      2013
      Cost
      Beginning of financial year                      13,005             87,856        100,861
      Additions                                                           51,143         51,143
      End of financial year                            13,005            138,999        152,004

      Accumulated amortisation
      Beginning of financial year                                          6,296          6,296
      Amortisation charged                                                 3,148          3,148
      End of financial year                                                9,444          9,444

      Net book value
      End of financial year                            13,005            129,555        142,560


      2012
      Cost
      Beginning of financial year                      13,005             62,860         75,865
      Additions                                                           24,996         24,996
      End of financial year                            13,005             87,856        100,861

      Accumulated amortisation
      Beginning of financial year                                          3,148           3,148
      Amortisation charged                                                 3,148           3,148
      End of financial year                                                6,296           6,296

      Net book value
      End of financial year                            13,005             81,560         94,565

      Goodwill on consolidation arose from the acquisition of the subsidiary, Helios International
      Pte. Ltd.




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 6.   Intangible assets (cont'd)

                                                 Goodwill on
                                                consolidation           Patent     Total
                                                    USD                  USD       USD

      Company
      2013
      Cost
      Beginning of financial year                                         87,856    87,856
      Additions                                                           51,143    51,143
      End of financial year                                              138,999   138,999

      Accumulated amortisation
      Beginning of financial year                                          6,296      6,296
      Amortisation charged                                                 3,148      3,148
      End of financial year                                                9,444      9,444

      Net book value
      End of financial year                                              129,555   129,555


      2012
      Cost
      Beginning of financial year                            -            62,860     62,860
      Additions                                              -            24,996     24,996
      End of financial year                                               87,856     87,856

      Accumulated amortisation
      Beginning of financial year                                          3,148      3,148
      Amortisation charged                                                 3,148      3,148
      End of financial year                                                6,296      6,296

      Net book value
      End of financial year                                               81,560     81,560


 7.   Investment in subsidiaries

                                                                         2013      2012
                                                                         USD       USD

      The Company
      Unquoted equity shares, at cost                                     50,201           201




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 7.   Investment in subsidiaries (cont'd)

                                                                  Country of
                                                              incorporation and Percentage of effective
       Name of Company             Principal activities       place of business equity held by the Group
                                                                                   2013          2012



      Nozomi Technology         Stock management               United States of           100        100
       Inc**                                                       America

      Sungate Oriental          Investment holding           British Virgin Islands       100
       Limited**                company

      Held through Sungate Oriental Limited
      Helios International Pte Business of assembly,              Singapore               100        100
       Ltd*                     construction and sale of
                                chemical vapour
                                deposition machine

      * Audited by AT ADLER, Public Accountants and Chartered Accountants, Singapore

      ** Not required to be audited in the country of incorporation


 8.   Inventories

                                                   Group                                  Company
                                          2013                2012                 2013             2012
                                          USD                 USD                  USD              USD

      Raw materials                        461,604            177,217                 440,548       177,217
      Components and parts               3,330,653          2,141,934
      Work-in-progress                   1,740,197          2,401,290             1,740,197     2,401,290
      Finished goods                     2,636,941          4,323,976             2,636,941       522,420
                                         8,169,395          9,044,417             4,817,686     3,100,927




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 9.    Trade and other receivables

                                               Group                              Company
                                       2013               2012             2013             2012
                                       USD                USD              USD              USD

       Trade receivable
       -Third parties                21,795,084          1,252,809    21,716,092        1,252,809
       - Fellow subsidiary                                       -       934,528
       - Related parties              3,365,889         13,115,711     3,239,111       12,735,765
                                     25,160,973         14,368,520    25,889,731       13,988,574

       Other receivables                  1,023              7,273           2,052            7,273
       Amounts due from
        subsidiaries (non-trade)               -                       4,267,335        3,698,485
       Amounts due from
        related parties (non-
        trade)                                            539,123                           539,123
       Amounts due from a
        director                         32,548                  -        32,548                 -
       Prepayments                      140,525             70,380       134,652            69,478
       Deposits                       1,837,168          5,187,790       600,817         4,523,854
       GST receivables                  550,928            723,661       466,137           374,938
                                     27,723,165         20,896,747    31,393,272        23,201,725

       Amounts due from related parties, a director and subsidiaries are unsecure, non-interest
       bearing and repayable on demand.

       In 2012, the Company entered into agreement between its holding company and a related
       party to offset the balances outstanding as at June 2012 amounting to USD11,264,187 (Note
       13). However, during the financial year, the Company has made settlements of the amounts
       via bank instead of the set-off.


 10.   Share capital

                                                                         Group and Company
                                                                      Number of
                                                                       ordinary
                                                                        shares       Amount
                                                                                      USD
       2013
       Beginning of financial year                                     41,081,508       54,767,830
       Issuance of shares                                              17,000,000       17,000,000
       End of financial year                                           58,081,508       71,767,830




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 10.   Share capital (cont'd)

                                                                          Group and Company
                                                                       Number of
                                                                        ordinary
                                                                         shares       Amount
                                                                                       USD
       2012
       Beginning of financial year                                       3,500,001        17,186,323
       Issuance of shares                                               37,581,507        37,581,507
       End of financial year                                            41,081,508        54,767,830

       All issued ordinary shares are fully paid. There is no par value for these ordinary shares.

       The holders of ordinary shares are entitled to receive dividends as and when declared by the
       Company. All ordinary shares carry one vote per share without restrictions.

       During the financial year, the Company issued 17,000,000 (2012: 37,581,507) ordinary
       shares for a total consideration of USD17,000,000 (2012: USD37,581 ,507) by way of
       utilisation of credit balance due to holding company.


 11.   Finance lease obligations

                                                                        Present value of minimum
                                        Minimum payments                        payments
                                       2013         2012                  2013            2012
                                       USD          USD                   USD             USD

       Group and Company
       Finance lease payments
         payable
       Within one year                  832,087            79,607           603,794            67,488
       Within two to five years       7,346,772           220,388         6,409,586           197,682
       After five years               1,307,628            48,449         1,266,328            46,454
                                      9,486,487           348,444         8,279,708           311,624
       Interest allocated to
         future periods              (1,206,779)          (36,820)
                                      8,279,708           311,624         8,279,708           311,624

       The average effective interest rate is 4.78% (2012: 4.77%) per annum. The terms of the
       finance lease obligations do not contain any restrictions on the Company's activities
       concerning dividend payments, obtaining additional borrowings or further leasing.




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 12.   Bank loan

                                                                             Group and Company
                                                                             2013         2012
                                                                             USD          USD

       Current                                                                357,805

       Non-current
       - Within 2 to 5 years                                             1,587,138
       - After 5 years                                                   4,505,994
                                                                         6,450,937

       Bank loan are secured by the Company's leasehold building (Note 4). The loan bears interest
       at 1.85% (2012: 3.35%) per annum.


 13.   Trade and other payable

                                                 Group                               Company
                                          2013             2012               2013             2012
                                          USD              USD                USD              USD

       Trade payables
       - Third parties                  2,549,494        6,069,435         389,868         4,389,376
       - Subsidiaries                           -                        3,562,421                 -
       - Related parties                1,103,485          260,772       1,103,485           251,631
                                        3,652,979        6,330,207       5,055,774         4,641,007

       Other payables                   5,968,224        3,806,889           5,886,580      3,806,665
       Amounts due to a
        director (non-trade)                                22,514                              22,514
       Amounts due to related
        parties (non-trade)             2,062,822        1,965,669             97,153
       Amounts due to holding
        company (non-trade)             5,069,391         4,004,187          5,069,391      4,004,187
       Amount due to subsidiary
        company (non-trade)                                       -         50,000
       Accruals                         2,823,812           285,886      2,449,040            110,757
                                       19,577,228        16,415,352     18,607,938         12,585,130

       Amounts due from related parties, holding company, subsidiary and a director are unsecured,
       non-interest bearing and repayable on demand.

       In 2012, the Company entered into agreement between its holding company and a related
       party to offset the balances outstanding as at June 2012 amounting to USD11,264,187 (Note
       9). However, during the financial year, the Company has made settlements of the amounts
       via bank instead of the set-off.


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 14.   Revenue

       This represents invoiced value of sales and services rendered during the financial year, less
       discounts, returns and Goods and Services Tax.


 15.   Other income

                                                                                Group
                                                                         2013             2012
                                                                         USD              USD

       Interest income                                                        75
       Management fees                                                    55,483
       Exchange gain                                                                         3,610
       Other income                                                       26,239             3,988
                                                                          81,797             7,598


 16.   Financial expenses

                                                                                Group
                                                                         2013             2012
                                                                         USD              USD

       Bank charges                                                       36,888            14,302
       Interest on bank overdrafts                                            55                54
       Interest on finance lease obligations                             168,284            14,064
       Interest on late payments                                             629               913
       Interest on bank loan                                              98,514           190,121
                                                                         304,370           219,454




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 17.   Profit before income tax

       The following items have been included in arriving at profit before income tax:-

                                                                                   Group
                                                                           2013             2012
                                                                           USD              USD

       Depreciation of property, plant and equipment                     6,186,007         1,857,607
       Amortisation of intangible assets                                     3,148             3,148
       Directors' remuneration and fees                                    327,677           127,826
       Inventories written down to net realisable value                  2,659,016                 -
       Inventories recognised as cost in cost of sales                  16,840,138         8,152,978
       Lossf(gain) on foreign exchange                                     157,716            (3,610)
       Rental of premises and equipment                                  1,117,493           661,494
       Staff cost
       - salaries, bonuses and benefits                                  4,727,499         2,101,364
       - Central Provident Fund                                            389,598           208,088


 18.   Income tax expense
                                                                                   Group
                                                                           2013             2012
                                                                           USD              USD
       Tax expense attributable to profit is made up of:-
       Current tax
       Under provision for previous year                                    26,860           13,000

       The tax expense on the results for the financial year differs from the amount of income tax
       determined by applying the Singapore Standard rate of income tax to profit before income tax
       due to the following factors:-
                                                                                Group
                                                                         2013             2012
                                                                         USD               USD

       Profit before income tax                                           1,590,010        1,889,964

       Tax at statutory tax rate of 17%                                     270,303          321,294
       Income not subject to tax                                               (708)         (46,400)
       Tax exemption                                                                         (12,892)
       Expenses that are not deductible                                     494,140           57,719
       Investment allowance forfeited                                       743,349                -
       Enhanced allowance                                                  (532,927)
       Pioneer incentive                                                 (1,567,314)
       Under provision for previous year                                     26,860
       Deferred tax asset previously not recognised                         593,157         (307,506)
       Others                                                                                    785
                                                                             26,860           13,000


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 18.   Income tax expense (cont'd)

       The Company was granted a 15-year Pioneer Incentive — Manufacturing with effect from 1
       April 2012 subject to the Company meeting certain terms and conditions set out in the letter of
       offer dated 4 April 2012.


 19.   Significant related party transactions

       In addition to the information disclosed elsewhere in the financial statements, the following
       significant transactions took place between the Company, the holding company and related
       parties at terms agreed between the parties:

                                                Group                            Company
                                       2013               2012            2013             2012
                                       USD                USD             USD              USD

       Revenue
         received/receivable
         from related parties
       - Sale of goods
         received/receivable
         from related parties         1,985,899          3,439,789       1,985,899        3,439,789
       - Management fee                  55,483                  -          55,483

       Revenue
         received/receivable
         from a subsidiary
         company
       - Sales of plant and
         equipment                                                          12,178
       - Management fee                         -                          934,528

       Expenses paid/payable
         to a subsidiary
         company
       - Purchase of plant and
         equipment                              -                       17,314,032         9,923,618
       Expenses paid/payable
         to related parties
       - Purchase of goods            1,177,868           965,106        1,073,486           965,106
       - Purchase of plant and
         equipment                      746,836                            738,704
       - Management fee                                    583,947               -           583,947
       - Purchase of spare parts
         and tools                      308,938                            308,938




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                            IIA TECHNOLOGIES PTE. LTD.
               (FORMERLY KNOWN AS THE GEMESIS COMPANY (S) PTE. LTD.)
                                AND ITS SUBSIDIARIES
                          Company Registration No. 200516961K
                               (incorporated in Singapore)


                            NOTES TO THE FINANCIAL STATEMENTS
                             for the financial year ended 31 March 2013



 19.   Significant related party transactions (cont'd)

                                              Group                               Company
                                      2013               2012             2013              2012
                                      USD                USD              USD               USD

       Expenses paid/payable
         to a company in which
         a director is an officer
       - Professional fee              195,754           131,732           177,568           121,156

       Related parties comprise companies which are controlled or significantly influenced by the
       Company's directors and their close family members.

       There were also advances to and from related parties and payments on behalf for and by
       related parties. Outstanding balances as at 31 March 2012 are set out in Notes 9 and 13 to
       the financial statements.


 20.   Operating lease commitment

       The future aggregate minimum lease payments under non-cancellable operating leases (with
       lease term of more than 1 year) contracted for by the company for factory and land at the end
       of the reporting period but not recognised as liabilities, are as follows:-

                                              Group                               Company
                                       2013              2012              2013              2012
                                       USD               USD               USD               USD

       Not later than 1 year         1,399,905           716,315       1,121,043             716,315
       Later than 'I year but not
         later than 5 years          1,569,097        1,030,206           1,313,474         1,030,206
       Later than 5 years            4,301,179        3,932,117           4,301,178         3,932,117


 21.   New or revised accounting standards and interpretations

       Certain new standards, amendments and interpretations to existing standards have been
       published and are mandatory for the Company's accounting periods beginning after 1 April
       2012 or later periods and which the Company has not early adopted. The Company has
       assessed that these standards, amendments and interpretations are not relevant to the
       Company and the Group.




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                            HA TECHNOLOGIES PTE. LTD.
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                              (Incorporated in Singapore)


                           NOTES TO THE FINANCIAL STATEMENTS
                            for the financial year ended 31 March 2013



 22.   Financial risk management

       The Company's and the Group's overall risk management strategy seeks to minimise adverse
       effects from the unpredictability of financial markets on the Company's and the Group's
       financial performance.

       The Board is responsible for setting the objectives and underlying principles of financial risk
       management for the Company and the Group.

       The Board reviews and agrees the risk management policies and systems regularly to reflect
       changes in market conditions, the Company's and the Group's financial position and the
       nature of its activities. The significant financial risks to which the Company and the Group is
       exposed are set out below:-

       Credit risk

       Credit risk refers to the risk that a counter party will default on its contractual obligations
       resulting in financial loss to the Company and the Group. The major classes of financial
       assets of the Company and the Group are bank deposits and trade and other receivables.

       (a)     Financial assets that are neither past due nor impaired

               Bank deposits that are neither past due nor impaired are mainly deposits with
               regulated financial institutions

       (b)     Financial assets that are past due and/or impaired

               There is no other class of financial assets that is past due and/or impaired except for
               trade receivables.

               At the end of the reporting period, age analysis of trade receivables past due but not
               impaired and the concentration of credit risk of trade receivables are as follows:-

                                               Group                              Company
                                       2013              2012              2013             2012
                                       USD               USD               USD              USD

                Past due < 3
                 months               7,477,401          651,460          7,477,401          651,460
                Past due 3 to 6
                 months               6,120,501         2,391,977         6,120,501        2,391,977
                Past due over 6
                 months               5,612,424         9,723,321         5,612,423        9,723,321
                                     19,210,326        12,766,758        19,210,325       12,766,758

                Top 1 customer       12,306,965        12,654,108        12,306,965       12,654,108
                Top 2 customers      10,695,399         1,172,973        10,695,399        1,172,973
                                     23,002,364        13,827,081        23,002,364       13,827,081


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                                AND ITS SUBSIDIARIES
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                               (Incorporated in Singapore)


                            NOTES TO THE FINANCIAL STATEMENTS
                             for the financial year ended 31 March 2013



 22.   Financial risk management (cont'd)

       Concentration risk

       The Company purchases raw materials from two suppliers for processing and sells the
       finished product to the suppliers. The total sales and purchases made during the financial
       year amounted to USD38,159,341 and USD15,555,900 of total sales and purchases.

       Capital risk

       The Company's and the Group's objectives when managing capital are to safeguard to the
       Company's and the Group's ability to continue as a going concern and to maintain an optimal
       capital structure so as to maximise shareholder value. In order to maintain or achieve an
       optimal capital structure, the Company and the Group may adjust the amount of dividend
       payment, return capital to shareholders, issue new shares, buy back issued shares, obtain
       new borrowings or sell assets to reduce borrowings.

       The gearing ratio is calculated as net debt divided by total capital. Net debt is calculated as
       borrowings plus trade and other payables less cash and bank balances. Total capital is
       calculated as equity plus net debt.

                                               Group                             Company
                                       2013              2012             2013             2012
                                       USD               USD              USD              USD

       Net debt
       Borrowings                   14,730,645            311,624      14,730,645           311,624
       Trade and other payables     19,577,228         16,415,352      18,607,938        12,585,130
       Less: Cash and bank
         balances                   (1,321,490)        (4,077,244)       (952,445)       (3,629,473)
                                    32,986,383         12,649,732      32,386,138         9,267,281

       Total equity
       Share capital                71,767,830         54,767,830       71,767,830       54,767,830
       Reserves                     (2,609,121)        (4,172,271)      (1,264,386)      (4,300,961)
                                    69,158,709         50,595,559       70,503,444       50,466,869

       Total capital               102,145,092         63,245,291     102,889,582        59,734,150

       Gearing ratio                       32%               20%              31%               16%

       The Company and the Group is not subject to external capital and gearing requirements for
       the financial years ended 31 March 2013 and 2012.




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                            NOTES TO THE FINANCIAL STATEMENTS
                             for the financial year ended 31 March 2013



 22.   Financial risk management (cont'd)

       Liquidity risk

       Liquidity risk is the risk that the Company and the Group will encounter difficulty in meeting
       financial obligations due to shortage of funds. The Company's and the Group's exposure to
       liquidity risk arises primarily from mismatches of the maturities of financial assets and
       liabilities. The Company and the Group monitors its liquidity risk and maintains a level of cash
       and bank balances deemed adequate by management to finance the Company's and the
       Group's operations and to mitigate the effects of fluctuations in cash flows.

       The following are the contractual maturities of financial liabilities, including estimated interest
       payments and excluding the impact of netting agreements.

                                                             Group
                                  Carrying     Contractual One year or One to five           Over five
                                  amount       cash flows     less       years                years
                                    USD           USD         USD        USD                   USD

       2013
       Non-derivative
         financial liabilities
       Finance lease
         obligations               8,279,708      9,486,487       832,087      7,346,772      1,307,628
       Bank loan                   6,450,937      7,541,209       475,591      1,993,420      5,072,198
       Trade and other
         payables                 19,577,228    19,577,228     19,577,228              -              -
                                  34,307,873    36,604,924     20,884,906      9,340,192      6,379,826


       2012
       N on-derivative
         financial liabilities
       Finance lease
         obligations                 311,624        348,444         79,607       220,388         48,449
       Trade and other
         payables                 16,415,532    16,415,532     16,415,532              -              -
                                  16,727,156    16,763,976     16,495,139        220,388         48,449




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                             NOTES TO THE FINANCIAL STATEMENTS
                              for the financial year ended 31 March 2013



 22.   Financial risk management (cont'd)

       Liquidity risk (cont'd)

                                                            Company
                                  Carrying     Contractual One year or One to five     Over five
                                  amount       cash flows     less       years          years
                                    USD           USD         USD        USD             USD

       2013
       Non-derivative
         financial liabilities
       Finance lease
         obligations               8,279,708    9,486,487      832,087     7,346,772   1,307,628
       Bank loan                   6,450,937    7,541,209      475,591     1,993,420   5,072,198
       Trade and other
         payables                18,607,938    18,607,938   18,607,938
                                 33,338,583    35,635,634   19,915,616     9,340,192   6,379,826


       2012
       Non-derivative
         financial liabilities
       Finance lease
         obligations                 311,624      348,444       79,607      220,388       48,449
       Trade and other
         payables                 12,585,130   12,585,130   12,585,130
                                  12,896,754   12,933,574   12,664,737      220,388       48,449

       Foreign currency risk

       The Company and the Group are exposed to foreign currency risk on sales and purchases
       that are denominated in a currency other than its functional currency. The currencies giving
       rise to this risk are primarily Singapore dollar.

       The Company and the Group do not have a hedging policy on its foreign currency exposure.




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                           NOTES TO THE FINANCIAL STATEMENTS
                            for the financial year ended 31 March 2013



 22.   Financial risk management (cont'd)

       Foreign currency risk (cont'd)

       The Company's and the Group's exposure to foreign currency are as follows:

                                                                         2013            2012
                                                                         USD             USD

       Group
       Trade and other receivables                                    2,164,136        5,889,154
       Cash and cash equivalents                                        357,385          597,642
       Finance lease obligations                                     (8,279,708)        (311,624)
       Bank loan                                                     (6,450,937)
       Trade and other payables                                      (7,510,915)      (5,510,144)
                                                                    (19,720,039)         665,028

       Company
       Trade and other receivables                                    1,186,508        4,936,343
       Cash and cash equivalents                                        182,315          427,105
       Finance lease obligations                                     (8,279,708)        (311,624)
       Bank loan                                                     (6,450,937)               -
       Trade and other payables                                      (7,044,746)      (4,238,224)
                                                                    (20,406,568)         813,600

       A 10% strengthening of US dollar against the following currencies at the reporting date would
       increase/(decrease) equity and profit or loss by the amounts shown below. This analysis
       assumes that all other variables, in particular interest rates, remain constant.

                                                                                        Profit or
                                                                         Equity           loss
                                                                          USD             USD

       Group
       2013
       SGD                                                           (1,636,763)       (1,636,763)

       2012
       SGD                                                                55,197           55,197




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                             NOTES TO THE FINANCIAL STATEMENTS
                              for the financial year ended 31 March 2013




  22.   Financial risk management (cont'd)

        Sensitivity analysis for foreign currency risk (cont'd)

                                                                                           Profit or
                                                                           Equity            loss
                                                                            USD              USD

        Company
        2013
        SGD                                                             (1,693,745)        (1,693,745)

        2012
        SGD                                                                 67,529             67,529

        A 10% weakening of US dollar against the above currencies would have had the equal but
        opposite effect on the above currencies to the amounts shown above, on the basis that all
        other variables remain constant.


  23.   Capital commitment

        As at the end of the year, commitments for capital expenditure not provided for in the financial
        statement are as follows:

                                                                            2013             2012
                                                                            USD              USD

        Expenditure approved and contracted for in respect of
         construction works and other projects                           1,361,938         3,266,598

        Expenditure approved in respect of construction works and
         other projects                                                   4,991,056        9,176,025


  24.   Subsequent events

        Subsequent to the balance sheet date, the Company had paid SGD195,805 (equivalent to
        USD157,447) for the termination of the lease of one of the rented factories.


  25.   Authorisation of financial statements

        These financial statements were authorised for issue in accordance with a resolution of the
        Board of Directors of IIA Technolges Pte. Ltd. (formerly known as The Gemesis Company (S)
        Pte. Ltd.) on 31 July 2013.



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                        IIA TECHNOLOGIES PTE. LTD.
                            AND ITS SUBSIDIARIES
                      Company Registration No. 200516961K
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                                   31 MARCH 2014




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                                        DIRECTORS' REPORT



The directors present their report to the members together with the audited consolidated financial
statements of IIA Technologies Pte. Ltd. (the "Company") and its subsidiaries (collectively, the
"Group") for the financial year ended 31 March 2014, and the balance sheet of the Company as at 31
March 2014.


Directors

The directors of the Company in office at the date of this report are as follows:

Vishal Jatin Mehta
Sonia Jatin Mehta                               (Non-executive director)
Girija Prasad Pande
Suraj Jatin Mehta                               (Non-executive director)
Misra Devi Shanker
Tan Teck Nguan Michael


Arrangements to enable directors to acquire shares and debentures

Neither at the end of nor at any time during the financial year was the Company a party to any
arrangement whose object was to enable the directors of the Company to acquire benefits by means
of the acquisition of shares in, or debentures of, the Company or any other body corporate.


Directors' interests in shares and debentures

The interest of the directors who held office at the end of the financial year in the shares and
debentures of the Company and related corporation were as follows:

                                          Holdings registered in            Holdings in which a director
                                        name of director or nominee        is deemed to have an interest

                                             At              At                At              At
                                         31.03.2014      01.04.2013        31.03.2014      01.04.2013
                                          (No. of Ordinary shares)          (No. of Ordinary shares)

Company
IIA Technologies Pte. Ltd.

Sonia Jatin Mehta                        1,000,000         1,000,000       18,266,083      57,081,508
Vishal Jatin Mehta                                                         35,961,350
Misra Devi Shanker                                                          2,854,075




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                                 IIA TECHNOLOGIES PTE. LTD.
                                     AND ITS SUBSIDIARIES
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                                       DIRECTORS' REPORT



Directors' contractual benefits

Since the end of the previous financial year, no director has received or become entitled to receive a
benefit by reason of a contract made by the Company or a related corporation with the director or with
a firm of which he is a member or with a company in which he has a substantial financial interest,
except as disclosed in the accompanying financial statements and in this report.


Share options

(a) Options to take up unissued shares

     During the financial year, no option to take up unissued shares of the Company or its
     subsidiaries was granted.

(b) Unissued shares under option and options exercised

     During the financial year, there were no shares of the Company or its subsidiaries issued by
     virtue of the exercise of an option to take up unissued shares.

     At the end of the financial year, there were no unissued shares under option.


Independent auditor

The independent auditor, AT ADLER, Public Accountants and Chartered Accountants, has expressed
willingness to accept re-appointment.




On behalf of the Board of Directors




Vishal Jatin Mehta                                            Tan Teck Nguan Michael
Direct o(                                                     Director


Dated: 9 June 2014




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                                     IIA TECHNOLOGIES PTE. LTD.
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                                        (Incorporated in Singapore)


                                      STATEMENT BY DIRECTORS



In the opinion of the directors,

(a)     the financial statements of the Company and the consolidated financial statements of the
        Group are drawn up so as to give a true and fair view of the state of affairs of the Company
        and of the Group as at 31 March 2014 and of the results of the business, changes in equity
        and cash flows of the Group for the financial year then ended in accordance with the provision
        of the Singapore Companies Act, Chapter 50 and Singapore Financial Reporting Standards;
        and

(b)    at the date of this statement, there are reasonable grounds to believe that the Company will
       be able to pay its debts as and when they fall due.




On behalf of the Board of Directors




Vishal tin Mehta                                               an Te Nguan Michael
Direc •r                                                      Director


Dated: 9 June 2014




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    INDEPENDENT AUDITOR'S REPORT TO THE MEMBERS OF
    IIA TECHNOLOGIES PTE. LTD.
    for the financial year ended 31 March 2014
                                                                                                              ATADLEH
    Company Registration No. 200516961K
    (Incorporated in Singapore)



    Report on the Financial Statements

    We have audited the accompanying financial statements of IIA Technologies Pte. Ltd. (the
    "Company") and its subsidiaries (collectively, the "Group"), which comprise the balance sheets of the
    Company and of the Group as at 31 March 2014, and the consolidated statement of comprehensive
    income, consolidated statement of changes in equity and the consolidated statement of cash flow of
    the Group for the financial year then ended, and a summary of significant accounting policies and
    other explanatory notes.


    Management's Responsibility for the Financial Statements

    Management is responsible for the preparation of financial statements that give a true and fair view in
    accordance with the provisions of the Singapore Companies Act, Chapter 50 (the "Act") and
    Singapore Financial Reporting Standards, and for devising and maintaining a system of internal
    accounting controls sufficient to provide a reasonable assurance that assets are safeguarded against
    loss from unauthorised use or disposition; and transactions are properly authorised and that they are
    recorded as necessary to permit the preparation of true and fair profit and loss accounts and balance
    sheets and to maintain accountability of assets.


    Auditor's Responsibility

    Our responsibility is to express an opinion on these financial statements based on our audit. We
    conducted our audit in accordance with Singapore Standards on Auditing. Those Standards require
    that we comply with ethical requirements and plan and perform the audit to obtain reasonable
    assurance about whether the financial statements are free from material misstatement.

    An audit involves performing procedures to obtain audit evidence about the amounts and disclosures
    in the financial statements. The procedures selected depend on the auditor's judgement, including the
    assessment of the risks of material misstatement of the financial statements, whether due to fraud or
    error. In making those risk assessments, the auditor considers internal control relevant to the entity's
    preparation of the financial statements that give a true and fair view in order to design audit
    procedures that are appropriate in the circumstances, but not for the purpose of expressing an
    opinion on the effectiveness of the entity's internal control. An audit also includes evaluating the
    appropriateness of accounting policies used and the reasonableness of accounting estimates made
    by management, as well as evaluating the overall presentation of the financial statements.

    We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis
    for our audit opinion.




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INDEPENDENT AUDITOR'S REPORT TO THE MEMBERS OF
IIA TECHNOLOGIES PTE. LTD.
for the financial year ended 31 March 2014
                                                                              ATADLEH
Company Registration No. 200516961K
(Incorporated in Singapore)



Opinion

In our opinion, the consolidated financial statements of the Group and the balance sheet of the
Company, are properly drawn up in accordance with the provisions of the Act and Singapore
Financial Reporting Standards so as to give a true and fair view of the state of affairs of the Group
and of the Company as at 31 March 2014, and the results, changes in equity and cash flows of the
Group for the financial year ended on that date.


Emphasis of Matter

Without qualifying our opinion, we draw your attention to Note 2200 to the financial statements. Due
to the specialised nature of the Group's operations, the Group's sales and purchases are
concentrated with 2 key customers who are also the suppliers. For the year ended 31 March 2014,
the sales with these customers amounted to USD66,173,000 of the Group's total revenue of
USD78,939,539. Changes to the business of the key customers or the credit standing of the key
customers may result in significant financial impact to the Group and the Company as the operating
cash flows of the Group and the Company are dependent on the collections from these customers.


Report on Other Legal and Regulatory Requirements

In our opinion, the accounting and other records required by the Act to be kept by the Company and
by the subsidiary incorporated in Singapore of which we are the auditors have been properly kept in
accordance with the provisions of the Act.




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Public Accountants and Chartered Accountants

Singapore, 9 June 2014




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                                    IIA TECHNOLOGIES PTE. LTD.
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                                       (Incorporated in Singapore)


                                              BALANCE SHEET
                                             as at 31 March 2014



                                                    The Group                         The Company
                                             2014               2013               2014         2013
                                Note         USD                USD                USD          USD

ASSETS
Non-current assets
Property,plant and
  equipment                       4       73,923,442         64,711,704         74,291,416          65,060,740
Construction and projects
  work-in-progress                5          808,877          1,438,128            808,877           1,438,128
Intangible assets                 6          352,588            142,560            339,583             129,555
Investment in subsidiaries        7                -                  -             50,001              50,201
                                          75,084,907         66,292,392         75,489,877          66,678,624

Current assets
Inventories                       8       14,840,716          9,349,211         11,166,153           4,817,686
Trade and other
  receivables                     9       30,902,138         26,543 349         35,493,357          31,393,272
Cash and bank balances                       980,540          1,321,490            802,540             952,445
                                          46,723,394         37,214,050         47,462,050          37,163,403

TOTAL ASSETS                             121,808,301        103,506,442        122,951,927        103,842,027

EQUITY AND
 LIABILITIES
Equity attributable to
 equity holders of the
 Company
Share capital                    10       71,767,830         71,767,830         71,767,830          71,767,830
Retained earnings/
 (accumulated losses)                      7,392,454         (2,609,121)        10,302,973          (1,264,386)
Total equity                              79,160,284         69,158,709         82,070,803          70,503,444

Non-current liabilities
Finance lease obligations        11        6,169,317          7,675,914          6,169,317           7,675,914
Bank loans                       12       20,270,913          6,093,132         20,270,913           6,093,132
                                          26,440,230         13,769,046         26,440,230          13,769,046

Current liabilities
Trade and other payables         13       10,988,995         19,577,228          9,222,102          18,607,938
Finance lease obligations        11        1,527,254            603,794          1,527,254             603,794
Bank loans                       12        3,691,538            357,805          3,691,538             357,805
Income tax liabilities                             -             39,860                  -
                                          16,207,787         20,578,687         14,440,894          19,569,537

Total liabilities                         42,648,017         34,347,733         40,881,124          33,338,583

TOTAL EQUITY AND
 LIABILITIES                             121,808,301        103,506,442        122,951,927        103,842,027


  The annexed notes form an integral part of and should be read in conjunction with these financial statements.

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                                   IIA TECHNOLOGIES PTE. LTD.
                                       AND ITS SUBSIDIARIES
                                 Company Registration No. 200516961K
                                      (Incorporated in Singapore)


                             STATEMENT OF COMPREHENSIVE INCOME
                               for the financial year ended 31 March 2014



                                                                                         The Group
                                                                                  2014               2013
                                                                     Note         USD                USD

Continuing operations

Revenue                                                                14      78,939,539         42,223,496
Cost of sales                                                                 (62,486,900)       (36,727,927)
Gross profit                                                                   16,452,639          5,495,569

Other income                                                          15          328,900             81,797
                                                                               16,781,539          5,577,366

Administrative expenses                                                        (3,384,885)        (2,620,300)
Distribution and selling expenses                                                (405,554)          (458,080)
Financial expenses                                                    16         (856,183)          (304,370)
Other expenses                                                                 (2,166,124)          (604,606)

Profit before income tax                                              17        9,968,793          1,590,010

Income tax crediti(expense)                                           18            32,782            (26,860)

Total profit after income tax                                                  10,001,575          1,563,150

Other comprehensive income

Total comprehensive income                                                     10,001,575          1,563,150




 The annexed notes form an integral part of and should he read in conjunction with these financial statements.

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                                STATEMENT OF CHANGES IN EQUITY
                               for the financial year ended 31 March 2014



                                                                                Retained
                                                                                earnings/
                                                                Share         (Accumulated          Total
                                                                capital          losses)           equity
                                                                 USD               USD              USD

2014
Beginning of financial year                                   71,767,830        (2,609,121)       69,158,709

Total comprehensive income for the year                                         10,001,575        10,001,575

End of financial year                                         71,767,830         7,392,454        79,160,284


2013
Beginning of financial year                                   54,767,830        (4,172 271)      50,595,559

Issuance of share capital (Note 10)                           17,000,000                         17,000,000

Total comprehensive income for the year                                   -      1,563,150         1,563,150

End of financial year                                         71,767,830        (2,609,121)      69,158,709




 The annexed notes form an integral part of and should be read in conjunction with these financial statements.

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                                   IIA TECHNOLOGIES PTE. LTD.
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                                      STATEMENT OF CASH FLOW
                                for the financial year ended 31 March 2014



                                                                                        The Group
                                                                                 2014               2013
                                                                                 USD                USD

Cash flows from operating activities
Profit before income tax                                                      9,968,793           1,590,010
Adjustments for:
- Depreciation of property, plant and equipment                               7,882,239           6,186,007
- Amortisation of intangible assets                                              14,855               3,148
- Inventories written down to net realisable value                                                2,659,016
- Loss on disposal of property, plant and equipment                             210,065
- Gain on disposal of subsidiary                                                (57,202)
- Interest expenses                                                             856,183             267,482
- Interest income                                                                   (81)                (75)
Operating cash flow before working capital changes                           18,874,852          10,705,588

Changes in working capital:
- Inventories                                                                (6,671,321)         (1,783,994)
- Trade and other receivables                                                (3,217,867)         (6,793,870)
- Trade and other payables                                                   (7,364,696)          1,917,651
Cash generated from operations                                                1,620,968           4,045,375
Income tax paid                                                                  (7,078)
Net cash flows generated from operating activities                            1,613,890           4,045,375

Cash flows from investing activities
Acquisition of property, plant and equipment                                (15,944,856)         (9,654,731)
Proceeds from disposal of property, plant and equipment                         538,447
Net cash inflow on disposal of subsidiary (Note A)                                1,200
Payment of construction and project work-in-progress                           (863,934)        (17,462,101)
Acquisition of intangible assets                                               (224,883)            (51,143)
Interest received                                                                    81                  75
Net cash flows used in investing activities                                 (16,493,945)        (27,167,900)

Cash flows from financing activities
Amount due (from)/to holding company                                           (114,043)         18,065,204
Amount due to/(from) directors                                                   11,001             (55,062)
Amount due (from)/to related parties                                           (999,913)            201,535
Interest paid                                                                  (856,183)           (267,482)
Proceeds from/(repayment of) bank loans (net)                                17,511,514           6,450,937
Repayment of finance lease obligations                                       (1,013,271)         (4,028,361)
Net cash flows generated from financing activities                           14,539,105          20,366,771

Net decrease in cash and bank balances                                         (340,950)         (2,755,754)
Cash and bank balances at beginning of financial year                         1,321,490           4,077,244
Cash and bank balances at end of financial year                                 980,540           1,321,490




 The annexed notes form an integral part of and should be read in conjunction with these financial statements.

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                                      STATEMENT OF CASH FLOW
                                for the financial year ended 31 March 2014



Note A— Cash inflow on disposal of subsidiary

The net assets of subsidiary disposed are:

                                                                                                  The Group
                                                                                                    2014
                                                                                                    USD

Property, plant and equipment                                                                          26,307
Cash and cash equivalents                                                                              98,800
Trade and other receivables                                                                           231,158
Trade and other payables                                                                             (313,467)
Net assets                                                                                             42,798
Gain on disposal of subsidiary                                                                         57,202
Consideration                                                                                         100,000
Less: Cash and cash equivalents in subsidiary disposed                                                (98,800)
Net cash inflow on disposal                                                                             1,200




 The annexed notes form an integral part of and should be read in conjunction with these financial statements.

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                           NOTES TO THE FINANCIAL STATEMENTS
                            for the financial year ended 31 March 2014



These notes form an integral part of and should be read in conjunction with the accompanying
financial statements.


1.     General information

      IIA Technologies Pte. Ltd. (the "Company") is incorporated and domiciled in Singapore. The
      address of its registered office is at 65 Chulia Street #38-02/3 OCBC Centre, Singapore
      049513 and the principal place of business is at 17 Tukang Innovation Drive, Singapore
      618300.

      The principal activities of the Company are growing of diamonds. The principal activities of its
      subsidiaries are set up in Note 7 to the financial statements. There have been no significant
      changes in such activities during the financial year.

      The Company is a subsidiary of JRD International Limited, a company incorporated in the
      Bahamas Island, which is also its ultimate holding company.

      The consolidated financial statements relate to the Company and its subsidiaries.


2.    Significant accounting policies

2.1   Basis of preparation

      The consolidated financial statements of the Company and the Group have been prepared in
      accordance with Singapore Financial Reporting Standards ("FRS"). The consolidated
      financial statements have been prepared under the historical cost convention, except as
      otherwise disclosed in the accounting policies stated below.

      The preparation of financial statements in conformity with FRS requires management to make
      judgements, estimates and assumptions that affect the application of accounting policies and
      the reported amounts of assets, liabilities, income and expenses. Actual results may differ
      from these estimates. The areas involving a higher degree of judgement or complexity, or
      areas where assumptions and estimates are significant to the financial statements, are
      disclosed in Note 3.

2.2   Adoption of new and revised standards

      In the current financial year, the Company has adopted all the new or revised FRS and
      Interpretations to FRS ("INT FRS") that are relevant to its operations and effective for annual
      periods beginning on 1 April 2013. Changes to the Company's accounting policies have been
      made as required, in accordance with the relevant transitional provisions in the respective
      FRS and INT FRS.




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                          NOTES TO THE FINANCIAL STATEMENTS
                           for the financial year ended 31 March 2014



2.    Significant accounting policies (cont'd)

2.2   Adoption of new and revised standards (cont'd)

      The adoption of these new or amended FRS and INT FRS did not result in substantial
      changes to the Company's accounting policies and had no material effect on the amounts
      reported for the current or prior financial years.

2.3   Group accounting

      (a)    Basis of consolidation

            Subsidiaries are entities (including special purpose entities) over which the Group has
            power to govern the financial and operating policies so as to obtain benefits from its
            activities, generally accompanied by a shareholding giving rise to a majority of the
            voting rights. The existence and effect of potential voting rights that are currently
            exercisable or convertible are considered when assessing whether the Group controls
            another entity. Subsidiaries are consolidated from the date on which control is
            transferred to the Group. They are deconsolidated from the date on which control
            ceases. In preparing the consolidated financial statements, transactions, balances
            and unrealised gains on transactions between group entities are eliminated.
            Unrealised losses are also eliminated but are considered an impairment indicator of
            the assets transferred. Accounting policies of subsidiaries have been changed where
            necessary to ensure consistency with the policies adopted by the Group.

      (b)   Acquisition of businesses

            The acquisition method of accounting is used to account for business combinations by
            the Group.

            The consideration transferred for the acquisition of a subsidiary comprises the fair
            value of the assets transferred, the liabilities incurred and the equity interests issued
            by the Group. The consideration transferred also includes the fair value of any
            contingent consideration arrangement and the fair value of any pre-existing equity
            interest in the subsidiary.

            Acquisition-related costs are expenses as incurred.

            Identifiable assets acquired and liabilities and contingent liabilities assumed in a
            business combination are, with limited exceptions, measured initially at their fair
            values at the acquisition date.

            The excess of the consideration transferred, the amount of any non-controlling interest
            in the acquire and acquisition-date fair value of any previous equity interest in the
            acquiree over the fair value of the net identifiable assets acquired is recorded as
            goodwill.




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                           NOTES TO THE FINANCIAL STATEMENTS
                            for the financial year ended 31 March 2014



2.    Significant accounting policies (cont'd)

2.4   Currency translation

      (a)     Functional and presentation currency

             Items included in the financial statements of the Company and the Group are
             measured using the currency of the primary economic environment in which the
             Company and the Group operates ("functional currency"). The financial statements
             are presented in United States Dollar, which is the functional currency of the Company
             and the Group.

      (b)    Transactions and balances

             Transactions in a currency other than the functional currency ("foreign currency") are
             translated into the functional currency using the exchange rates at the dates of the
             transaction. Currency translation differences resulting from the settlement of such
             transactions and from the translation of monetary assets and liabilities denominated in
             foreign currencies at the closing rates at the balance sheet date are recognised in the
             profit or loss.

             Non-monetary items measured at fair value in a foreign currency are translated using
             the exchange rates at the date when the fair value was determined.

2.5   Revenue recognition

      Revenue is recognised to the extent that it is probable that the economic benefits will flow to
      the Group and the revenue can be reliably measured.

      Revenue from sales of goods is recognised when the significant risks and rewards of
      ownership have been transferred to the buyer, recovery of the consideration is probable, the
      associated costs and possible return of goods can be estimated reliably, there is no
      continuing management involvement with the goods, and the amount of revenue can be
      measured reliably.

      Revenue from services are recognised upon completion of services.

2,6   Intangible assets

      Intangible assets acquired separately are measured initially at cost. The cost of intangible
      assets acquired in a business combination is their fair value as at the date of acquisition.
      Subsequent to the initial acquisition, intangible assets are measured at cost less any
      accumulated amortisation and accumulated impairment losses.

      Intangible assets with finite useful lives are amortised over the estimated useful lives and
      assessed for impairment whenever there is an indication that the intangible asset may be
      impaired. The amortisation period and the amortisation method are reviewed at least at the
      end of each reporting period.



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                           NOTES TO THE FINANCIAL STATEMENTS
                            for the financial year ended 31 March 2014



2.    Significant accounting policies (cont'd)

2.6   Intangible assets (cont'd)

      Intangible assets with indefinite useful lives or not yet available for use are tested for
      impairment annually or more frequently if the events and circumstances indicate that the
      carrying value may be impaired either individually or at the cash-generating unit level. Such
      intangible assets are not amortised. The useful life of an intangible asset with an indefinite
      useful life is reviewed annually to determine whether the useful life assessment continues to
      be supportable.

2.7   Inventories

      Inventories are valued at lower of cost and net realisable value. Cost is being determined on
      the specific identification basis and includes all costs in bringing the inventories to their
      present location and condition. In the case of manufactured inventories and work-in-progress,
      cost includes an appropriate share of production overheads based on normal operating
      capacity. Net realisable value is the price at which the inventories can be realised in the
      normal course of business after allowing for the cost of realisation. Provision is made, where
      necessary, for all obsolete and slow moving items.

2.8   Property, plant and equipment

      Property, plant and equipment are stated at cost less accumulated depreciation and
      accumulated impairment loss. The cost of property, plant and equipment includes
      expenditure that is directly attributable to the acquisition of the items. Dismantlement,
      removal or restoration costs are included as part of the cost of property, plant and equipment
      if the obligation for dismantlement, removal or restoration is incurred as a consequence of
      acquiring or using the items.

      Depreciation is calculated on the straight-line method to allocate the depreciable amount over
      their estimated useful lives as follows:-

                                                Useful lives
      Leasehold building                          30 years
      Computers & office equipment              3 — 5 years
      Furniture & fittings                         3 years
      Motor vehicle                                6 years
      Plant and machinery                      3 —10 years
      Renovation                               3 —10 years

      The residual values and useful lives of property, plant and equipment are reviewed and
      adjusted as appropriate at the end of each reporting period. On disposal of an item of
      property, plant and equipment, the difference between the net disposal proceeds and its
      carrying amount is taken to the statement of comprehensive income. Fully depreciated items
      are retained in the financial statements until they are no longer in use and no further charge
      for the depreciation is made in respect of these items.




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                            NOTES TO THE FINANCIAL STATEMENTS
                             for the financial year ended 31 March 2014



2.     Significant accounting policies (cont'd)

2.9    Construction and projects work-in-progress

      Construction and projects work-in-progress relates to the construction of the factory building
      and plant and equipment for the Company and the Group and are stated at cost, less
      impairment.     Construction and projects work-in-progress for capital expenditure are
      transferred to property, plant and equipment upon completion.

2.10 Related party

      A related party is an entity or person that directly or indirectly through one or more
      intermediaries controls, is controlled by, or is under common or joint control with, the entity in
      governing the financial and operating policies, or that has an interest in the entity that gives it
      significant influence over the entity in financial and operating decisions, it also includes
      members of the key management personnel or close members of family of any individual
      referred to herein and others who have the ability to control, jointly control or significantly
      influence by or for which significant voting power in such entity resides with, directly or
      indirectly, any such individual. This includes parents, subsidiaries, fellow subsidiaries,
      associates, joint ventures and post-employment benefit plans, if any.

2.11 Impairment of non-financial assets

      The Company and the Group assesses at each reporting date whether there is an indication
      that an asset may be impaired. If any such indication exists, or when annual impairment
      assessment for an asset is required, the Company and the Group makes an estimate of the
      asset's recoverable amount.

      An asset's recoverable amount is the higher of an assets or cash-generating unit's fair value
      less costs to sell and its value in use and is determined for an individual asset, unless the
      asset does not generate cash inflows that are largely independent of those from other assets
      or group of assets. Where the carrying amount of an asset or cash-generating unit exceeds
      its recoverable amount, the asset is considered impaired and is written down to its
      recoverable amount. In assessing value in use the estimated future cash flows expected to
      be generated by the asset are discounted to their present value using a pre-tax discount rate
      that reflects current market assessments of the time value of money and the risks specific to
      the asset.

      Impairment losses are recognised in the profit or loss, except for assets that are previously
      revalued where the revaluation was taken to other comprehensive income. In this case the
      impairment is also recognised in other comprehensive income up to the amount of any
      previous revaluation.




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                            NOTES TO THE FINANCIAL STATEMENTS
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2.     Significant accounting policies (cont'd)

2.11   Impairment of non-financial assets (cont'd)

       For assets excluding goodwill, an assessment is made at each reporting date as to whether
       there is any indication that previously recognised impairment losses may no longer exist or
       may have decreased. If such indication exists, the Company and the Group estimates the
       asset's or cash-generating unit's recoverable amount. A previously recognised impairment
       loss is reversed only if there has been a change in the estimates used to determine the
       asset's recoverable amount since the last impairment loss was recognised. If that is the case,
       the carrying amount of the asset is increased to its recoverable amount. That increase cannot
       exceed the carrying amount that would have been determined, net of depreciation, had no
       impairment loss be recognised previously. Such reversal is recognised in the profit or loss
       unless the asset is measured at revalued amount, in which case the reversal is treated as a
       revaluation increase.

2.12 Financial instruments

       (a)    Non-derivative financial assets

              The Company and the Group initially recognises loans and receivables and deposits
              on the date that they are originated. All other financial assets (including assets
              designated at fair value through profit or loss) are recognised initially on the trade date
              at which the Company and the Group becomes a party to the contractual provisions of
              the instrument.

              The Company and the Group derecognises a financial asset when the contractual
              rights to the cash flows from the asset expire, or it transfers the rights to receive the
              contractual cash flows on the financial asset in a transaction in which substantially all
              the risks and rewards of ownership of the financial asset are transferred. Any interest
              in transferred financial assets that is created or retained by the Company and the
              Group is recognised as a separate asset or liability.

              Financial assets and liabilities are offset and the net amount presented in the balance
              sheet when, and only when, the Company and the Group has a legal right to offset the
              amounts and intends either to settle on a net basis or to realise the asset and settle
              the liability simultaneously.

              The Company and the Group classifies its non-derivative financial assets into the
              following category: loan and receivables.




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2.    Significant accounting policies (cont'd)

2.12 Financial instruments (cont'd)

      (a)    Non-derivative financial assets (cont'd)

             Loans and receivables
             Loans and receivables are financial assets with fixed or determinable payments that
             are not quoted in an active market. Such assets are recognised initially at fair value
             plus any directly attributable transaction costs. Subsequent to initial recognition, loans
             and receivables are measured at amortised costs using the effective interest method,
             less any impairment losses.

             Loans and receivables comprise cash and bank balances, and trade and other
             receivables.

      (b)    Non-derivative financial liabilities

             The Company and the Group initially recognises debt securities issued and
             subordinated liabilities on the date that they are originated. All other financial liabilities
             (including liabilities designated at fair value through profit or loss) are recognised
             initially on the trade date, which is the date that the Company and the Group becomes
             a party to the contractual provisions of the instrument.

             The Company and the Group derecognises a financial liability when its contractual
             obligations are discharged, cancelled or expired.

             Financial assets and liabilities are offset and the net amount presented in the balance
             sheet when, and only when the Company and the Group has a legal right to offset the
             amounts and intends either to settle on a net basis or to realise the asset and settle
             the liability simultaneously.

             Non-derivative financial liabilities are recognised initially at fair value plus any directly
             attributable transaction costs. Subsequent to initial recognition, these financial
             liabilities are measured at amortised cost using the effective interest method.

             The Company and the Group has the following non-derivative financial liabilities: trade
             and other payables, bank loans and finance lease obligatons.

      (c)    Share capital

             Ordinary shares
             Ordinary shares are classified as equity. Incremental costs directly attributable to the
             issue of ordinary shares are recognised as a deduction from equity, net of any tax
             effects.




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2.     Significant accounting policies (cont'd)

2.13 Impairment of non-derivative financial assets

       A financial asset not carried at fair value through profit or loss is assessed at each reporting
       date to determine whether there is objective evidence that it is impaired. A financial asset is
       impaired if objective evidence indicates that a loss event has occurred after the initial
       recognition of the asset, and that the loss event has a negative effect on the estimated future
       cash flows of that asset that can be estimated reliably.

       Objective evidence that financial assets (including equity securities) are impaired can include
       default or delinquency by a debtor, restructuring of an amount due to the Company and the
       Group on terms that the Company and the Group would not consider otherwise, indications
       that a debtor or issuer will enter bankruptcy, adverse changes in the payment status of
       borrowers or issuers in the Company and the Group, economic conditions that correlate with
       defaults or the disappearance of an active market for a security. In addition, for an investment
       in an equity security, a significant or prolonged decline in its fair value below its cost is
       objective evidence of impairment.

       Loans and receivables
       The Company and the Group considers evidence of impairment for loans and receivables at
       both a specific asset and collective level. All individually significant loans and receivables are
       assessed for specific impairment. All individually significant loans and receivables found not
       to be specifically impaired are then collectively assessed for any impairment that has been
       incurred but not yet identified. Loans and receivables that are not individually significant are
       collectively assessed for impairment by grouping together loans and receivables with similar
       risk characteristics.

       In assessing collective impairment, the Company and the Group uses historical trends of the
       probability of default, timing of recoveries and the amount of loss incurred, adjusted for
       management's judgement as to whether current economic and credit conditions are such that
       the actual losses are likely to be greater or less than suggested by historical trends.

       An impairment loss in respect of a financial asset measured at amortised cost is calculated as
       the difference between its carrying amount and the present value of the estimated future cash
       flows, discounted at the asset's original effective interest rate. Losses are recognised in profit
       or loss and reflected in an allowance account against loans and receivables. Interest on the
       impaired asset continues to be recognised. When a subsequent event (e.g. repayment by a
       debtor) causes the amount of impairment loss to decrease, the decrease in impairment loss is
       reversed through profit or loss.

2.14 Fair value estimation of financial assets and liabilities

       The fair values of current financial assets and liabilities carried at amortised cost approximate
       their carrying amounts.




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